                                                                                   Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 1 of 30
EXHIBIT B-1                                                                                                                                                                     Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                             U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                             ECF Number of Prior
                                                                                                                                                                                                                                                                      Prior MDL Total




                                                                                                                                                                                               MDL Judgment
                       9/11                                                                                                                                                                                                       Prior MDL          Prior MDL        Judgment to Be
           9/11                                                                                           Nationality of                                                    Case Number of                          Date of




                                                    Suffix
                     Decedent's 9/11 Decedent's                                                                          Date Plaintiff      Docket Entry When First                                                            Judgment for       Judgment for          Applied As           Treble Damages
 #      Decedent's                                                  Personal Representative(s)                9/11                                                            Prior MDL                            Prior MDL
                       Middle     Last Name                                                                                 Added              Added to Complaint                                                              Conscious Pain     Economic-Loss        Compensatory           Under the ATA
        First Name                                                                                          Decedent                                                          Judgment                             Judgment
                       Name                                                                                                                                                                                                     and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                          the ATA

                                                                                                                                          DKT 232; 1:02-cv-01616-JR;          15-cv-9903
 1    Andrew         Anthony   Abate                         Carolyn Crutchfield                          United States     8/1/2003      P4040                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   13,841,382.00   $   15,841,382.00   $      47,524,146.00
                                                                                                                                          DKT 232; 1:02-cv-01616-JR;          15-cv-9903
 2    Vincent                  Abate                         Elaine Abate                                 United States     8/1/2003      P3573                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   14,766,462.00   $   16,766,462.00   $      50,299,386.00
                                                                                                                                          DKT 155; 1:02-cv-01616-JR;          15-cv-9903
 3    William        F.        Abrahamson                    Ann Michele Abrahamson                       United States    5/23/2003      P2811                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    4,530,867.00   $    6,530,867.00   $      19,592,601.00
                                                                                                                                          DKT 305; 1:02-cv-01616-JR;          15-cv-9903
 4    Paul           Andrew    Acquaviva                     Courtney Lizabeth Acquaviva                  United States     9/5/2003      P4102                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                              15-cv-9903
 5    Stephen        George    Adams                         Jessica Murrow-Adams                         United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 30         (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    5,211,781.00   $    7,211,781.00   $      21,635,343.00
                                                                                                                                          DKT 305; 1:02-cv-01616-JR;          15-cv-9903
 6    Christy        A.        Addamo (Estate of)            Rita Addamo; Gregory Michael Addamo          United States     9/5/2003      P4103, P4104                        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   10,092,270.00   $   12,092,270.00   $      36,276,810.00
                                                                                                                                          DKT 232; 1:02-cv-01616-JR;          15-cv-9903
 7    Lee            Alan      Adler                         Alice Fay Doerge Adler                       United States     8/1/2003      P4041                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                          DKT 26, 29; 1:02-CV-01616-JR;       15-cv-9903
 8    Daniel         Thomas    Afflitto             Sr. Stacey Afflitto-Wain                              United States    11/22/2002     2540                                (GBD)(SN)       6042                 3/6/2020    $   2,000,000.00   $   41,312,825.00   $   43,312,825.00   $    129,938,475.00
                                                                                                                                          DKT 26, 29; 1:02-CV-01616-JR;       15-cv-9903
 9    Joseph                   Agnello                       VinnieCarla Agnello                          United States    11/22/2002     2542                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   10,003,524.00   $   12,003,524.00   $      36,010,572.00
                                                                                                                                          DKT 232; 1:02-cv-01616-JR;          15-cv-9903
 10   Joao           A.        Aguiar               Jr.      Diane Bottrill Aguiar                        United States     8/1/2003      P3575                               (GBD)(SN)       6042                 3/6/2020    $   2,000,000.00   $   23,316,979.00   $   25,316,979.00   $      75,950,937.00
                                                                                                                                                                              15-cv-9903
 11   Margaret                 Alario                        James Alario, Sr.                            United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 33         (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   12,012,457.00   $   14,012,457.00   $      42,037,371.00
                                                                                                                                                                              15-cv-9903
 12   Peter          Craig     Alderman                      Elizabeth R. Alderman; Stephen J. Alderman   United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 18, 20     (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   14,743,247.00   $   16,743,247.00   $      50,229,741.00
                                                                                                                                                                              15-cv-9903
 13   Richard        Dennis    Allen                         Madelyn Gail Allen                           United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 871        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    8,962,943.00   $   10,962,943.00   $      32,888,829.00
                                                                                                                                          DKT 232; 1:02-cv-01616-JR;          15-cv-9903
 14   Christopher    Edward    Allingham                     Donna Mary Allingham                         United States     8/1/2003      P3578                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   12,316,034.00   $   14,316,034.00   $      42,948,102.00
                                                                                                                                          DKT 155; 1:02-cv-01616-JR;          15-cv-9903
 15   Anna           S.W.      Allison                       V. Blake Allison                             United States    5/23/2003      P2812                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    8,201,224.00   $   10,201,224.00   $      30,603,672.00
                                                                                                                                          DKT 313; 1:02-cv-01616-JR;          15-cv-9903
 16   Tariq                    Amanullah                     Mehr Afroze Tariq                            United States    9/10/2003      P4588                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    9,966,483.00   $   11,966,483.00   $      35,899,449.00
                               Ambrose (Estate               Sharon Norwood Ambrose; Kenneth Paul                                         DKT HAND FILED; 1:03-cv-9849        15-cv-9903
 17   Paul           Wesley    of)                           Ambrose                                      United States    3/10/2004      (RCC); P4988                        (GBD)(SN)       6042                 3/6/2020    $   2,000,000.00   $   12,868,402.00   $   14,868,402.00   $      44,605,206.00
                                                                                                                                          DKT 232; 1:02-cv-01616-JR;          15-cv-9903
 18   Calixto                  Anaya                Jr.      Marie Laure Anaya                            United States     8/1/2003      P3579                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    9,755,289.00   $   11,755,289.00   $      35,265,867.00
                                                                                                                                          DKT 232; 1:02-cv-01616-JR;          15-cv-9903
 19   Joseph         P.        Anchundia                     Christine A. Anchundia; Elias A. Anchundia   United States     8/1/2003      P3581                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   11,305,640.00   $   13,305,640.00   $      39,916,920.00
                                                                                                                                          DKT 305; 1:02-cv-01616-JR;          15-cv-9903
 20   Kermit         C.        Anderson                      Jill Elva Grashof Anderson                   United States     9/5/2003      P4107                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    4,911,496.00   $    6,911,496.00   $      20,734,488.00
                                                                                                                                                                              15-cv-9903
 21   Laura                    Angilletta                    Dorotea Angilletta; Carmelo Angilletta       United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 890        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    9,644,014.00   $   11,644,014.00   $      34,932,042.00
                                                                                                                                          DKT 232; 1:02-cv-01616-JR;          15-cv-9903
 22   Peter          Paul      Apollo                        Cecile M. Apollo; Peter Apollo, Jr.          United States     8/1/2003      P3584; 85                           (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   21,805,247.00   $   23,805,247.00   $      71,415,741.00
                                                                                                                                          DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
 23   Frank          Thomas    Aquilino                      Frank John Aquilino                          United States    11/22/2002     1822                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   21,946,943.00   $   23,946,943.00   $      71,840,829.00
                                                                                                                                          DKT 305; 1:02-cv-01616-JR;          15-cv-9903
 24   Louis                    Arena                         Wandalee M. Arena                            United States     9/5/2003      P4112                               (GBD)(SN)       7188                 10/5/2021   $   2,000,000.00   $   10,572,200.00   $   12,572,200.00   $      37,716,600.00
                                                                                                                                          DKT 313; 1:02-cv-01616-JR;          15-cv-9903
 25   Myra           Joy       Aronson                       Jules Phelan Aronson                         United States    9/10/2003      P4600                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    6,213,521.00   $    8,213,521.00   $      24,640,563.00




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                                                                                     Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 2 of 30
EXHIBIT B-1                                                                                                                                                                     Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                             U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                             ECF Number of Prior
                                                                                                                                                                                                                                                                      Prior MDL Total




                                                                                                                                                                                               MDL Judgment
                       9/11                                                                                                                                                                                                       Prior MDL          Prior MDL        Judgment to Be
           9/11                                                                                           Nationality of                                                    Case Number of                          Date of




                                                     Suffix
                     Decedent's 9/11 Decedent's                                                                          Date Plaintiff      Docket Entry When First                                                            Judgment for       Judgment for          Applied As           Treble Damages
 #      Decedent's                                                    Personal Representative(s)              9/11                                                            Prior MDL                            Prior MDL
                       Middle     Last Name                                                                                 Added              Added to Complaint                                                              Conscious Pain     Economic-Loss        Compensatory           Under the ATA
        First Name                                                                                          Decedent                                                          Judgment                             Judgment
                       Name                                                                                                                                                                                                     and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                          the ATA

                                                                                                                                          DKT 26, 29; 1:02-CV-01616-JR;       15-cv-9903
 26   Michael                   Asciak                        Elaine V. Asciak                            United States    11/22/2002     2585                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    6,377,303.00   $    8,377,303.00   $      25,131,909.00
                                                                                                                                          DKT 305; 1:02-cv-01616-JR;          15-cv-9903
 27   Michael        Edward     Asher                         Dana Jill Asher                             United States     9/5/2003      P4117                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   12,631,578.00   $   14,631,578.00   $      43,894,734.00
                                                                                                                                          DKT 1; 1:02-cv-01616-JR; 797,       15-cv-9903
 28   Janice         Marie      Ashley                        Carol Ann Ashley; William Lewis Ashley      United States    8/15/2002      798                                 (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   27,238,066.00   $   29,238,066.00   $      87,714,198.00
                                                                                                                                                                              15-cv-9903
 29   Eustace        Patrick    Bacchus                       Juana Maria Bacchus                         United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2529     (GBD)(SN)       8233                 7/19/2022   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                              15-cv-9903
 30   Jane           Ellen      Baeszler                      John P. Baeszler                            United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 48         (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    7,674,330.00   $    9,674,330.00   $      29,022,990.00
                                                                                                                                                                              15-cv-9903
 31   Brett          T.         Bailey                        Judith A. Bailey                            United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2530     (GBD)(SN)       8233                 7/19/2022   $   2,000,000.00   $   18,897,958.00   $   20,897,958.00   $      62,693,874.00
                                                                                                                                          DKT 26, 29; 1:02-CV-01616-JR;       15-cv-9903
 32   Tatyana                   Bakalinskaya                  Anatoliy Bakalinskiy                        United States    11/22/2002     2597                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    6,741,488.00   $    8,741,488.00   $      26,224,464.00
                                                                                                                                                                              15-cv-9903
 33   Paul           Vincent    Barbaro                       Kim Elizabeth Barbaro                       United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 894        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   17,209,783.00   $   19,209,783.00   $      57,629,349.00
                                                                                                                                          DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
 34   Victor         Daniel     Barbosa                       Nancy Santana                               United States    11/22/2002     1832                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                              15-cv-9903
 35   Diane                     Barry                         Edmund William Barry                        United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 902        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    4,150,261.00   $    6,150,261.00   $      18,450,783.00
                                                              Audriene Gertrude Barry; Bertrand Francis                                   DKT 26, 29; 1:02-CV-01616-JR;       15-cv-9903
 36   Arthur         T.         Barry (Estate of)             Barry                                       United States    11/22/2002     2619                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    8,643,874.00   $   10,643,874.00   $      31,931,622.00
                                                                                                                                                                              15-cv-9903
 37   Guy                       Barzvi                        Gila Barzvi                                 United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 57         (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   20,638,988.00   $   22,638,988.00   $      67,916,964.00
                                                                                                                                          DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
 38   Marlyn         Capito     Bautista                      Rameses Garcia Bautista                     United States    11/22/2002     1838                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    6,526,789.00   $    8,526,789.00   $      25,580,367.00
                                                                                                                                          DKT 232; 1:02-cv-01616-JR;          15-cv-9903
 39   Mark           Lawrence   Bavis                         Michael Thomas Bavis                        United States     8/1/2003      P4044                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   16,930,037.00   $   18,930,037.00   $      56,790,111.00
                                                                                                                                          DKT 305; 1:02-cv-01616-JR;          15-cv-9903
 40   Jasper                    Baxter (Estate of)            Lillian Baxter                              United States     9/5/2003      P4129                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                          DKT 26, 29; 1:02-CV-01616-JR;       15-cv-9903
 41   Lawrence       I.         Beck                          Theodore S. Beck                            United States    11/22/2002     2640                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    6,197,699.00   $    8,197,699.00   $      24,593,097.00
                                                                                                                                          DKT 232; 1:02-cv-01616-JR;          15-cv-9903
 42   Manette        M.         Beckles                       Edward C. Williams                          United States     8/1/2003      P3592                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                          DKT 232; 1:02-cv-01616-JR;          15-cv-9903
 43   Michael        E.         Beekman              Sr. Theodora Beekman                                 United States     8/1/2003      P3593                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                          DKT 305; 1:02-cv-01616-JR;          15-cv-9903
 44   Maria                     Behr (Estate of)              George Behr                                 United States     9/5/2003      P4140                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   20,632,610.00   $   22,632,610.00   $      67,897,830.00
                                                                                                                                                                              15-cv-9903
 45   Helen                     Belilovsky                    Boris Belilovsky                            United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 75         (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   15,671,878.00   $   17,671,878.00   $      53,015,634.00
                                                                                                                                          DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
 46   Debbie                    Bellows                       Sean Kenneth Bellows                        United States    11/22/2002     2647                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   11,128,499.00   $   13,128,499.00   $      39,385,497.00
                                                                                                                                                                              15-cv-9903
 47   Denise         Lenore     Benedetto                     Marina Denise Paulie; John Benedetto        United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 59         (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    8,775,109.00   $   10,775,109.00   $      32,325,327.00
                                                                                                                                                                              15-cv-9903
 48   Bryan          Craig      Bennett                       Ondina Bennett                              United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 66         (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                          DKT 305; 1:02-cv-01616-JR;          15-cv-9903
 49   Alvin                     Bergsohn                      Michele Zapken Bergsohn                     United States     9/5/2003      P4142                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    8,604,916.00   $   10,604,916.00   $      31,814,748.00
                                                                                                                                                                              15-cv-9903
 50   David          William    Bernard                       Nancy M. Bernard                            United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 854        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    5,657,324.00   $    7,657,324.00   $      22,971,972.00




                                                                                                                                                 Page 2 of 30
                                                                                  Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 3 of 30
EXHIBIT B-1                                                                                                                                                                   Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                           U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                           ECF Number of Prior
                                                                                                                                                                                                                                                                    Prior MDL Total




                                                                                                                                                                                             MDL Judgment
                       9/11                                                                                                                                                                                                     Prior MDL          Prior MDL        Judgment to Be
           9/11                                                                                         Nationality of                                                    Case Number of                          Date of




                                                   Suffix
                     Decedent's 9/11 Decedent's                                                                        Date Plaintiff      Docket Entry When First                                                            Judgment for       Judgment for          Applied As           Treble Damages
 #      Decedent's                                                  Personal Representative(s)              9/11                                                            Prior MDL                            Prior MDL
                       Middle     Last Name                                                                               Added              Added to Complaint                                                              Conscious Pain     Economic-Loss        Compensatory           Under the ATA
        First Name                                                                                        Decedent                                                          Judgment                             Judgment
                       Name                                                                                                                                                                                                   and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                        the ATA

                                                                                                                                                                            15-cv-9903
 51   William        H.        Bernstein                    Robert J. Bernstein                         United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 911        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    9,528,732.00   $   11,528,732.00   $      34,586,196.00
                                                                                                                                                                            15-cv-9903
 52   Timothy        D.        Betterly                     Joanne F. Betterly                          United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 917        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                        DKT 232; 1:02-cv-01616-JR;          15-cv-9903
 53   Bella          J.        Bhukhan                      Jagdish Bhukhan                             United States     8/1/2003      P4049                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   11,064,868.00   $   13,064,868.00   $      39,194,604.00
                                                                                                                                                                            15-cv-9903
 54   Kris           Romeo     Bishundat                    Basmattie Bishundat; Bhola P. Bishundat     United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 81, 83     (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    9,521,211.00   $   11,521,211.00   $      34,563,633.00
                                                                                                                                        DKT 313; 1:02-cv-01616-JR;          15-cv-9903
 55   Susan          L.        Blair                        Leslie R. Blair                             United States    9/10/2003      P4610                               (GBD)(SN)       6034                 3/6/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                        DKT 232; 1:02-cv-01616-JR;          15-cv-9903
 56   Craig          Michael   Blass                        Keith Andrew Blass                          United States     8/1/2003      P3601                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   21,613,037.00   $   23,613,037.00   $      70,839,111.00
                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
 57   Rita                     Blau                         Ira Scott Blau                              United States    11/22/2002     2691                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    5,479,353.00   $    7,479,353.00   $      22,438,059.00
                                                                                                                                                                            15-cv-9903
 58   Deora          Frances   Bodley                       Deborah Ann Borza; Derrill George Bodley    United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2538     (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    9,689,271.00   $   11,689,271.00   $      35,067,813.00
                                                                                                                                        DKT 232; 1:02-cv-01616-JR;          15-cv-9903
 59   Vincent        M.        Boland              Jr.      Vincent Boland, Sr.                         United States     8/1/2003      P3605                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                            15-cv-9903
 60   Alan                     Bondarenko                   Julia Ann Bondarenko                        United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 815        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    5,568,099.00   $    7,568,099.00   $      22,704,297.00
                                                                                                                                        DKT 232; 1:02-cv-01616-JR;          15-cv-9903
 61   Andre                    Bonheur             Jr.      Roxane Bonheur                              United States     8/1/2003      P3608                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                        DKT 432; 1:02-cv-01616-JR;          15-cv-9903
 62   Kelly          Ann       Booms (Estate of)            Richard Lavern Booms                        United States    12/19/2003     P4773                               (GBD)(SN)       6042                 3/6/2020    $   2,000,000.00   $   10,233,991.00   $   12,233,991.00   $      36,701,973.00
                               Bouchard (Estate                                                                                         DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
 63   Carol          Marie     of)                          Frederick Earl Bouchard, Jr.                United States    11/22/2002     2700                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    6,553,352.00   $    8,553,352.00   $      25,660,056.00
                                                                                                                                                                            15-cv-9903
 64   Kevin          Leah      Bowser                       Stephanie Ayn Bowser                        United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2542     (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    7,087,748.00   $    9,087,748.00   $      27,263,244.00
                                                                                                                                        DKT 432; 1:02-cv-01616-JR;          15-cv-9903
 65   Pamela         J.        Boyce (Estate of)            Laura Maria Alessi                          United States    12/19/2003     P4777                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                            15-cv-9903
 66   Alexander                Braginsky                    Nelly Avramovna Braginsky                   United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 92         (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   12,381,326.00   $   14,381,326.00   $      43,143,978.00
                                                                                                                                        DKT 313; 1:02-cv-01616-JR;          15-cv-9903
 67   Nicholas       W.        Brandemarti                  Nicholas Michael Brandemarti                United States    9/10/2003      P4616                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   12,129,325.00   $   14,129,325.00   $      42,387,975.00
                                                                                                                                        DKT 432; 1:02-cv-01616-JR;          15-cv-9903
 68   Daniel         Raymond   Brandhorst                   David Benjamin Brandhorst                   United States    12/19/2003     P4779                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                        DKT 232; 1:02-cv-01616-JR;          15-cv-9903
 69   Michelle       Renee     Bratton                      William Joseph Bratton, Jr.                 United States     8/1/2003      P3612                               (GBD)(SN)       6044                 3/6/2020    $   2,000,000.00   $   11,141,322.00   $   13,141,322.00   $      39,423,966.00
                                                                                                                                        DKT 232; 1:02-cv-01616-JR;          15-cv-9903
 70   Francis        H.        Brennan                      Barbara H. Brennan                          United States     8/1/2003      P3614                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   22,536,628.00   $   24,536,628.00   $      73,609,884.00
                                                                                                                                                                            15-cv-9903
 71   Michael        Emmett    Brennan                      Eileen Walsh; Michael F. Brennan            United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2742     (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                        DKT HAND FILED; 1:03-cv-9849        15-cv-9903
 72   Daniel         J         Brethel                      Carol A Brethel                             United States    3/10/2004      (RCC); P5004                        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    8,448,686.00   $   10,448,686.00   $      31,346,058.00
                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
 73   Mark                     Brisman                      Juliette Brisman                            United States    11/22/2002     1869                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   15,721,132.00   $   17,721,132.00   $      53,163,396.00
                                                                                                                                        DKT 432; 1:02-cv-01616-JR;          15-cv-9903
 74   Patrick        J.        Brown                        Michael Everett Brown                       United States    12/19/2003     P4780                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    6,465,034.00   $    8,465,034.00   $      25,395,102.00
                                                                                                                                        DKT HAND FILED; 1:03-cv-9849        15-cv-9903
 75   Bernard        Curtis    Brown (Estate of)   II       Sinita Carter Brown; Bernard Curtis Brown   United States    3/10/2004      (RCC); P5006; P5007                 (GBD)(SN)       6042                 3/6/2020    $   2,000,000.00   $   10,936,922.00   $   12,936,922.00   $      38,810,766.00




                                                                                                                                               Page 3 of 30
                                                                                   Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 4 of 30
EXHIBIT B-1                                                                                                                                                                    Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                               U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                               ECF Number of Prior
                                                                                                                                                                                                                                                                         Prior MDL Total




                                                                                                                                                                                                 MDL Judgment
                       9/11                                                                                                                                                                                                          Prior MDL          Prior MDL        Judgment to Be
           9/11                                                                                           Nationality of                                                  Case Number of                              Date of




                                                    Suffix
                     Decedent's 9/11 Decedent's                                                                          Date Plaintiff      Docket Entry When First                                                               Judgment for       Judgment for          Applied As           Treble Damages
 #      Decedent's                                                  Personal Representative(s)                9/11                                                          Prior MDL                                Prior MDL
                       Middle     Last Name                                                                                 Added              Added to Complaint                                                                 Conscious Pain     Economic-Loss        Compensatory           Under the ATA
        First Name                                                                                          Decedent                                                        Judgment                                 Judgment
                       Name                                                                                                                                                                                                        and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                             the ATA

                                                                                                                                          DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
 76   Andrew         C.        Brunn                         Sigalit Brunn                                United States    11/22/2002     2729                                (GBD)(SN)         7287                 10/25/2021   $   2,000,000.00   $   10,726,220.00   $   12,726,220.00   $      38,178,660.00
                                                                                                                                          DKT 232; 1:02-cv-01616-JR;          15-cv-9903
 77   Brandon        J.        Buchanan                      Ronald Bruce Buchanan                        United States     8/1/2003      P3617                               (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $   23,008,019.00   $   25,008,019.00   $      75,024,057.00
                                                                                                                                          DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
 78   Gregory        Joseph    Buck                          Catherine Morrison Buck                      United States    11/22/2002     2736                                (GBD)(SN)         8233                 7/19/2022    $   2,000,000.00   $    8,854,741.00   $   10,854,741.00   $      32,564,223.00
                                                                                                                                          DKT 305; 1:02-cv-01616-JR;          15-cv-9903
 79   John           E.        Bulaga               Jr.      Michelle Bulaga                              United States     9/5/2003      P4150                               (GBD)(SN)         7188                 10/5/2021    $   2,000,000.00   $   11,215,259.00   $   13,215,259.00   $      39,645,777.00
                                                                                                                                          DKT 232; 1:02-cv-01616-JR;
 80   Stephen                  Bunin                         Susan Quigley                                United States     8/1/2003      P3618                           19-cv-41 (GBD)(SN)    5918                 2/12/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                          DKT 232; 1:02-cv-01616-JR;          15-cv-9903
 81   Matthew        J.        Burke                         John Joseph Burke                            United States     8/1/2003      P3620                               (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $   21,151,751.00   $   23,151,751.00   $      69,455,253.00
                                                                                                                                                                              15-cv-9903
 82   William        F.        Burke                Jr.      James Martin Burke                           United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2549     (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $    6,586,968.00   $    8,586,968.00   $      25,760,904.00
                                                                                                                                                                              15-cv-9903
 83   Thomas         E.        Burnett              Jr.      Deena Burnett Bailey                         United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 8          (GBD)(SN)         5092                  9/6/2019    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                          DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
 84   Keith          James     Burns                         Jennifer C. Burns                            United States    11/22/2002     2745                                (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $    9,159,317.00   $   11,159,317.00   $      33,477,951.00
                               Caggiano (Estate                                                                                                                               15-cv-9903
 85   Richard        M.        of)                           Veronica Caggiano; Albert E. Caggiano, Jr.   United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2550     (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $   22,338,064.00   $   24,338,064.00   $      73,014,192.00
                                                                                                                                          DKT 232; 1:02-cv-01616-JR;          15-cv-9903
 86   Cecile         Marella   Caguicla                      Natividad Marella Cruz                       United States     8/1/2003      AP228                               (GBD)(SN)         7188                 10/5/2021    $   2,000,000.00   $    4,924,063.00   $    6,924,063.00   $      20,772,189.00
                                                                                                                                          DKT 155; 1:02-cv-01616-JR;          15-cv-9903
 87   John           B.        Cahill                        Sharon Cahill                                United States    5/23/2003      P2836                               (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $    9,810,984.00   $   11,810,984.00   $      35,432,952.00
                                                                                                                                          DKT432; 1:03-md-01570-GBD-          15-cv-9903
 88   Michael                  Cahill                        Colleen Casey Cahill                         United States    9/10/2004      SN; P5327                           (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $   16,930,948.00   $   18,930,948.00   $      56,792,844.00
                                                                                                                                          DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
 89   George         C.        Cain                          Rosemary Cain; Daniel A. Cain                United States    11/22/2002     2773                                (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                          DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
 90   Joseph         M.        Calandrillo                   Deborah Calandrillo                          United States    11/22/2002     2466                                (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $    5,804,305.00   $    7,804,305.00   $      23,412,915.00
                                                                                                                                          DKT HAND FILED; 1:03-cv-9849        15-cv-9903
 91   Jose           Orlando   Calderon-Olmedo               Gloria Esperanza Calderon Garcia             United States    3/10/2004      (RCC); P5012                        (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $    8,305,168.00   $   10,305,168.00   $      30,915,504.00
                                                                                                                                          DKT 432; 1:02-cv-01616-JR;          15-cv-9903
 92   Suzanne        M.        Calley (Estate of)            Frank Gerald Jensen                          United States    12/19/2003     P4783                               (GBD)(SN)         6042                  3/6/2020    $   2,000,000.00   $   10,644,374.00   $   12,644,374.00   $      37,933,122.00
                                                             Linda Alice Cammarata; Joseph Michael                                        DKT 3; 1:02-cv-01616-JR; 955,       15-cv-9903
 93   Michael        F.        Cammarata                     Cammarata, Sr.                               United States     9/4/2002      956                                 (GBD)(SN)         7188                 10/5/2021    $   2,000,000.00   $   10,563,948.00   $   12,563,948.00   $      37,691,844.00
                                                                                                                                                                              15-cv-9903
 94   David          Otey      Campbell                      Cynthia J. Campbell                          United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 962        (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $   17,481,689.00   $   19,481,689.00   $      58,445,067.00
                                                                                                                                                                              15-cv-9903
 95   Sean           Thomas    Canavan                       Margaret Rose Canavan                        United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 109        (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $    8,227,487.00   $   10,227,487.00   $      30,682,461.00
                                                                                                                                                                              15-cv-9903
 96   Stephen        Jeffrey   Cangialosi                    Karen D. Cangialosi                          United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 965        (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $   17,855,516.00   $   19,855,516.00   $      59,566,548.00
                                                                                                                                          DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
 97   Lisa                     Cannava                       Richard Cannava                              United States    11/22/2002     2786                                (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $   10,384,730.00   $   12,384,730.00   $      37,154,190.00
                                                                                                                                          DKT 155; 1:02-cv-01616-JR;          15-cv-9903
 98   Michael        R.        Canty                         Peter Matthew Canty                          United States    5/23/2003      P2837                               (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $   11,077,212.00   $   13,077,212.00   $      39,231,636.00
                                                                                                                                          DKT 232; 1:02-cv-01616-JR;          15-cv-9903
 99   Jonathan                 Cappello                      Robert Emanuel Cappello, Sr.                 United States     8/1/2003      P3625                               (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $   22,809,452.00   $   24,809,452.00   $      74,428,356.00
                                                                                                                                          DKT432; 1:03-md-01570-GBD-          15-cv-9903
100   James          C.        Cappers                       Kathleen Vieira Pfitzer                      United States    9/10/2004      SN; P5331                           (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00




                                                                                                                                                 Page 4 of 30
                                                                                      Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 5 of 30
EXHIBIT B-1                                                                                                                                                                  Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                             U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                             ECF Number of Prior
                                                                                                                                                                                                                                                                      Prior MDL Total




                                                                                                                                                                                               MDL Judgment
                       9/11                                                                                                                                                                                                       Prior MDL          Prior MDL        Judgment to Be
           9/11                                                                                         Nationality of                                                  Case Number of                              Date of




                                                      Suffix
                     Decedent's 9/11 Decedent's                                                                        Date Plaintiff      Docket Entry When First                                                              Judgment for       Judgment for          Applied As           Treble Damages
 #      Decedent's                                                    Personal Representative(s)            9/11                                                          Prior MDL                                Prior MDL
                       Middle     Last Name                                                                               Added              Added to Complaint                                                                Conscious Pain     Economic-Loss        Compensatory           Under the ATA
        First Name                                                                                        Decedent                                                        Judgment                                 Judgment
                       Name                                                                                                                                                                                                     and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                          the ATA

                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
101   Dennis         M.          Carey                         Jean Carey                               United States    11/22/2002     2799                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;
102   Michael        Scott       Carlo                         Robert E. Carlo                          United States    11/22/2002     2804                            19-cv-41 (GBD)(SN)    5918                 2/12/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                 Carstanjen (Estate                                                                                     DKT 305; 1:02-cv-01616-JR;          15-cv-9903
103   Christoffer    Mikael      of)                           Mikael Christoffer Carstanjen            United States     9/5/2003      P4160                               (GBD)(SN)         6042                 3/6/2020    $   2,000,000.00   $    7,176,877.00   $    9,176,877.00   $      27,530,631.00
                                                                                                                                        DKT 305; 1:02-cv-01616-JR;          15-cv-9903
104   Sharon         Ann         Carver                        Sylvia Annette Carver                    United States     9/5/2003      P4161                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    9,002,046.00   $   11,002,046.00   $      33,006,138.00
                                                                                                                                                                            15-cv-9903
105   John           Francis     Casazza                       Patricia D. Casazza                      United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 767        (GBD)(SN)         4126                 8/28/2018   $   2,000,000.00   $   21,897,195.00   $   23,897,195.00   $      71,691,585.00
                                                                                                                                        DKT 313; 1:02-cv-01616-JR;          15-cv-9903
106   Neilie                      Casey
                     Anne Heffernan                            Michael W. Casey                         United States    9/10/2003      P4625                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   12,730,964.00   $   14,730,964.00   $      44,192,892.00
                                  Cashman (Estate                                                                                       DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
107   William        Joseph       of)                          Maureen Keefe                            United States    11/22/2002     2817                                (GBD)(SN)         5092                 9/6/2019    $   2,000,000.00   $    4,475,752.00   $    6,475,752.00   $      19,427,256.00
                                                                                                                                                                            15-cv-9903
108   William        Otto        Caspar                        Janice Lucille Kurtz                     United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 859        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    4,616,766.00   $    6,616,766.00   $      19,850,298.00
                                                                                                                                        DKT HAND FILED; 1:03-cv-9849        15-cv-9903
109   Christopher    Sean        Caton                         Alison Gail Henderson                    United States    3/10/2004      (RCC); P5018                        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   17,053,811.00   $   19,053,811.00   $      57,161,433.00
                                                                                                                                        DKT 305; 1:02-cv-01616-JR;          15-cv-9903
110   Judson                     Cavalier                      Gerard Charles Cavalier, Jr.             United States     9/5/2003      P4172                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    9,313,011.00   $   11,313,011.00   $      33,939,033.00
                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
111   Michael        Joseph      Cawley                        John J. Cawley                           United States    11/22/2002     2823                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    9,005,617.00   $   11,005,617.00   $      33,016,851.00
                                                                                                                                                                            15-cv-9903
112   Jeffrey        M.          Chairnoff                     Helaine Kaminsky Chairnoff               United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1795       (GBD)(SN)         7188                 10/5/2021   $   2,000,000.00   $   28,425,498.00   $   30,425,498.00   $      91,276,494.00
                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
113   William        Alexander   Chalcoff                      Michelle Ruth Chalcoff                   United States    11/22/2002     1884                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
114   Charles        L.          Chan                          Julia Ann Chan                           United States    11/22/2002     2829                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   22,581,616.00   $   24,581,616.00   $      73,744,848.00
                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;
115   Rosa           Marie       Chapa                         Elza Marie McGowan                       United States    11/22/2002     2837                            19-cv-41 (GBD)(SN)    5918                 2/12/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                        DKT 305; 1:02-cv-01616-JR;          15-cv-9903
116   Pedro                      Checo                         Marmily Florence Cabrera                 United States     9/5/2003      P4176                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                        DKT 232; 1:02-cv-01616-JR;          15-cv-9903
117   John           G.          Chipura                       Susan G. Cohen; Gerard Michael Chipura   United States     8/1/2003      P3640; 42                           (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                            15-cv-9903
118   Kyung          Hee         Cho                           Yuree Cho                                United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2569     (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    9,507,198.00   $   11,507,198.00   $      34,521,594.00
                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
119   Kirsten        L.          Christophe                    Charles Christophe                       United States    11/22/2002     2849                                (GBD)(SN)         6042                 3/6/2020    $   2,000,000.00   $   13,547,897.00   $   15,547,897.00   $      46,643,691.00
                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
120   Wai            C.          Chung                         Richard Wai Chung                        United States    11/22/2002     2852                                (GBD)(SN)         6035                 3/6/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                        DKT 305; 1:02-cv-01616-JR;          15-cv-9903
121   Frances                    Cilente                       Theresa A. Cilente                       United States     9/5/2003      P4178                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    9,971,390.00   $   11,971,390.00   $      35,914,170.00
                                                                                                                                                                            15-cv-9903
122   Elaine                     Cillo                         Lynne Marie Cillo-Capaldo                United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 130        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    9,572,890.00   $   11,572,890.00   $      34,718,670.00
                                                                                                                                                                            15-cv-9903
123   Nestor         A.          Cintron                       Alicia Armena LeGuillow                  United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 990        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   21,401,418.00   $   23,401,418.00   $      70,204,254.00
                                                                                                                                        DKT 432; 1:02-cv-01616-JR;          15-cv-9903
124   Sarah          Miller      Clark                         Tracey Clark Bourke                      United States    12/19/2003     P4794                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    3,349,704.00   $    5,349,704.00   $      16,049,112.00
                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
125   Michael        John        Clarke                        John Francis Clarke                      United States    11/22/2002     2865                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00




                                                                                                                                               Page 5 of 30
                                                                                     Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 6 of 30
EXHIBIT B-1                                                                                                                                                                       Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                               U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                               ECF Number of Prior
                                                                                                                                                                                                                                                                        Prior MDL Total




                                                                                                                                                                                                 MDL Judgment
                      9/11                                                                                                                                                                                                          Prior MDL          Prior MDL        Judgment to Be
          9/11                                                                                              Nationality of                                                    Case Number of                          Date of




                                                     Suffix
                    Decedent's 9/11 Decedent's                                                                             Date Plaintiff      Docket Entry When First                                                            Judgment for       Judgment for          Applied As           Treble Damages
 #     Decedent's                                                     Personal Representative(s)                9/11                                                            Prior MDL                            Prior MDL
                      Middle     Last Name                                                                                    Added              Added to Complaint                                                              Conscious Pain     Economic-Loss        Compensatory           Under the ATA
       First Name                                                                                             Decedent                                                          Judgment                             Judgment
                      Name                                                                                                                                                                                                        and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                            the ATA

                                                                                                                                            DKT 305; 1:02-cv-01616-JR;          15-cv-9903
126   James         Durward    Cleere (Estate of)             Jean Lorraine Cleere                          United States     9/5/2003      P4183                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    5,450,911.00   $    7,450,911.00   $      22,352,733.00
                                                                                                                                            DKT 232; 1:02-cv-01616-JR;          15-cv-9903
127   Kevin         Sanford    Cohen                          Marcia Elaine Cohen                           United States     8/1/2003      P3643, P3644                        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    9,204,295.00   $   11,204,295.00   $      33,612,885.00
                                                                                                                                            DKT 232; 1:02-cv-01616-JR;          15-cv-9903
128   Mark          J.         Colaio                         June Elizabeth Coppola                        United States     8/1/2003      P3645                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $ 257,387,219.00    $ 259,387,219.00    $    778,161,657.00
                                                                                                                                            DKT 232; 1:02-cv-01616-JR;          15-cv-9903
129   Stephen       J.         Colaio                         Victor J. Colaio                              United States     8/1/2003      P3650                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   42,994,633.00   $   44,994,633.00   $    134,983,899.00
                                                                                                                                            DKT 232; 1:02-cv-01616-JR;          15-cv-9903
130   Christopher              Colasanti                      Kelly Ann Colasanti                           United States     8/1/2003      P4050                               (GBD)(SN)       7188                 10/5/2021   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                                15-cv-9903
131   Michel        Paris      Colbert (Estate of)            Raymond Fernand Colbert; William J. Nielsen   United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 995        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   18,975,922.00   $   20,975,922.00   $      62,927,766.00
                                                                                                                                                                                15-cv-9903
132   Keith         Eugene     Coleman                        Elodie Coleman                                United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1832       (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   94,507,905.00   $   96,507,905.00   $    289,523,715.00
                                                                                                                                            DKT 232; 1:02-cv-01616-JR;          15-cv-9903
133   Scott         Thomas     Coleman                        Jean Coleman; Neil Keith Coleman              United States     8/1/2003      P3652                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   19,233,668.00   $   21,233,668.00   $      63,701,004.00
                                                                                                                                            DKT 155; 1:02-cv-01616-JR;          15-cv-9903
134   Robert        Joseph     Coll                  II       Jennifer Bailey Coll                          United States    5/23/2003      P2853                               (GBD)(SN)       7188                 10/5/2021   $   2,000,000.00   $   32,752,126.00   $   34,752,126.00   $    104,256,378.00
                                                                                                                                                                                15-cv-9903
135   John          Michael    Collins                        Martin Joseph Collins                         United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 137        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    6,871,680.00   $    8,871,680.00   $      26,615,040.00
                                                                                                                                            DKT 305; 1:02-cv-01616-JR;          15-cv-9903
136   Michael       L.         Collins                        Lissa L. Collins                              United States     9/5/2003      P4195                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   10,882,957.00   $   12,882,957.00   $      38,648,871.00
                                                                                                                                            DKT 432; 1:02-cv-01616-JR;          15-cv-9903
137   Linda         M.         Colon                          Carlos R. Colon                               United States    12/19/2003     P4797                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   10,364,650.00   $   12,364,650.00   $      37,093,950.00
                                                                                                                                            DKT 232; 1:02-cv-01616-JR;          15-cv-9903
138   Margaret      Mary       Conner (Estate of)             Michael Anthony Conner                        United States     8/1/2003      P3658                               (GBD)(SN)       3666                 7/31/2017   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                                15-cv-9903
139   Kevin         P.         Connors                        Sheila Connors LeDuc; Sylvia Loria Connors    United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1006       (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    8,197,517.00   $   10,197,517.00   $      30,592,551.00
                                                                                                                                            DKT 305; 1:02-cv-01616-JR;          15-cv-9903
140   John          J.         Corcoran              III      Diann Louise Corcoran DuBois                  United States     9/5/2003      P4208                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   10,627,811.00   $   12,627,811.00   $      37,883,433.00
                                                                                                                                                                                15-cv-9903
141   James         J.         Corrigan                       Marie Ellen Corrigan                          United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2572     (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    6,626,284.00   $    8,626,284.00   $      25,878,852.00
                                                                                                                                                                                15-cv-9903
142   Dolores       M.         Costa                          Charles P. Costa                              United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1016       (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   18,216,307.00   $   20,216,307.00   $      60,648,921.00
                                                                                                                                            DKT 232; 1:02-cv-01616-JR;          15-cv-9903
143   Michael       S.         Costello                       Nancy Eileen Costello                         United States     8/1/2003      P3660                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   24,411,392.00   $   26,411,392.00   $      79,234,176.00
                                                                                                                                            DKT HAND FILED; 1:03-cv-9849        15-cv-9903
144   Asia          SiVon      Cottom (Estate of)             Michelle Antoinette Cottom                    United States    3/10/2004      (RCC); P5027                        (GBD)(SN)       6042                 3/6/2020    $   2,000,000.00   $   10,782,950.00   $   12,782,950.00   $      38,348,850.00
                                                              Ann Mason Douglas; Frederick Osterhoudt                                       DKT 77; 1:02-cv-01616-JR;           15-cv-9903
145   Fred          John       Cox                            Cox                                           United States    2/21/2003      P2575, P2584                        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   26,595,594.00   $   28,595,594.00   $      85,786,782.00
                                                                                                                                                                                15-cv-9903
146   Tara          Kathleen   Creamer                        John J. Creamer                               United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 875        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   11,443,571.00   $   13,443,571.00   $      40,330,713.00
                                                                                                                                            DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
147   Lucy                     Crifasi                        Maria Crifasi                                 United States    11/22/2002     2921                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    5,223,454.00   $    7,223,454.00   $      21,670,362.00
                                                                                                                                                                                15-cv-9903
148   Helen         P.         Crossin-Kittle                 Kevin F. Kittle                               United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2642     (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   12,293,035.00   $   14,293,035.00   $      42,879,105.00
                                                                                                                                            DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
149   Thomas        G.         Crotty                         Joanne C. Crotty                              United States    11/22/2002     1900                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   29,242,277.00   $   31,242,277.00   $      93,726,831.00
                                                                                                                                            DKT 155; 1:02-cv-01616-JR;          15-cv-9903
150   John          R.         Crowe                          Pamela M. Crowe                               United States    5/23/2003      P2862                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    4,843,567.00   $    6,843,567.00   $      20,530,701.00




                                                                                                                                                   Page 6 of 30
                                                                                    Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 7 of 30
EXHIBIT B-1                                                                                                                                                                        Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                                   U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                                   ECF Number of Prior
                                                                                                                                                                                                                                                                            Prior MDL Total




                                                                                                                                                                                                     MDL Judgment
                      9/11                                                                                                                                                                                                              Prior MDL          Prior MDL        Judgment to Be
          9/11                                                                                                Nationality of                                                  Case Number of                              Date of




                                                      Suffix
                    Decedent's 9/11 Decedent's                                                                               Date Plaintiff      Docket Entry When First                                                              Judgment for       Judgment for          Applied As           Treble Damages
 #     Decedent's                                                     Personal Representative(s)                  9/11                                                          Prior MDL                                Prior MDL
                      Middle     Last Name                                                                                      Added              Added to Complaint                                                                Conscious Pain     Economic-Loss        Compensatory           Under the ATA
       First Name                                                                                               Decedent                                                        Judgment                                 Judgment
                      Name                                                                                                                                                                                                            and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                                the ATA

                                                                                                                                              DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
151   Welles        Remy          Crowther                     Alison Remy Crowther                           United States    11/22/2002     1908                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   11,338,605.00   $   13,338,605.00   $      40,015,815.00
                                                                                                                                              DKT 155; 1:02-cv-01616-JR;          15-cv-9903
152   Thelma                      Cuccinello                   Cheryl Lynn O'Brien; Albert C. Cuccinello      United States    5/23/2003      P2864                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    2,723,760.00   $    4,723,760.00   $      14,171,280.00
                                                                                                                                              DKT 232; 1:02-cv-01616-JR;          15-cv-9903
153   Richard       J.            Cudina                       Georgia Barbara Cudina                         United States     8/1/2003      P3663                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   13,792,080.00   $   15,792,080.00   $      47,376,240.00
                                                                                                                                              DKT 305; 1:02-cv-01616-JR;          15-cv-9903
154   Joan          McConnell     Cullinan                     Thomas Francis Cullinan                        United States     9/5/2003      P4211                               (GBD)(SN)         6035                 3/6/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                              DKT 432; 1:02-cv-01616-JR;          15-cv-9903
155   Joyce         Rose          Cummings                     Mitchum Kelvin Cummings                        United States    12/19/2003     P4806                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    3,041,184.00   $    5,041,184.00   $      15,123,552.00
                                  Cummins (Estate                                                                                                                                 15-cv-9903
156   Brian         T.            of)                          Maureen Ellen Cummins                          United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1044       (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   35,742,160.00   $   37,742,160.00   $    113,226,480.00
                                                                                                                                              DKT 26, 29; 1:02-cv-01616-JR;
157   Robert                      Curatolo                     Christine Curatolo                             United States    11/22/2002     1915                            19-cv-41 (GBD)(SN)    5918                 2/12/2020   $   2,000,000.00   $   10,717,083.00   $   12,717,083.00   $      38,151,249.00
                                                                                                                                                                                  15-cv-9903
158   Beverly       L.            Curry                        Frederick E. Curry, III                        United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1049       (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    8,288,945.00   $   10,288,945.00   $      30,866,835.00
                                                                                                                                                                                  15-cv-9903
159   Gavin         Fraser        Cushny                       Susann Carol Brady                             United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 934        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    7,039,482.00   $    9,039,482.00   $      27,118,446.00
                                                                                                                                              DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
160   Jason         M.            Dahl (Estate of)             Jason Matthew Dahl, Jr.                        United States    11/22/2002     2957                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   10,937,980.00   $   12,937,980.00   $      38,813,940.00
                                                                                                                                              DKT 232; 1:02-cv-01616-JR;          15-cv-9903
161   Thomas        A.            Damaskinos                   Jennifer Jeanne Damaskinos                     United States     8/1/2003      P4054                               (GBD)(SN)         6042                 3/6/2020    $   2,000,000.00   $   11,699,455.00   $   13,699,455.00   $      41,098,365.00
                                                                                                                                                                                  15-cv-9903
162   Jeannine                    Damiani-Jones                Shawn M. Jones                                 United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2636     (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                              DKT 432; 1:02-cv-01616-JR;          15-cv-9903
163   Edward        A.            D'Atri                       Linda D'Atri-Potenza                           United States    12/19/2003     P4807                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   10,410,903.00   $   12,410,903.00   $      37,232,709.00
                                                                                                                                              DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
164   Michael                     D'Auria                      Nancy B. Cimei                                 United States    11/22/2002     2948                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   10,044,148.00   $   12,044,148.00   $      36,132,444.00
                                                                                                                                              DKT 305; 1:02-cv-01616-JR;          15-cv-9903
165   Michael       A.            Davidson                     Ellen R. Davidson                              United States     9/5/2003      P4214                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   26,713,004.00   $   28,713,004.00   $      86,139,012.00
                                                                                                                                                                                  15-cv-9903
166   Dorothy       Alma          de Araujo                    Joaquim Timotheo de Araujo                     United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 171        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    1,283,824.00   $    3,283,824.00   $       9,851,472.00
                                                               Jalin Danielle Debeuneure; Jacques Dan-El                                      DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
167   James         D.            Debeuneure                   Debeuneure                                     United States    11/22/2002     1938                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    3,732,670.00   $    5,732,670.00   $      17,198,010.00
                                                                                                                                              DKT 232; 1:02-cv-01616-JR;          15-cv-9903
168   Anna          M.            DeBin                        George Debin                                   United States     8/1/2003      P4055                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   10,574,404.00   $   12,574,404.00   $      37,723,212.00
                                                                                                                                              DKT 232; 1:02-cv-01616-JR;          15-cv-9903
169   Paul                        DeCola                       Virginia Marie Bowrosen                        United States     8/1/2003      P3672                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    7,535,695.00   $    9,535,695.00   $      28,607,085.00
                                                                                                                                                                                  15-cv-9903
170   Jason         Christopher   DeFazio                      Michele Pizzo                                  United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 174        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   24,926,645.00   $   26,926,645.00   $      80,779,935.00
                                                                                                                                                                                  15-cv-9903
171   Jennifer                    DeJesus                      Luis Perez                                     United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2685     (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                  Del Valle (Estate                                                                                                                               15-cv-9903
172   Manuel                      of)                 Jr.      Gricel G. Zayas-Moyer; Manuel Del Valle, Sr.   United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 179        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    9,450,361.00   $   11,450,361.00   $      34,351,083.00
                                                                                                                                              DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
173   Vito          Joseph        Deleo               Sr. Sally DeLeo                                         United States    11/22/2002     1941                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    7,601,671.00   $    9,601,671.00   $      28,805,013.00
                                                                                                                                              DKT 432; 1:02-cv-01616-JR;          15-cv-9903
174   Martin        N.            DeMeo                        Joan DeMeo                                     United States    12/19/2003     P4825                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    6,888,019.00   $    8,888,019.00   $      26,664,057.00
                                                                                                                                              DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
175   Edward                      DeSimone            III      Joanne DeSimone                                United States    11/22/2002     1946                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   13,922,877.00   $   15,922,877.00   $      47,768,631.00




                                                                                                                                                     Page 7 of 30
                                                                                        Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 8 of 30
EXHIBIT B-1                                                                                                                                                                       Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                               U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                               ECF Number of Prior
                                                                                                                                                                                                                                                                         Prior MDL Total




                                                                                                                                                                                                 MDL Judgment
                       9/11                                                                                                                                                                                                          Prior MDL          Prior MDL        Judgment to Be
           9/11                                                                                             Nationality of                                                    Case Number of                          Date of




                                                       Suffix
                     Decedent's 9/11 Decedent's                                                                            Date Plaintiff      Docket Entry When First                                                             Judgment for       Judgment for          Applied As           Treble Damages
 #      Decedent's                                                      Personal Representative(s)              9/11                                                            Prior MDL                            Prior MDL
                       Middle     Last Name                                                                                   Added              Added to Complaint                                                               Conscious Pain     Economic-Loss        Compensatory           Under the ATA
        First Name                                                                                            Decedent                                                          Judgment                             Judgment
                       Name                                                                                                                                                                                                        and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                             the ATA

                                                                                                                                                                                15-cv-9903
176   Michael        Jude        D'Esposito                     Grace Elizabeth Lieberman                   United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 151        (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $   13,941,532.00   $   15,941,532.00   $      47,824,596.00
                                                                                                                                            DKT HAND FILED; 1:03-cv-9849        15-cv-9903
177   Rodney         Alonzo      Dickens (Estate of)            LaShawn Dickens                             United States    3/10/2004      (RCC); P5040                        (GBD)(SN)       6042                  3/6/2020    $   2,000,000.00   $   10,903,258.00   $   12,903,258.00   $      38,709,774.00
                                                                                                                                            DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
178   Lawrence       Patrick     Dickinson                      Linda M. Dickinson-Pancila                  United States    11/22/2002     3014                                (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $   18,300,571.00   $   20,300,571.00   $      60,901,713.00
                                                                                                                                                                                15-cv-9903
179   Carl           A.          DiFranco                       Carole May DiFranco                         United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1063       (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $   10,515,128.00   $   12,515,128.00   $      37,545,384.00
                                                                                                                                                                                15-cv-9903
180   George                     DiPasquale                     Melissa M. DiPasquale                       United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2583     (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                            DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
181   Donald         Americo     DiTullio                       Marjorie Alice Ditullio                     United States    11/22/2002     3030                                (GBD)(SN)       7188                 10/5/2021    $   2,000,000.00   $    5,855,460.00   $    7,855,460.00   $      23,566,380.00
                                                                                                                                            DKT 305; 1:02-cv-01616-JR;          15-cv-9903
182   Johnnie                    Doctor                Jr.      Andrea Gale Doctor                          United States     9/5/2003      P4230                               (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $    9,192,246.00   $   11,192,246.00   $      33,576,738.00
                                                                                                                                            DKT 305; 1:02-cv-01616-JR;          15-cv-9903
183   Neil           Matthew     Dollard (Estate of)            Helen Ann Dollard                           United States     9/5/2003      P4232                               (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $   21,108,304.00   $   23,108,304.00   $      69,324,912.00
                                                                                                                                                                                15-cv-9903
184   Jerome                     Dominguez                      Frank Joseph Dominguez                      United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 184        (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $    8,769,499.00   $   10,769,499.00   $      32,308,497.00
                                                                                                                                            DKT 155; 1:02-cv-01616-JR;          15-cv-9903
185   Kevin          W.          Donnelly                       Edward Lawrence Donnelly, Jr.               United States    5/23/2003      P2880                               (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $    9,050,604.00   $   11,050,604.00   $      33,151,812.00
                                                                                                                                                                                15-cv-9903
186   Joseph         Michael     Doyle                          William Henry Doyle, Jr.                    United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 12         (GBD)(SN)       6034                  3/6/2020    $   2,000,000.00   $   22,356,560.00   $   24,356,560.00   $      73,069,680.00
                                                                                                                                            DKT 305; 1:02-cv-01616-JR;          15-cv-9903
187   Stephen        Patrick     Driscoll                       Ann Patricia Driscoll                       United States     9/5/2003      P4244                               (GBD)(SN)       6035                  3/6/2020    $   2,000,000.00   $    9,200,727.00   $   11,200,727.00   $      33,602,181.00
                                                                                                                                            DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
188   Jackie         Sayegh      Duggan                         Mitchell Duggan                             United States    11/22/2002     3078                                (GBD)(SN)       7287                 10/25/2021   $   2,000,000.00   $   12,216,485.00   $   14,216,485.00   $      42,649,455.00
                                                                                                                                            DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
189   Sareve                     Dukat                          Joel Gary Shapiro                           United States    11/22/2002     1956                                (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $    6,138,097.00   $    8,138,097.00   $      24,414,291.00
                                                                                                                                            DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
190   Constantine                Economos                       Audrey Katherine Economos                   United States    11/22/2002     1959                                (GBD)(SN)       8233                 7/19/2022    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                            DKT 305; 1:02-cv-01616-JR;          15-cv-9903
191   Eric           Adam        Eisenberg                      Paula Robin Shapiro; Carl Jonas Eisenberg   United States     9/5/2003      P4250                               (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $   11,552,030.00   $   13,552,030.00   $      40,656,090.00
                                                                                                                                            DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
192   Michael        J.          Elferis                        Robert E. Elferis                           United States    11/22/2002     3097                                (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $    9,555,189.00   $   11,555,189.00   $      34,665,567.00
                                                                                                                                            DKT 26, 29: 1:02-cv-01616-JR;       15-cv-9903
193   Edgar          Hendricks   Emery                 Jr.      Elizabeth Emery                             United States    11/22/2002     2469                                (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                            DKT 155; 1:02-cv-01616-JR;          15-cv-9903
194   Bridget        Ann         Esposito                       Michael Anthony Esposito                    United States    5/23/2003      P2889                               (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $    8,901,657.00   $   10,901,657.00   $      32,704,971.00
                                                                                                                                            DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
195   Francis                    Esposito                       Dawn Marie Picciano                         United States    11/22/2002     3110                                (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $    9,943,235.00   $   11,943,235.00   $      35,829,705.00
                                                                                                                                            DKT 232; 1:02-cv-01616-JR;          15-cv-9903
196   William        J.          Esposito                       Stephanie Lynn Esposito                     United States     8/1/2003      P4056                               (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                            DKT432; 1:03-md-01570-GBD-          15-cv-9903
197   Ruben                      Esquilin              Jr.      Maria Luisa Bey                             United States    9/10/2004      SN; P5349                           (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $    6,429,176.00   $    8,429,176.00   $      25,287,528.00
                                                                Gary Michael Evans; Charles Reggie Evans,                                                                       15-cv-9903
198   Eric           Brian       Evans                          Jr.                                         United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1089       (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $   10,343,234.00   $   12,343,234.00   $      37,029,702.00
                                                                                                                                                                                15-cv-9903
199   Keith          George      Fairben                        Kenneth Bruce Fairben                       United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2588     (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $    8,969,554.00   $   10,969,554.00   $      32,908,662.00
                                 Fangman (Estate                                                                                            DKT 305; 1:02-cv-01616-JR;          15-cv-9903
200   Robert         John        of)                            Ruth M. Fangman; Carole Lynn Ricci          United States     9/5/2003      P4258                               (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00




                                                                                                                                                   Page 8 of 30
                                                                                     Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 9 of 30
EXHIBIT B-1                                                                                                                                                                    Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                            U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                            ECF Number of Prior
                                                                                                                                                                                                                                                                      Prior MDL Total




                                                                                                                                                                                              MDL Judgment
                       9/11                                                                                                                                                                                                       Prior MDL          Prior MDL        Judgment to Be
           9/11                                                                                            Nationality of                                                  Case Number of                          Date of




                                                     Suffix
                     Decedent's 9/11 Decedent's                                                                           Date Plaintiff      Docket Entry When First                                                           Judgment for       Judgment for          Applied As           Treble Damages
 #      Decedent's                                                   Personal Representative(s)                9/11                                                          Prior MDL                            Prior MDL
                       Middle     Last Name                                                                                  Added              Added to Complaint                                                             Conscious Pain     Economic-Loss        Compensatory           Under the ATA
        First Name                                                                                           Decedent                                                        Judgment                             Judgment
                       Name                                                                                                                                                                                                     and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                          the ATA

                                                                                                                                           DKT 305; 1:02-cv-01616-JR;        15-cv-9903
201   Kathleen                 Faragher                       Beth Ann Faragher                            United States     9/5/2003      P4260                             (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $   10,984,657.00   $   12,984,657.00   $      38,953,971.00
                                                                                                                                           DKT HAND FILED; 1:03-cv-9849      15-cv-9903
202   Terrence       Patrick   Farrell                        Helenora M. Farrell                          United States    3/10/2004      (RCC); P5051                      (GBD)(SN)       6034                  3/6/2020    $   2,000,000.00   $    8,398,014.00   $   10,398,014.00   $      31,194,042.00
                                                                                                                                                                             15-cv-9903
203   Shannon        Marie     Fava                           Frank Joseph Fava                            United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 210      (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $   10,980,804.00   $   12,980,804.00   $      38,942,412.00
                                                                                                                                           DKT 232; 1:02-cv-01616-JR;        15-cv-9903
204   Bernard                  Favuzza                        Linda Ann Favuzza                            United States     8/1/2003      P4058                             (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $    6,357,872.00   $    8,357,872.00   $      25,073,616.00
                                                                                                                                           DKT 305; 1:02-cv-01616-JR;        15-cv-9903
205   Robert                   Fazio                 Jr.      Carole Lovero                                United States     9/5/2003      P4266                             (GBD)(SN)       6042                  3/6/2020    $   2,000,000.00   $    7,162,462.00   $    9,162,462.00   $      27,487,386.00
                                                                                                                                           DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
206   William        M.        Feehan                         William Bernard Feehan                       United States    11/22/2002     3126                              (GBD)(SN)       6042                  3/6/2020    $   2,000,000.00   $    2,400,890.00   $    4,400,890.00   $      13,202,670.00
                                                                                                                                           DKT 155; 1:02-cv-01616-JR;        15-cv-9903
207   Edward         Thomas    Fergus                Jr.      Linda Jane Fergus                            United States    5/23/2003      P2895                             (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $   24,916,617.00   $   26,916,617.00   $      80,749,851.00
                                                                                                                                           DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
208   Jennifer       Louise    Fialko                         Evelyn Louise Fialko; Robert John Fialko     United States    11/22/2002     3152                              (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $    9,565,992.00   $   11,565,992.00   $      34,697,976.00
                                                                                                                                           DKT 77; 1:02-cv-01616-JR;         15-cv-9903
209   Kristen        Nicole    Fiedel                         Isabel Marilyn Fiedel; Warren Irwin Fiedel   United States    2/21/2003      P2590, P2592                      (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $    8,984,740.00   $   10,984,740.00   $      32,954,220.00
                                                                                                                                           DKT 432; 1:02-cv-01616-JR;        15-cv-9903
210   Amelia         V.        Fields                         William Howard Fields, Sr.                   United States    12/19/2003     P4840                             (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                           DKT 305; 1:02-cv-01616-JR;        15-cv-9903
211   Alexander      M.        Filipov (Estate of)            Loretta Jean Filipov                         United States     9/5/2003      P4274                             (GBD)(SN)       5092                  9/6/2019    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                           DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
212   John           B.        Fiorito                        Karen Fiorito                                United States    11/22/2002     1964                              (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $   49,026,883.00   $   51,026,883.00   $    153,080,649.00
                                                                                                                                           DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
213   John           R.        Fischer                        Jean C. Fischer                              United States    11/22/2002     3168                              (GBD)(SN)       6035                  3/6/2020    $   2,000,000.00   $    9,241,407.00   $   11,241,407.00   $      33,724,221.00
                                                                                                                                           DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
214   Thomas         Joseph    Fisher                         Susan M. Fisher                              United States    11/22/2002     1967                              (GBD)(SN)       7287                 10/25/2021   $   2,000,000.00   $   11,826,819.00   $   13,826,819.00   $      41,480,457.00
                                                                                                                                                                             15-cv-9903
215   Gerald         Paul      Fisher (Estate of)             Christine Karas Fisher                       United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1118     (GBD)(SN)       5092                  9/6/2019    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                               Fitzgerald (Estate                                                                                          DKT 305; 1:02-cv-01616-JR;        15-cv-9903
216   Ryan           D.        of)                            Diane Keating                                United States     9/5/2003      P4275                             (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $   10,911,248.00   $   12,911,248.00   $      38,733,744.00
                                                                                                                                           DKT 232; 1:02-cv-01616-JR;        15-cv-9903
217   Thomas         James     Fitzpatrick                    Marianne Fitzpatrick                         United States     8/1/2003      P3692                             (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $   24,480,365.00   $   26,480,365.00   $      79,441,095.00
                                                                                                                                           DKT 432; 1:02-cv-01616-JR;        15-cv-9903
218   Salvatore      A.        Fiumefreddo                    Joan Fiumefreddo                             United States    12/19/2003     P4841                             (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $    8,855,783.00   $   10,855,783.00   $      32,567,349.00
                                                                                                                                           DKT 313; 1:02-cv-01616-JR;        15-cv-9903
219   Darlene        Embree    Flagg (Estate of)              Michael Embree Flagg; Marcus Wilson Flagg    United States    9/10/2003      P4643                             (GBD)(SN)       5092                  9/6/2019    $   2,000,000.00   $    6,298,686.00   $    8,298,686.00   $      24,896,058.00
                                                                                                                                           DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
220   Joseph         W.        Flounders                      Christian Crane Croner                       United States    11/22/2002     3178                              (GBD)(SN)       7188                 10/5/2021    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                           DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
221   Robert         Joseph    Foti                           Mary Grace Foti                              United States    11/22/2002     3192                              (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $    8,491,059.00   $   10,491,059.00   $      31,473,177.00
                                                                                                                                           DKT 232; 1:02-cv-01616-JR;        15-cv-9903
222   Lillian                  Frederick-Lambert              Henry Lambert                                United States     8/1/2003      P3696                             (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $    6,586,631.00   $    8,586,631.00   $      25,759,893.00
                               Fumando (Estate                                                                                                                               15-cv-9903
223   Clement                  of)                            Katherine Marie Fumando                      United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1132     (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $    3,998,527.00   $    5,998,527.00   $      17,995,581.00
                                                                                                                                                                             15-cv-9903
224   Karleton       D.        Fyfe                           Haven A. Fyfe-Kiernan                        United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 222      (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $   22,657,383.00   $   24,657,383.00   $      73,972,149.00
                                                                                                                                                                             15-cv-9903
225   James          Andrew    Gadiel                         Peter Gadiel                                 United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 227      (GBD)(SN)       5975                 2/18/2020    $   2,000,000.00   $   23,228,606.00   $   25,228,606.00   $      75,685,818.00




                                                                                                                                                  Page 9 of 30
                                                                                     Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 10 of 30
EXHIBIT B-1                                                                                                                                                                  Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                             U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                             ECF Number of Prior
                                                                                                                                                                                                                                                                      Prior MDL Total




                                                                                                                                                                                               MDL Judgment
                       9/11                                                                                                                                                                                                       Prior MDL          Prior MDL        Judgment to Be
           9/11                                                                                         Nationality of                                                  Case Number of                              Date of




                                                       Suffix
                     Decedent's 9/11 Decedent's                                                                        Date Plaintiff      Docket Entry When First                                                              Judgment for       Judgment for          Applied As           Treble Damages
 #      Decedent's                                                     Personal Representative(s)           9/11                                                          Prior MDL                                Prior MDL
                       Middle     Last Name                                                                               Added              Added to Complaint                                                                Conscious Pain     Economic-Loss        Compensatory           Under the ATA
        First Name                                                                                        Decedent                                                        Judgment                                 Judgment
                       Name                                                                                                                                                                                                     and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                          the ATA

                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
226   Pamela         Lee         Gaff                           Kevin Richard Gaff                      United States    11/22/2002     3213                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    8,728,619.00   $   10,728,619.00   $      32,185,857.00
                                                                                                                                                                            15-cv-9903
227   Deanna         Micciulli   Galante                        Anthony Galante                         United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1149       (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   10,009,378.00   $   12,009,378.00   $      36,028,134.00
                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
228   Grace          Catherine   Galante                        Giovanni Galante                        United States    11/22/2002     3220                                (GBD)(SN)         7188                 10/5/2021   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                 Gamboa-                                                                                                DKT 432; 1:02-cv-01616-JR;          15-cv-9903
229   David          Reed        Brandhorst                     David Benjamin Brandhorst               United States    12/19/2003     P4779 (MDC)                         (GBD)(SN)         8233                 7/19/2022   $   2,000,000.00   $   16,034,834.00   $   18,034,834.00   $      54,104,502.00
                                                                                                                                        DKT 232; 1:02-cv-01616-JR;          15-cv-9903
230   Charles        William     Garbarini                      Andrea DeGeorge Garbarini               United States     8/1/2003      P3698                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    8,883,429.00   $   10,883,429.00   $      32,650,287.00
                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
231   Cesar          R.          Garcia                         Celeste Marino Garcia                   United States    11/22/2002     1976                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
232   David                      Garcia                         Deborah Ann Garcia                      United States    11/22/2002     3245                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   11,079,402.00   $   13,079,402.00   $      39,238,206.00
                                                                                                                                        DKT 432; 1:02-cv-01616-JR;          15-cv-9903
233   Douglas        B.          Gardner                        Jennifer Radding Gardner                United States    12/19/2003     P4844                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $ 140,031,376.00    $ 142,031,376.00    $    426,094,128.00
                                                                                                                                        DKT 232; 1:02-cv-01616-JR;          15-cv-9903
234   Jeffrey        B.          Gardner                        Amy Beth Kassan                         United States     8/1/2003      P4060                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                 Gargano (Estate                                                                                        DKT 432; 1:02-cv-01616-JR;          15-cv-9903
235   Rocco          Nino        of)                            Antonia Gargano                         United States    12/19/2003     P4845                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   19,914,907.00   $   21,914,907.00   $      65,744,721.00
                                                                                                                                        DKT 155; 1:02-cv-01616-JR;          15-cv-9903
236   Peter          A.          Gay                   Sr. Linda Rose Gay                               United States    5/23/2003      P2902                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                        DKT 232; 1:02-cv-01616-JR;          15-cv-9903
237   Terence        D.          Gazzani (Estate of)            Tracy M. Gazzani; Maurizio D. Gazzani   United States     8/1/2003      P4061; 62                           (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   22,771,880.00   $   24,771,880.00   $      74,315,640.00
                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
238   Gary           Paul        Geidel                         Mathilda M. Geidel                      United States    11/22/2002     1981                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    7,944,364.00   $    9,944,364.00   $      29,833,092.00
                                                                                                                                        DKT 313; 1:02-cv-01616-JR;          15-cv-9903
239   Linda                      George                         Richard Albert George                   United States    9/10/2003      P4646                               (GBD)(SN)         7188                 10/5/2021   $   2,000,000.00   $   13,151,152.00   $   15,151,152.00   $      45,453,456.00
                                                                                                                                        DKT 305; 1:02-cv-01616-JR;          15-cv-9903
240   Robert         J.          Gerlich                        Rochelle Gerlich                        United States     9/5/2003      P4293                               (GBD)(SN)         7188                 10/5/2021   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
241   Marina         Romanovna Gertsberg                        Roman Gertsberg                         United States    11/22/2002     3257                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   12,018,817.00   $   14,018,817.00   $      42,056,451.00
                                                                                                                                        DKT 155; 1:02-cv-01616-JR;          15-cv-9903
242   Brenda         Colbert     Gibson (Estate of)             Joseph Milton Gibson, III               United States    5/23/2003      P2903                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    4,031,243.00   $    6,031,243.00   $      18,093,729.00
                                                                                                                                        DKT 155; 1:02-cv-01616-JR;          15-cv-9903
243   Mark           Y.          Gilles                         Marie Myriam Jean-Gilles                United States    5/23/2003      P2905                               (GBD)(SN)         7188                 10/5/2021   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
244   John           F.          Ginley                         April Grace Ginley                      United States    11/22/2002     3285                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   11,008,443.00   $   13,008,443.00   $      39,025,329.00
                                 Gladstone (Estate                                                                                                                          15-cv-9903
245   Dianne                     of)                            Herbert Gladstone                       United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 253        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    5,597,609.00   $    7,597,609.00   $      22,792,827.00
                                                                                                                                                                            15-cv-9903
246   Keith          Alexander   Glascoe                        Veronica Andrea Squef                   United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1173       (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                        DKT 305; 1:02-cv-01616-JR;          15-cv-9903
247   Barry          H.          Glick                          Judith Mechanic Glick; David Mechanic   United States     9/5/2003      P4297                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    5,371,129.00   $    7,371,129.00   $      22,113,387.00
                                                                                                                                        DKT 305; 1:02-cv-01616-JR;
248   Steven         L.          Glick                          Mari Glick Stuart                       United States     9/5/2003      P4298                           19-cv-41 (GBD)(SN)    5918                 2/12/2020   $   2,000,000.00   $   69,020,206.00   $   71,020,206.00   $    213,060,618.00
                                                                                                                                        DKT 432; 1:02-cv-01616-JR;          15-cv-9903
249   Michael                    Gogliormella                   Daniela Gogliormella                    United States    12/19/2003     P4848                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    9,466,704.00   $   11,466,704.00   $      34,400,112.00
                                                                                                                                                                            15-cv-9903
250   Jeffrey        Grant       Goldflam                       Rise Holly Goldflam                     United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2615     (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   28,477,674.00   $   30,477,674.00   $      91,433,022.00




                                                                                                                                              Page 10 of 30
                                                                                       Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 11 of 30
EXHIBIT B-1                                                                                                                                                                       Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                                  U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                                  ECF Number of Prior
                                                                                                                                                                                                                                                                            Prior MDL Total




                                                                                                                                                                                                    MDL Judgment
                       9/11                                                                                                                                                                                                             Prior MDL          Prior MDL        Judgment to Be
           9/11                                                                                            Nationality of                                                    Case Number of                              Date of




                                                        Suffix
                     Decedent's 9/11 Decedent's                                                                           Date Plaintiff      Docket Entry When First                                                                 Judgment for       Judgment for          Applied As           Treble Damages
 #      Decedent's                                                      Personal Representative(s)             9/11                                                            Prior MDL                                Prior MDL
                       Middle     Last Name                                                                                  Added              Added to Complaint                                                                   Conscious Pain     Economic-Loss        Compensatory           Under the ATA
        First Name                                                                                           Decedent                                                          Judgment                                 Judgment
                       Name                                                                                                                                                                                                           and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                                the ATA

                                                                                                                                                                                15-cv-9903
251   Monica                     Goldstein                       Cecilia Goldstein                         United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 255         (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                           DKT 155; 1:02-cv-01616-JR;           15-cv-9903
252   Ronald         Franklin    Golinski (Estate of)            Irene Mary Golinski                       United States    5/23/2003      P2907                                (GBD)(SN)          5092                  9/6/2019    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                           DKT 155; 1:02-cv-01616-JR;           15-cv-9903
253   Rosa           J.          Gonzalez                        Migdalia Coleman                          United States    5/23/2003      P2910                                (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $    8,079,538.00   $   10,079,538.00   $      30,238,614.00
                                                                 Ellen Reynolds Goodchild; William Clark                                   DKT 1; 1:02-cv-01616-JR; 260,        15-cv-9903
254   Lynn           Catherine   Goodchild                       Goodchild, III                            United States    8/15/2002      262                                  (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $   15,826,441.00   $   17,826,441.00   $      53,479,323.00
                                                                                                                                           DKT 232; 1:02-cv-01616-JR;           15-cv-9903
255   Catherine      C.          Gorayeb                         Claire A. Gorayeb                         United States     8/1/2003      P3702                                (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $   12,086,519.00   $   14,086,519.00   $      42,259,557.00
                                                                                                                                           DKT 155; 1:02-cv-01616-JR;           15-cv-9903
256   Michael        Edward      Gould                           Kathryn Gould Anderson                    United States    5/23/2003      P2915                                (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $   46,339,847.00   $   48,339,847.00   $    145,019,541.00
                                                                                                                                           DKT HAND FILED; 1:03-cv-9849         15-cv-9903
257   Douglas        Alan        Gowell                          Barbara Joan Gowell                       United States    3/10/2004      (RCC); P5072                         (GBD)(SN)          8233                 7/19/2022    $   2,000,000.00   $    7,604,617.00   $    9,604,617.00   $      28,813,851.00
                                                                                                                                           DKT 26, 29; 1:02-cv-01616-JR;        15-cv-9903
258   Christopher    Michael     Grady                           Kelly Ann Green-Grady                     United States    11/22/2002     2475                                 (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $   16,351,666.00   $   18,351,666.00   $      55,054,998.00
                                                                                                                                           DKT 602; 1:03-md-01570-GBD-          15-cv-9903
259   David          Martin      Graifman                        Christine R. Huhn                         United States     1/3/2005      SN; P5485                            (GBD)(SN)          7188                 10/5/2021    $   2,000,000.00   $   33,904,573.00   $   35,904,573.00   $    107,713,719.00
                                                                                                                                           DKT 232; 1:02-cv-01616-JR;           15-cv-9903
260   Lauren         C.          Grandcolas                      Jack Andrew Grandcolas                    United States     8/1/2003      P3704                                (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $   12,723,963.00   $   14,723,963.00   $      44,171,889.00
                                                                                                                                           DKT 232; 1:02-cv-01616-JR;           15-cv-9903
261   Christopher    Stewart     Gray                            Janet Walker Gray                         United States     8/1/2003      P4063                                (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $   14,687,569.00   $   16,687,569.00   $      50,062,707.00
                                                                                                                                           DKT 432; 1:02-cv-01616-JR;           15-cv-9903
262   Ian            J.          Gray                            Ana M. Raley                              United States    12/19/2003     P4983                                (GBD)(SN)          6042                  3/6/2020    $   2,000,000.00   $    8,991,875.00   $   10,991,875.00   $      32,975,625.00
                                                                                                                                                                                15-cv-9903
263   James          Michael     Gray                            Jean Marie Gray                           United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1791        (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $    9,486,335.00   $   11,486,335.00   $      34,459,005.00
                                                                                                                                           DKT 26, 29; 1:02-cv-01616-JR;        15-cv-9903
264   Wade           Brian       Green                           Roxanne E. Green                          United States    11/22/2002     1993                                 (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $    7,675,903.00   $    9,675,903.00   $      29,027,709.00
                                                                                                                                                                                15-cv-9903
265   Eileen                     Greenstein                      Michael J. Greenstein                     United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2621      (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $    5,761,659.00   $    7,761,659.00   $      23,284,977.00
                                                                                                                                           DKT 232; 1:02-cv-01616-JR;           15-cv-9903
266   Donald         H.          Gregory                         Maureen A. Gregory                        United States     8/1/2003      P3706                                (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                                15-cv-9903
267   David          Joseph      Grimner                         Judith A. Grimner                         United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1185        (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $    7,540,326.00   $    9,540,326.00   $      28,620,978.00
                                                                                                                                           DKT 26, 29; 1:02-cv-01616-JR;        15-cv-9903
268   Joseph                     Grzelak                         Joanne Grzelak                            United States    11/22/2002     2004                                 (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                           DKT 232; 1:02-cv-01616-JR;           15-cv-9903
269   Matthew        James       Grzymalski                      Patricia Grzymalski                       United States     8/1/2003      P3708                                (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                 Guadagno (Estate                                                                                          DKT 232; 1:02-cv-01616-JR;           15-cv-9903
270   Richard        J.          of)                             Jerry F. Guadagno                         United States     8/1/2003      P3709                                (GBD)(SN)          6042                  3/6/2020    $   2,000,000.00   $    7,471,886.00   $    9,471,886.00   $      28,415,658.00

271   Cindy          Yanzhu      Guan                            Edwin H. Yuen                             United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 265      19-cv-44 (GBD)(SN)    5851                  2/5/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                           DKT 26, 29; 1:02-cv-01616-JR;
272   Joseph         P.          Gullickson                      Naoemi P. Gullickson                      United States    11/22/2002     3328                              19-cv-41 (GBD)(SN)    5918                 2/12/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                           DKT 155; 1:02-cv-01616-JR;            15-cv-9903
273   Philip         T.          Guza                            Thomas Guza                               United States    5/23/2003      P2922                                 (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                 Guzzardo (Estate                                                                                                                                15-cv-9903
274   Barbara                    of)                             Anthony Domiano Guzzardo, Sr.             United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 267          (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $    6,758,072.00   $    8,758,072.00   $      26,274,216.00
                                                                                                                                           DKT 432; 1:02-cv-01616-JR;            15-cv-9903
275   Paige          Farley      Hackel                          Lisa Ann Cenicola                         United States    12/19/2003     P4858                                 (GBD)(SN)         7287                 10/25/2021   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00




                                                                                                                                                 Page 11 of 30
                                                                                    Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 12 of 30
EXHIBIT B-1                                                                                                                                                                 Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                         U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                         ECF Number of Prior
                                                                                                                                                                                                                                                                  Prior MDL Total




                                                                                                                                                                                           MDL Judgment
                       9/11                                                                                                                                                                                                   Prior MDL          Prior MDL        Judgment to Be
           9/11                                                                                       Nationality of                                                    Case Number of                          Date of




                                                      Suffix
                     Decedent's 9/11 Decedent's                                                                      Date Plaintiff      Docket Entry When First                                                            Judgment for       Judgment for          Applied As           Treble Damages
 #      Decedent's                                                    Personal Representative(s)          9/11                                                            Prior MDL                            Prior MDL
                       Middle     Last Name                                                                             Added              Added to Complaint                                                              Conscious Pain     Economic-Loss        Compensatory           Under the ATA
        First Name                                                                                      Decedent                                                          Judgment                             Judgment
                       Name                                                                                                                                                                                                 and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                      the ATA

                                                                                                                                      DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
276   Steven         Michael     Hagis                         Gloria Janine Hagis                    United States    11/22/2002     3343                                (GBD)(SN)       8233                 7/19/2022   $   2,000,000.00   $   28,394,564.00   $   30,394,564.00   $      91,183,692.00
                                                                                                                                      DKT 155; 1:02-cv-01616-JR;          15-cv-9903
277   Marylou                    Hague                         Elizabeth Jane Adams                   United States    5/23/2003      P2923                               (GBD)(SN)       6035                 3/6/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                          15-cv-9903
278   David                      Halderman                     Geraldine Eleanor Halderman            United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1196       (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                          15-cv-9903
279   Felicia                    Hamilton                      Lisa A. Ventura                        United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2734     (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                      DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
280   Robert         W.          Hamilton                      Elizabeth Hamilton                     United States    11/22/2002     2025                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    8,743,147.00   $   10,743,147.00   $      32,229,441.00
                                                                                                                                      DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
281   Carl           Max         Hammond              Jr.      Cynthia Sue Sumner                     United States    11/22/2002     3353                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    9,453,818.00   $   11,453,818.00   $      34,361,454.00
                                                                                                                                      DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
282   Sean                       Hanley                        Bryan Thomas Hanley                    United States    11/22/2002     3356                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    7,863,071.00   $    9,863,071.00   $      29,589,213.00
                                                                                                                                      DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
283   Dana           Rey         Hannon                        Kyle Elizabeth Bickford                United States    11/22/2002     3359                                (GBD)(SN)       8233                 7/19/2022   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                      DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
284   Sue            Ju          Hanson                        John Hyunsool Kim                      United States    11/22/2002     3363                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   10,691,128.00   $   12,691,128.00   $      38,073,384.00
                                                                                                                                      DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
285   Frances                    Haros                         Maria Ann Galea                        United States    11/22/2002     3385                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    1,839,549.00   $    3,839,549.00   $      11,518,647.00
                                                                                                                                      DKT 432; 1:02-cv-01616-JR;          15-cv-9903
286   Aisha          Ann         Harris                        Arvette Denise Harris                  United States    12/19/2003     P4861                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   10,136,771.00   $   12,136,771.00   $      36,410,313.00
                                                                                                                                      DKT 232; 1:02-cv-01616-JR;          15-cv-9903
287   John           P.          Hart                          Laurie Sue Hart                        United States     8/1/2003      P3714                               (GBD)(SN)       6038                 3/6/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                      DKT 155; 1:02-cv-01616-JR;          15-cv-9903
288   Peter          Paul        Hashem (Estate of)            Rita A. Hashem                         United States    5/23/2003      P2924                               (GBD)(SN)       5092                 9/6/2019    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                      DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
289   Terence        Sean        Hatton                        Elizabeth Petrone Hatton               United States    11/22/2002     3404                                (GBD)(SN)       6042                 3/6/2020    $   2,000,000.00   $   22,430,705.00   $   24,430,705.00   $      73,292,115.00
                                                                                                                                      DKT HAND FILED; 1:03-cv-9849        15-cv-9903
290   Michael        Helmut      Haub                          Erika Ann Haub                         United States    3/10/2004      (RCC); P5084                        (GBD)(SN)       7188                 10/5/2021   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                      DKT HAND FILED; 1:03-cv-9849        15-cv-9903
291   James          Edward      Hayden (Estate of)            Elizabeth Gail Hayden                  United States    3/10/2004      (RCC); P5085                        (GBD)(SN)       5092                 9/6/2019    $   2,000,000.00   $   71,551,830.00   $   73,551,830.00   $    220,655,490.00
                                                                                                                                      DKT 305; 1:02-cv-01616-JR;          15-cv-9903
292   Robert         Jay         Hayes                         Debora Lynn Hayes                      United States     9/5/2003      P4317                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   14,810,662.00   $   16,810,662.00   $      50,431,986.00
                                                                                                                                      DKT 232; 1:02-cv-01616-JR;          15-cv-9903
293   Scott                      Hazelcorn                     Charles Hazelcorn                      United States     8/1/2003      P3715                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                      DKT 432; 1:02-cv-01616-JR;          15-cv-9903
294   Charles        F.X.        Heeran (Estate of)            Barbara Heeran; Bernard James Heeran   United States    12/19/2003     P4864                               (GBD)(SN)       8238                 7/19/2022   $   2,000,000.00   $   22,870,947.00   $   24,870,947.00   $      74,612,841.00
                                                                                                                                                                          15-cv-9903
295   Michele        M.          Heidenberger                  Thomas P. Heidenberger, Sr.            United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 712        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                      DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
296   Mark           Frederick   Hemschoot                     Debora Hemschoot                       United States    11/22/2002     3423                                (GBD)(SN)       6042                 3/6/2020    $   2,000,000.00   $    9,925,644.00   $   11,925,644.00   $      35,776,932.00
                                                                                                                                                                          15-cv-9903
297   Michelle       Marie       Henrique                      George Anthony Henrique                United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1218       (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   10,324,362.00   $   12,324,362.00   $      36,973,086.00
                                                                                                                                      DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
298   William        Leon        Henry                         Ethel M. Henry                         United States    11/22/2002     3431                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                          15-cv-9903
299   Robert         Allan       Hepburn                       Theresa Lynn Hepburn                   United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2632     (GBD)(SN)       6035                 3/6/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                          15-cv-9903
300   Claribel                   Hernandez                     Eslyn Hernandez, Sr.                   United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1232       (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   10,235,361.00   $   12,235,361.00   $      36,706,083.00




                                                                                                                                            Page 12 of 30
                                                                                      Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 13 of 30
EXHIBIT B-1                                                                                                                                                                         Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                                 U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                                 ECF Number of Prior
                                                                                                                                                                                                                                                                          Prior MDL Total




                                                                                                                                                                                                   MDL Judgment
                       9/11                                                                                                                                                                                                           Prior MDL          Prior MDL        Judgment to Be
           9/11                                                                                                 Nationality of                                                  Case Number of                          Date of




                                                         Suffix
                     Decedent's 9/11 Decedent's                                                                                Date Plaintiff      Docket Entry When First                                                          Judgment for       Judgment for          Applied As           Treble Damages
 #      Decedent's                                                       Personal Representative(s)                 9/11                                                          Prior MDL                            Prior MDL
                       Middle     Last Name                                                                                       Added              Added to Complaint                                                            Conscious Pain     Economic-Loss        Compensatory           Under the ATA
        First Name                                                                                                Decedent                                                        Judgment                             Judgment
                       Name                                                                                                                                                                                                         and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                              the ATA

                                                                                                                                                DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
301   Jeffrey        A.            Hersch                         Leslie Sue Hersch                             United States    11/22/2002     2036                              (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    5,620,902.00   $    7,620,902.00   $      22,862,706.00
                                                                                                                                                DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
302   Thomas         J.            Hetzel                         Diana Hetzel                                  United States    11/22/2002     2039                              (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    9,984,586.00   $   11,984,586.00   $      35,953,758.00
                                                                                                                                                DKT 232; 1:02-cv-01616-JR;        15-cv-9903
303   Robert         Wayne         Hobson                III      Cynthia Palmieri McNutt                       United States     8/1/2003      P3720                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   12,968,363.00   $   14,968,363.00   $      44,905,089.00
                                                                                                                                                DKT 155; 1:02-cv-01616-JR;        15-cv-9903
304   Ronald         George        Hoerner                        Barbara Ann Hoerner                           United States    5/23/2003      P2933                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    5,135,304.00   $    7,135,304.00   $      21,405,912.00
                                                                                                                                                                                  15-cv-9903
305   Patrick        Aloysius      Hoey                           Eileen T. Hoey                                United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 756      (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
306   Stephen        G.            Hoffman                        Gabrielle Hoffman                             United States    11/22/2002     2495                              (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   20,852,466.00   $   22,852,466.00   $      68,557,398.00
                                                                                                                                                                                  15-cv-9903
307   Frederick      Joseph        Hoffmann                       Gail Hoffmann                                 United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 280      (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   12,082,508.00   $   14,082,508.00   $      42,247,524.00
                                                                                                                                                                                  15-cv-9903
308   Michele        Lee           Hoffmann                       Gail Hoffmann                                 United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 283      (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                DKT 155; 1:02-cv-01616-JR;        15-cv-9903
309   Cora           Hidalgo       Holland (Estate of)            Stephen Kenyon Holland                        United States    5/23/2003      P2939                             (GBD)(SN)       5092                 9/6/2019    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                DKT 232; 1:02-cv-01616-JR;        15-cv-9903
310   Jimmie         Ira           Holley (Estate of)             Martha Rebecca Jackson-Holley                 United States     8/1/2003      P3722                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    5,215,090.00   $    7,215,090.00   $      21,645,270.00
                                                                                                                                                                                  15-cv-9903
311   Elizabeth                    Holmes (Estate of)             Vivian Byas                                   United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1246     (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                DKT 232; 1:02-cv-01616-JR;        15-cv-9903
312   James          P.            Hopper (Estate of)             Rita Hopper                                   United States     8/1/2003      P3726                             (GBD)(SN)       6035                 3/6/2020    $   2,000,000.00   $    5,540,872.00   $    7,540,872.00   $      22,622,616.00
                                                                                                                                                DKT 232; 1:02-cv-01616-JR;        15-cv-9903
313   Michael        Joseph        Horn                           Charles Howard Horn, Jr.                      United States     8/1/2003      P3728                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                DKT 232; 1:02-cv-01616-JR;        15-cv-9903
314   Matthew        D.            Horning                        Kurt Douglas Horning                          United States     8/1/2003      AP225                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   12,362,478.00   $   14,362,478.00   $      43,087,434.00
                                                                                                                                                DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
315   Robert         L.            Horohoe               Jr.      Patricia M. Horohoe; Robert L. Horohoe, Sr.   United States    11/22/2002     2062                              (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                DKT 313; 1:02-cv-01616-JR;        15-cv-9903
316   Michael        Robert        Horrocks                       Miriam Horrocks                               United States    9/10/2003      P4659                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                DKT 155; 1:02-cv-01616-JR;        15-cv-9903
317   Aaron                        Horwitz                        Elizabeth Ruth Horwitz; Allan Horwitz         United States    5/23/2003      P2943                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   22,822,922.00   $   24,822,922.00   $      74,468,766.00
                                                                                                                                                DKT 155; 1:02-cv-01616-JR;        15-cv-9903
318   Uhuru          Gonja         Houston                        Sonya M. Houston                              United States    5/23/2003      P2948                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   11,598,275.00   $   13,598,275.00   $      40,794,825.00
                                                                                                                                                DKT 232; 1:02-cv-01616-JR;        15-cv-9903
319   Angela         Marie         Houtz (Estate of)              Julia P. Shontere                             United States     8/1/2003      P3731                             (GBD)(SN)       5087                 9/6/2019    $   2,000,000.00   $   11,442,665.00   $   13,442,665.00   $      40,327,995.00
                                                                                                                                                DKT 232; 1:02-cv-01616-JR;        15-cv-9903
320   Stephen                      Huczko                Jr.      Kathleen Clare Mcguire                        United States     8/1/2003      P3733                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    8,502,298.00   $   10,502,298.00   $      31,506,894.00
                                                                                                                                                DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
321   Kris           Robert        Hughes                         Henry Robert Hughes                           United States    11/22/2002     2070                              (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   27,878,813.00   $   29,878,813.00   $      89,636,439.00
                                                                                                                                                DKT 305; 1:02-cv-01616-JR;        15-cv-9903
322   Paul           Rexford       Hughes                         Donna Sara Hughes                             United States     9/5/2003      P4333                             (GBD)(SN)       6042                 3/6/2020    $   2,000,000.00   $   10,723,091.00   $   12,723,091.00   $      38,169,273.00
                                                                                                                                                DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
323   Thomas         F.            Hughes                Jr.      Rosanne Hughes                                United States    11/22/2002     2076                              (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    7,993,751.00   $    9,993,751.00   $      29,981,253.00
                                                                                                                                                DKT 313; 1:02-cv-01616-JR;        15-cv-9903
324   Susan                        Huie                           Tennyson Huie                                 United States    9/10/2003      P4660                             (GBD)(SN)       7188                 10/5/2021   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                                  15-cv-9903
325   William        Christopher   Hunt                           Jennifer Woodward Hunt                        United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1252     (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   23,351,882.00   $   25,351,882.00   $      76,055,646.00




                                                                                                                                                      Page 13 of 30
                                                                              Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 14 of 30
EXHIBIT B-1                                                                                                                                                                      Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                                 U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                                 ECF Number of Prior
                                                                                                                                                                                                                                                                           Prior MDL Total




                                                                                                                                                                                                   MDL Judgment
                       9/11                                                                                                                                                                                                            Prior MDL          Prior MDL        Judgment to Be
           9/11                                                                                             Nationality of                                                  Case Number of                              Date of




                                                  Suffix
                     Decedent's 9/11 Decedent's                                                                            Date Plaintiff      Docket Entry When First                                                               Judgment for       Judgment for          Applied As           Treble Damages
 #      Decedent's                                                Personal Representative(s)                    9/11                                                          Prior MDL                                Prior MDL
                       Middle     Last Name                                                                                   Added              Added to Complaint                                                                 Conscious Pain     Economic-Loss        Compensatory           Under the ATA
        First Name                                                                                            Decedent                                                        Judgment                                 Judgment
                       Name                                                                                                                                                                                                          and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                               the ATA

                                                                                                                                                                               15-cv-9903
326   Robert         Joseph     Hymel                      Beatriz Hymel Lipinski                           United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 299       (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $    6,348,593.00   $    8,348,593.00   $      25,045,779.00
                                                                                                                                            DKT 26, 29; 1:02-cv-01616-JR;      15-cv-9903
327   Thomas         Edward     Hynes                      Carolyne Yacoub Hynes                            United States    11/22/2002     3485                               (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $   10,877,696.00   $   12,877,696.00   $      38,633,088.00
                                                                                                                                                                               15-cv-9903
328   Joseph         A.         Ianelli                    Joseph Ianelli                                   United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1255      (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $    9,829,223.00   $   11,829,223.00   $      35,487,669.00
                                                                                                                                            DKT 155; 1:02-cv-01616-JR;         15-cv-9903
329   Zuhtu                     Ibis                       Leyla Uyar                                       United States    5/23/2003      P2953                              (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $   14,022,116.00   $   16,022,116.00   $      48,066,348.00
                                                                                                                                                                               15-cv-9903
330   Michael        Patrick    Iken                       Monica Iken                                      United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 302       (GBD)(SN)          6042                  3/6/2020    $   2,000,000.00   $   13,746,254.00   $   15,746,254.00   $      47,238,762.00
                                                                                                                                                                               15-cv-9903
331   Christopher    Noble      Ingrassia                  Gloria Jean Ingrassia                            United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 305       (GBD)(SN)          6042                  3/6/2020    $   2,000,000.00   $   21,321,698.00   $   23,321,698.00   $      69,965,094.00
                                                                                                                                            DKT 26, 29; 1:02-cv-01616-JR;      15-cv-9903
332   Douglas        Jason      Irgang                     Steven D. Irgang                                 United States    11/22/2002     2084                               (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $   26,793,061.00   $   28,793,061.00   $      86,379,183.00
                                                                                                                                            DKT 305; 1:02-cv-01616-JR;         15-cv-9903
333   Erik           Hans       Isbrandtsen                Lauri T. Isbrandtsen                             United States     9/5/2003      P4335                              (GBD)(SN)          6042                  3/6/2020    $   2,000,000.00   $   20,361,416.00   $   22,361,416.00   $      67,084,248.00
                                                                                                                                            DKT432; 1:03-md-01570-GBD-         15-cv-9903
334   Waleed                    Iskandar                   May Marconet                                     United States    9/10/2004      SN; P5372                          (GBD)(SN)          8233                 7/19/2022    $   2,000,000.00   $   14,530,520.00   $   16,530,520.00   $      49,591,560.00
                                                                                                                                            DKT 602; 11:03-cv-01616-JR;        15-cv-9903
335   Jason          Kyle       Jacobs                     Jennifer Jael Jacobs-Deutsch                     United States     1/3/2005      AP99                               (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                            DKT 155; 1:02-cv-01616-JR;         15-cv-9903
336   Michael        Grady      Jacobs                     Peter Brady; Michael John Brady                  United States    5/23/2003      P2956; 57                          (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $    5,181,120.00   $    7,181,120.00   $      21,543,360.00
                                                                                                                                            DKT 432; 1:03-md-01570-GBD-        15-cv-9903
337   Steven         A.         Jacobson                   Rachel Bess Jacobson                             United States    9/10/2004      SN; P5375                          (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                            DKT 232; 1:02-cv-01616-JR;         15-cv-9903
338   Steven         Donald     Jacoby                     Kimberly Jacoby Dudgeon                          United States     8/1/2003      P3736                              (GBD)(SN)          7188                 10/5/2021    $   2,000,000.00   $   28,862,870.00   $   30,862,870.00   $      92,588,610.00
                                                                                                                                            DKT 232; 1:02-cv-01616-JR;         15-cv-9903
339   Jake           D.         Jagoda                     Anna May Jagoda; Louis John Jagoda               United States     8/1/2003      P4064; 4065                        (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $   11,095,466.00   $   13,095,466.00   $      39,286,398.00
                                                                                                                                            DKT 232; 1:02-cv-01616-JR;         15-cv-9903
340   Yudh           V.         Jain                       Sneh Jain                                        United States     8/1/2003      P3737                              (GBD)(SN)          7287                 10/25/2021   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                            DKT 155; 1:02-cv-01616-JR;         15-cv-9903
341   Robert         A.         Jalbert                    Catherine Jalbert Rothwell                       United States    5/23/2003      P2958                              (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $    4,723,452.00   $    6,723,452.00   $      20,170,356.00
                                                           Marilyn Ruth Trudeau; Aram Pothier Jarret,                                                                          15-cv-9903
342   Amy            Nicole     Jarret                     Jr.                                              United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1264      (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                            DKT 232; 1:02-cv-01616-JR;         15-cv-9903
343   Joseph                    Jenkins           Jr.      Jennifer Lynn Jenkins                            United States     8/1/2003      P3738                              (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $    4,728,870.00   $    6,728,870.00   $      20,186,610.00
                                                                                                                                                                               15-cv-9903
344   Prem           N.         Jerath                     Meena Jerath                                     United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 807       (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $    6,260,957.00   $    8,260,957.00   $      24,782,871.00
                                                                                                                                                                               15-cv-9903
345   Dennis         Michael    Johnson                    Joyce Linda Johnson                              United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 314       (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $    7,667,460.00   $    9,667,460.00   $      29,002,380.00
                                                                                                                                            DKT 155; 1:02-cv-01616-JR;         15-cv-9903
346   Charles        Edward     Jones                      Mary J. Jones                                    United States    5/23/2003      P2962                              (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $   11,649,055.00   $   13,649,055.00   $      40,947,165.00
                                                                                                                                            DKT 1; 1:02-cv-01616-JR; 317,      15-cv-9903
347   Jane           Eileen     Josiah                     Jennifer Eileen Josiah; Kelly Christine Satish   United States    8/15/2002      319                                (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $    5,798,403.00   $    7,798,403.00   $      23,395,209.00
                                                                                                                                            DKT HAND FILED; 1:03-cv-9849       15-cv-9903
348   Anthony                   Jovic                      Sentija Jovic                                    United States    3/10/2004      (RCC); P5107                       (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $   10,039,465.00   $   12,039,465.00   $      36,118,395.00
                                                                                                                                            DKT 26, 29; 1:02-cv-01616-JR;
349   Vincent        Dominick   Kane              Jr.      Elizabeth Kane Reich                             United States    11/22/2002     2101                            19-cv-44 (GBD)(SN)    5851                  2/5/2020    $   2,000,000.00   $    8,818,464.00   $   10,818,464.00   $      32,455,392.00
                                                                                                                                                                                15-cv-9903
350   Sheldon        Robert     Kanter                     Tamara Susan Kanter                              United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 840        (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $    6,683,235.00   $    8,683,235.00   $      26,049,705.00




                                                                                                                                                  Page 14 of 30
                                                                                    Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 15 of 30
EXHIBIT B-1                                                                                                                                                                      Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                              U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                              ECF Number of Prior
                                                                                                                                                                                                                                                                       Prior MDL Total




                                                                                                                                                                                                MDL Judgment
                      9/11                                                                                                                                                                                                         Prior MDL          Prior MDL        Judgment to Be
          9/11                                                                                             Nationality of                                                    Case Number of                          Date of




                                                    Suffix
                    Decedent's 9/11 Decedent's                                                                            Date Plaintiff      Docket Entry When First                                                            Judgment for       Judgment for          Applied As           Treble Damages
 #     Decedent's                                                    Personal Representative(s)                9/11                                                            Prior MDL                            Prior MDL
                      Middle     Last Name                                                                                   Added              Added to Complaint                                                              Conscious Pain     Economic-Loss        Compensatory           Under the ATA
       First Name                                                                                            Decedent                                                          Judgment                             Judgment
                      Name                                                                                                                                                                                                       and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                           the ATA

                                                                                                                                           DKT 305; 1:02-cv-01616-JR;          15-cv-9903
351   Robin         Lynne     Kaplan                         Francine Charlotte Kaplan                     United States     9/5/2003      P4347                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    9,409,286.00   $   11,409,286.00   $      34,227,858.00
                                                                                                                                           DKT 432; 1:03-md-01570-GBD-         15-cv-9903
352   William       A.        Karnes                         Brenda Rowena Vandever                        United States    9/10/2004      SN; P5379                           (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    7,517,012.00   $    9,517,012.00   $      28,551,036.00
                                                                                                                                           DKT HAND FILED; 1:03-cv-9849        15-cv-9903
353   Charles       Lewis     Kasper                         Laureen Kasper                                United States    3/10/2004      (RCC); P5108                        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    6,000,431.00   $    8,000,431.00   $      24,001,293.00
                                                                                                                                           DKT 232; 1:02-cv-01616-JR;          15-cv-9903
354   Edward        T.        Keane                          Barbara E. Keane                              United States     8/1/2003      P3739                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    2,820,405.00   $    4,820,405.00   $      14,461,215.00
                                                                                                                                           DKT 305; 1:02-cv-01616-JR;          15-cv-9903
355   Barbara       A.        Keating                        Michael Lawrence Keating                      United States     9/5/2003      P4360                               (GBD)(SN)       6042                 3/6/2020    $   2,000,000.00   $    2,059,334.00   $    4,059,334.00   $      12,178,002.00
                                                                                                                                           DKT 155; 1:02-cv-01616-JR;          15-cv-9903
356   Leo           Russell   Keene                 III      Kristen M. Keene                              United States    5/23/2003      P2965                               (GBD)(SN)       6042                 3/6/2020    $   2,000,000.00   $   22,708,764.00   $   24,708,764.00   $      74,126,292.00
                                                                                                                                           DKT 155; 1:02-cv-01616-JR;          15-cv-9903
357   William       Hill      Kelly (Estate of)     Jr.      JoAnne Marie Kelly; William Hill Kelly, Sr.   United States    5/23/2003      P2968; 69                           (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   10,237,508.00   $   12,237,508.00   $      36,712,524.00
                                                                                                                                           DKT 155; 1:02-cv-01616-JR;          15-cv-9903
358   John          Richard   Keohane                        Mary Ann Keohane; Donald Edward Keohane       United States    5/23/2003      P2971; 72                           (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   11,232,156.00   $   13,232,156.00   $      39,696,468.00
                                                                                                                                           DKT HAND FILED; 1:03-cv-9849        15-cv-9903
359   Ralph         Francis   Kershaw                        Hedi N. Kershaw                               United States    3/10/2004      (RCC); P5117                        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    5,300,016.00   $    7,300,016.00   $      21,900,048.00
                                                                                                                                           DKT 232; 1:02-cv-01616-JR;          15-cv-9903
360   Howard        L.        Kestenbaum                     Granvilette W. Kestenbaum                     United States     8/1/2003      P3747                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    6,117,366.00   $    8,117,366.00   $      24,352,098.00
                                                                                                                                                                               15-cv-9903
361   Sarah                   Khan                           Nazam Khan                                    United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 321        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    9,246,658.00   $   11,246,658.00   $      33,739,974.00
                                                                                                                                           DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
362   Taimour                 Khan                           Tahira Khan                                   United States    11/22/2002     3544                                (GBD)(SN)       6042                 3/6/2020    $   2,000,000.00   $   14,025,538.00   $   16,025,538.00   $      48,076,614.00
                                                                                                                                                                               15-cv-9903
363   Michael       Vernon    Kiefer                         Henry Francis Kiefer, Jr.                     United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2639     (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   12,955,659.00   $   14,955,659.00   $      44,866,977.00
                                                                                                                                           DKT 155; 1:02-cv-01616-JR;          15-cv-9903
364   Brian         Kevin     Kinney                         Alison Kinney Lewandowski                     United States    5/23/2003      P2974                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   13,517,688.00   $   15,517,688.00   $      46,553,064.00
                                                                                                                                           DKT 232; 1:02-cv-01616-JR;          15-cv-9903
365   Chris         M.        Kirby (Estate of)              James Michael Kirby, Jr.                      United States     8/1/2003      P3751                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   10,340,759.00   $   12,340,759.00   $      37,022,277.00
                                                                                                                                           DKT 305; 1:02-cv-01616-JR;          15-cv-9903
366   Howard        Barry     Kirschbaum                     Rochelle Sara Kirschbaum                      United States     9/5/2003      P4365                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    6,448,162.00   $    8,448,162.00   $      25,344,486.00
                                                                                                                                                                               15-cv-9903
367   Alan          David     Kleinberg                      Mindy S. Kleinberg                            United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 762        (GBD)(SN)       4126                 8/28/2018   $   2,000,000.00   $   51,711,383.00   $   53,711,383.00   $    161,134,149.00
                                                                                                                                                                               15-cv-9903
368   Thomas        Patrick   Knox                           Nancy Sadie Knox                              United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 328        (GBD)(SN)       6042                 3/6/2020    $   2,000,000.00   $   23,159,489.00   $   25,159,489.00   $      75,478,467.00
                                                                                                                                                                               15-cv-9903
369   Deborah                 Kobus                          Robert Kobus                                  United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1306       (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    8,472,505.00   $   10,472,505.00   $      31,417,515.00
                                                                                                                                                                               15-cv-9903
370   Ryan          Ashley    Kohart                         Geoffrey Adam Kohart, Sr.                     United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2645     (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   26,988,299.00   $   28,988,299.00   $      86,964,897.00
                                                                                                                                           DKT HAND FILED; 1:03-cv-9849        15-cv-9903
371   Suzanne                 Kondratenko                    Aimee Elizabeth Garrison                      United States    3/10/2004      (RCC); P5130                        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   16,315,910.00   $   18,315,910.00   $      54,947,730.00
                                                                                                                                           DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
372   Scott                   Kopytko (Estate of)            Joyce Mercer                                  United States    11/22/2002     3564                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    8,419,135.00   $   10,419,135.00   $      31,257,405.00
                                                             Zoe Pappas Kousoulis; George Panagiotes                                       DKT 232; 1:02-cv-01616-JR;          15-cv-9903
373   Danielle                Kousoulis                      Kousoulis                                     United States     8/1/2003      P3759                               (GBD)(SN)       6042                 3/6/2020    $   2,000,000.00   $   23,025,694.00   $   25,025,694.00   $      75,077,082.00
                                                                                                                                           DKT 305; 1:02-cv-01616-JR;          15-cv-9903
374   William       Edward    Krukowski                      Lisa Maria Inzerillo                          United States     9/5/2003      P4368                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    9,335,882.00   $   11,335,882.00   $      34,007,646.00
                                                                                                                                                                               15-cv-9903
375   Kenneth       B.        Kumpel (Estate of)             Nancy Ada Kumpel                              United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1313       (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    8,114,310.00   $   10,114,310.00   $      30,342,930.00




                                                                                                                                                 Page 15 of 30
                                                                                    Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 16 of 30
EXHIBIT B-1                                                                                                                                                                    Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                            U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                            ECF Number of Prior
                                                                                                                                                                                                                                                                     Prior MDL Total




                                                                                                                                                                                              MDL Judgment
                       9/11                                                                                                                                                                                                      Prior MDL          Prior MDL        Judgment to Be
           9/11                                                                                            Nationality of                                                  Case Number of                          Date of




                                                       Suffix
                     Decedent's 9/11 Decedent's                                                                           Date Plaintiff      Docket Entry When First                                                          Judgment for       Judgment for          Applied As           Treble Damages
 #      Decedent's                                                     Personal Representative(s)              9/11                                                          Prior MDL                            Prior MDL
                       Middle     Last Name                                                                                  Added              Added to Complaint                                                            Conscious Pain     Economic-Loss        Compensatory           Under the ATA
        First Name                                                                                           Decedent                                                        Judgment                             Judgment
                       Name                                                                                                                                                                                                    and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                         the ATA

                                                                                                                                           DKT 305; 1:02-cv-01616-JR;        15-cv-9903
376   Kathryn                     Laborie                       Eric Laborie                               United States     9/5/2003      P4365                             (GBD)(SN)       7188                 10/5/2021   $   2,000,000.00   $    7,101,925.00   $    9,101,925.00   $      27,305,775.00
                                                                                                                                           DKT 155; 1:02-cv-01616-JR;        15-cv-9903
377   Joseph         A.           LaFalce                       Dominick Vincent LaFalce, Jr.              United States    5/23/2003      P2982                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    4,052,486.00   $    6,052,486.00   $      18,157,458.00
                                                                                                                                           DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
378   Neil           Kwong-Wah Lai                              Hui Fen Pan                                United States    11/22/2002     3582                              (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    3,778,240.00   $    5,778,240.00   $      17,334,720.00
                                                                                                                                           DKT 232; 1:02-cv-01616-JR;        15-cv-9903
379   Franco                      Lalama                        Linda Lalama                               United States     8/1/2003      P3761                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    8,328,659.00   $   10,328,659.00   $      30,985,977.00
                                                                                                                                           DKT 232; 1:02-cv-01616-JR;        15-cv-9903
380   Chow           Kwan         Lam                           Amy Zhang Lam                              United States     8/1/2003      P3763                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                           DKT 305; 1:02-cv-01616-JR;        15-cv-9903
381   Brendan        Mark         Lang                          Sandra Jean Pangborn                       United States     9/5/2003      P4372                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   15,545,777.00   $   17,545,777.00   $      52,637,331.00
                                                                                                                                           DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
382   Michele        Bernadette   Lanza                         Robert Anthony Lanza, Jr.                  United States    11/22/2002     2461                              (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    9,143,037.00   $   11,143,037.00   $      33,429,111.00
                                  Larocque (Estate                                                                                         DKT 305; 1:02-cv-01616-JR;        15-cv-9903
383   Judith         Camilla      of)                           Danielle Bette Lemack; Carie Anne Lemack   United States     9/5/2003      P4373, P4374                      (GBD)(SN)       5092                 9/6/2019    $   2,000,000.00   $    8,806,871.00   $   10,806,871.00   $      32,420,613.00
                                                                                                                                           DKT 232; 1:02-cv-01616-JR;        15-cv-9903
384   Christopher    R.           Larrabee                      Stephen Randall Larrabee                   United States     8/1/2003      P3769                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   21,435,517.00   $   23,435,517.00   $      70,306,551.00
                                                                                                                                           DKT 305; 1:02-cv-01616-JR;        15-cv-9903
385   Natalie        Janis        Lasden (Estate of)            Linda Sue LeBlanc                          United States     9/5/2003      P4375                             (GBD)(SN)       5092                 9/6/2019    $   2,000,000.00   $    8,105,310.00   $   10,105,310.00   $      30,315,930.00
                                                                                                                                           DKT 155; 1:02-cv-01616-JR;        15-cv-9903
386   Paul                        Laszczynski                   Amy Melissa Laszczynski                    United States    5/23/2003      P2984                             (GBD)(SN)       6037                 3/6/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                           DKT 155; 1:02-cv-01616-JR;        15-cv-9903
387   Maria                       LaVache                       Mary Jane LaVache                          United States    5/23/2003      P2989                             (GBD)(SN)       8233                 7/19/2022   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                             15-cv-9903
388   Jeannine                    LaVerde                       Dolores Mary LaVerde                       United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1324     (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   10,027,475.00   $   12,027,475.00   $      36,082,425.00
                                                                                                                                           DKT 305; 1:02-cv-01616-JR;        15-cv-9903
389   Anna           A.           Laverty                       Deena Laverty-Castineira                   United States     9/5/2003      P4378                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                             15-cv-9903
390   Robert         A.           Lawrence             Jr.      Suzanne Burns Lawrence                     United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1327     (GBD)(SN)       6044                 3/6/2020    $   2,000,000.00   $   22,036,970.00   $   24,036,970.00   $      72,110,910.00
                                                                                                                                           DKT 313; 1:02-cv-01616-JR;        15-cv-9903
391   David          William      Laychak                       Laurie Miller Laychak                      United States    9/10/2003      P4683                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   10,016,485.00   $   12,016,485.00   $      36,049,455.00
                                                                                                                                                                             15-cv-9903
392   Neil           J.           Leavy                         Ann I. Leavy                               United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1335     (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    8,620,463.00   $   10,620,463.00   $      31,861,389.00
                                                                                                                                           DKT 432; 1:02-cv-01616-JR;        15-cv-9903
393   Daniel         John         Lee                           Kellie Lee                                 United States    12/19/2003     AP289                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                           DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
394   David          S.           Lee                           Angela F. Lee                              United States    11/22/2002     4802                              (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                           DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
395   Linda          C.           Lee                           Myong H. Lee                               United States    11/22/2002     3619                              (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    9,372,311.00   $   11,372,311.00   $      34,116,933.00
                                                                                                                                           DKT 232; 1:02-cv-01616-JR;        15-cv-9903
396   David          Prudencio    Lemagne                       Magaly Jane Lemagne                        United States     8/1/2003      P3771                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   12,849,717.00   $   14,849,717.00   $      44,549,151.00
                                                                                                                                           DKT 155; 1:02-cv-01616-JR;        15-cv-9903
397   John           D.           Levi                          Jennifer Ann Levi; Dennis J. Levi          United States    5/23/2003      P2997; 98                         (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    7,193,228.00   $    9,193,228.00   $      27,579,684.00
                                                                                                                                           DKT HAND FILED; 1:03-cv-9849      15-cv-9903
398   Daniel         F.           Libretti                      Dolores Marie Libretti                     United States    3/10/2004      (RCC); P5148                      (GBD)(SN)       6035                 3/6/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                             15-cv-9903
399   Edward                      Lichtschein                   Mark Irving Lichtschein                    United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1775     (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    9,719,470.00   $   11,719,470.00   $      35,158,410.00
                                                                                                                                           DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
400   Craig          Damian       Lilore                        Caroline Lilore                            United States    11/22/2002     3639                              (GBD)(SN)       6042                 3/6/2020    $   2,000,000.00   $   24,114,858.00   $   26,114,858.00   $      78,344,574.00




                                                                                                                                                 Page 16 of 30
                                                                                     Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 17 of 30
EXHIBIT B-1                                                                                                                                                              Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                         U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                         ECF Number of Prior
                                                                                                                                                                                                                                                                  Prior MDL Total




                                                                                                                                                                                           MDL Judgment
                       9/11                                                                                                                                                                                                   Prior MDL          Prior MDL        Judgment to Be
           9/11                                                                                     Nationality of                                                  Case Number of                              Date of




                                                      Suffix
                     Decedent's 9/11 Decedent's                                                                    Date Plaintiff      Docket Entry When First                                                              Judgment for       Judgment for          Applied As           Treble Damages
 #      Decedent's                                                    Personal Representative(s)        9/11                                                          Prior MDL                                Prior MDL
                       Middle     Last Name                                                                           Added              Added to Complaint                                                                Conscious Pain     Economic-Loss        Compensatory           Under the ATA
        First Name                                                                                    Decedent                                                        Judgment                                 Judgment
                       Name                                                                                                                                                                                                 and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                      the ATA

                                                                                                                                    DKT 26, 29; 1:02-cv-01616-JR;      15-cv-9903
401   Thomas         V.          Linehan              Jr.      Carol Ann Linehan                    United States    11/22/2002     3642                               (GBD)(SN)          5975                 2/18/2020   $   2,000,000.00   $   17,273,621.00   $   19,273,621.00   $      57,820,863.00
                                                                                                                                    DKT 155; 1:02-cv-01616-JR;         15-cv-9903
402   Alan           Patrick     Linton               Jr.      Alan Patrick Linton                  United States    5/23/2003      P3000                              (GBD)(SN)          5975                 2/18/2020   $   2,000,000.00   $   13,029,421.00   $   15,029,421.00   $      45,088,263.00
                                                                                                                                    DKT HAND FILED; 1:03-cv-9849       15-cv-9903
403   Francisco      Alberto     Liriano                       Seelochini Liriano                   United States    3/10/2004      (RCC); P5153                       (GBD)(SN)          5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                    DKT 305; 1:02-cv-01616-JR;         15-cv-9903
404   Ming-Hao                   Liu                           Jiun-Min H. Liu                      United States     9/5/2003      P4387                              (GBD)(SN)          5975                 2/18/2020   $   2,000,000.00   $    8,551,783.00   $   10,551,783.00   $      31,655,349.00
                                                                                                                                    DKT 232; 1:02-cv-01616-JR;         15-cv-9903
405   Catherine      Lisa        LoGuidice                     Catherine Masak; Carmelo LoGuidice   United States     8/1/2003      P3793                              (GBD)(SN)          5975                 2/18/2020   $   2,000,000.00   $   11,661,500.00   $   13,661,500.00   $      40,984,500.00
                                                                                                                                    DKT 26, 29; 1:02-cv-01616-JR;
406   Stephen        V.          Long                          Tina Roberson Yarrow                 United States    11/22/2002     2463                            19-cv-44 (GBD)(SN)    5851                 2/5/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                    DKT 232; 1:02-cv-01616-JR;          15-cv-9903
407   Laura          M.          Longing                       Christopher Longing                  United States     8/1/2003      P3794                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   11,362,506.00   $   13,362,506.00   $      40,087,518.00
                                                                                                                                    DKT 313; 1:02-cv-01616-JR;          15-cv-9903
408   Daniel                     Lopez                         Elizabeth Davila-Lopez               United States    9/10/2003      P4689                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                    DKT HAND FILED; 1:03-cv-9849        15-cv-9903
409   Maclovio                   Lopez (Estate of)    Jr.      Rhonda Lyn Lopez-Manley              United States    3/10/2004      (RCC); P5154                        (GBD)(SN)         5092                 9/6/2019    $   2,000,000.00   $    8,560,063.00   $   10,560,063.00   $      31,680,189.00
                                                                                                                                                                        15-cv-9903
410   Joseph                     Lovero                        James Lovero                         United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1370       (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                        15-cv-9903
411   Sara           Elizabeth   Low (Estate of)               Gary Michael Low                     United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 349        (GBD)(SN)         6042                 3/6/2020    $   2,000,000.00   $    8,316,216.00   $   10,316,216.00   $      30,948,648.00
                                                                                                                                                                        15-cv-9903
412   Lee            Charles     Ludwig (Estate of)            Michelle Ludwig                      United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1377       (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    6,387,334.00   $    8,387,334.00   $      25,162,002.00
                                                                                                                                    DKT 26, 29: 1:02-cv-01616-JR;       15-cv-9903
413   Sean           Thomas      Lugano (Estate of)            Eileen Duffell Lugano                United States    11/22/2002     3665                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                    DKT 232; 1:02-cv-01616-JR;          15-cv-9903
414   Anthony                    Luparello                     Geraldine Luparello                  United States     8/1/2003      P3801                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    3,074,949.00   $    5,074,949.00   $      15,224,847.00
                                                                                                                                    DKT 232; 1:02-cv-01616-JR;          15-cv-9903
415   Gary           Frederick   Lutnick              III      Howard William Lutnick               United States     8/1/2003      P3803                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   81,319,151.00   $   83,319,151.00   $    249,957,453.00
                                                                                                                                                                        15-cv-9903
416   Linda          Anne        Luzzicone                     Ralph Luzzicone                      United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 353        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   18,982,926.00   $   20,982,926.00   $      62,948,778.00
                                                                                                                                    DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
417   Alexander                  Lygin                         Valentina Lygina; Vladimir Lygin     United States    11/22/2002     2136                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   11,213,629.00   $   13,213,629.00   $      39,640,887.00
                                                                                                                                    DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
418   CeeCee         Louise      Lyles                         Lorne Von Lyles                      United States    11/22/2002     2145                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    9,204,988.00   $   11,204,988.00   $      33,614,964.00
                                                                                                                                                                        15-cv-9903
419   Michael        Francis     Lynch                         John Brendan Lynch, Sr.              United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1384       (GBD)(SN)         6042                 3/6/2020    $   2,000,000.00   $   10,685,248.00   $   12,685,248.00   $      38,055,744.00
                                                                                                                                    DKT 305; 1:02-cv-01616-JR;          15-cv-9903
420   Michael        Francis     Lynch                         Denise Lynch                         United States     9/5/2003      P4392                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   10,566,545.00   $   12,566,545.00   $      37,699,635.00
                                                                                                                                    DKT 232; 1:02-cv-01616-JR;          15-cv-9903
421   Sean           Patrick     Lynch                         Michael John Lynch                   United States     8/1/2003      P3807                               (GBD)(SN)         6042                 3/6/2020    $   2,000,000.00   $   41,824,679.00   $   43,824,679.00   $    131,474,037.00
                                                                                                                                    DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
422   Patrick        John        Lyons                         Irene Sofia Lyons-Loeffler           United States    11/22/2002     3682                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   10,177,090.00   $   12,177,090.00   $      36,531,270.00
                                                                                                                                    DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
423   Richard        B.          Madden                        Maura Madden Lezynski                United States    11/22/2002     3695                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                    DKT 432; 1:02-cv-01616-JR;          15-cv-9903
424   Noell          Charles     Maerz                         Jennifer Lyn Maerz                   United States    12/19/2003     P4887                               (GBD)(SN)         6042                 3/6/2020    $   2,000,000.00   $   18,673,718.00   $   20,673,718.00   $      62,021,154.00
                                                                                                                                                                        15-cv-9903
425   Joseph                     Maffeo                        Linda Louise Maffeo-Melloy           United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1392       (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   10,655,445.00   $   12,655,445.00   $      37,966,335.00




                                                                                                                                          Page 17 of 30
                                                                                  Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 18 of 30
EXHIBIT B-1                                                                                                                                                                         Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                                    U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                                    ECF Number of Prior
                                                                                                                                                                                                                                                                             Prior MDL Total




                                                                                                                                                                                                      MDL Judgment
                       9/11                                                                                                                                                                                                              Prior MDL          Prior MDL        Judgment to Be
           9/11                                                                                               Nationality of                                                   Case Number of                              Date of




                                                      Suffix
                     Decedent's 9/11 Decedent's                                                                              Date Plaintiff      Docket Entry When First                                                               Judgment for       Judgment for          Applied As           Treble Damages
 #      Decedent's                                                    Personal Representative(s)                  9/11                                                           Prior MDL                                Prior MDL
                       Middle     Last Name                                                                                     Added              Added to Complaint                                                                 Conscious Pain     Economic-Loss        Compensatory           Under the ATA
        First Name                                                                                              Decedent                                                         Judgment                                 Judgment
                       Name                                                                                                                                                                                                            and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                                 the ATA

                                                                                                                                              DKT 305; 1:02-cv-01616-JR;          15-cv-9903
426   Thomas         A.          Mahon                         Beth A. Mahon                                  United States     9/5/2003      P4396                               (GBD)(SN)          5975                 2/18/2020   $   2,000,000.00   $   12,407,510.00   $   14,407,510.00   $      43,222,530.00
                                                                                                                                              DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
427   William        James       Mahoney              Jr.      Donna Celeste Mahoney                          United States    11/22/2002     3705                                (GBD)(SN)          5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                                  15-cv-9903
428   Alfred         Russell     Maler                         Laura A. Maler                                 United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1829       (GBD)(SN)          7188                 10/5/2021   $   2,000,000.00   $   13,024,304.00   $   15,024,304.00   $      45,072,912.00
                                                                                                                                              DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
429   Joseph                     Mangano                       Kathleen Mangano                               United States    11/22/2002     3720                                (GBD)(SN)          6042                 3/6/2020    $   2,000,000.00   $    5,749,696.00   $    7,749,696.00   $      23,249,088.00
                                                                                                                                              DKT 232; 1:02-cv-01616-JR;          15-cv-9903
430   Sara           Elizabeth   Manley                        Robert William Harvey                          United States     8/1/2003      P3818                               (GBD)(SN)          5975                 2/18/2020   $   2,000,000.00   $   28,399,894.00   $   30,399,894.00   $      91,199,682.00
                                                                                                                                              DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
431   Hildegard      Marie       Marcin (Estate of)            Carole M. O'Hare                               United States    11/22/2002     3727                                (GBD)(SN)          5092                 9/6/2019    $   2,000,000.00   $    1,339,687.00   $    3,339,687.00   $      10,019,061.00

432   Charles        Joseph      Margiotta                     Norma I. Margiotta                             United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 363     19-cv-41 (GBD)(SN)    5918                 2/12/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                              DKT 26, 29; 1:02-cv-01616-JR;        15-cv-9903
433   Kenneth        Joseph      Marino                        Katrina Margit Marino                          United States    11/22/2002     3733                                 (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    9,345,068.00   $   11,345,068.00   $      34,035,204.00
                                                                                                                                                                                   15-cv-9903
434   Vita                       Marino                        Jonathan Karel Dodge                           United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 887         (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   23,337,541.00   $   25,337,541.00   $      76,012,623.00
                                                                                                                                              DKT 26, 29; 1:02-cv-01616-JR;        15-cv-9903
435   Kevin          D.          Marlo                         Dennis S. Marlo                                United States    11/22/2002     3738                                 (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                              DKT 232; 1:02-cv-01616-JR;           15-cv-9903
436   Shelley        A.          Marshall                      Donn E. Marshall                               United States     8/1/2003      P3819                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   11,689,608.00   $   13,689,608.00   $      41,068,824.00
                                                                                                                                              DKT 305; 1:02-cv-01616-JR;           15-cv-9903
437   Jose           Angel       Martinez             Jr.      Aida Martinez                                  United States     9/5/2003      AP247                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    7,107,431.00   $    9,107,431.00   $      27,322,293.00
                                                                                                                                              DKT 26, 29; 1:02-cv-01616-JR;        15-cv-9903
438   Paul           Richard     Martini                       Lisa Martini                                   United States    11/22/2002     3751                                 (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   11,078,427.00   $   13,078,427.00   $      39,235,281.00
                                                               Mildred Martino; Patricia Nilsen; Anthony                                      DKT 3; 1:02-cv-01616-JR; 1419,       15-cv-9903
439   Anne           Marie       Martino-Cramer                Demitrio Martino                               United States     9/4/2002      1422                                 (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    7,266,198.00   $    9,266,198.00   $      27,798,594.00
                                                                                                                                                                                   15-cv-9903
440   Michael                    Massaroli                     Diane Massaroli                                United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 369         (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   20,429,320.00   $   22,429,320.00   $      67,287,960.00
                                                                                                                                                                                   15-cv-9903
441   Philip         William     Mastrandrea          Jr.      Karen Elizabeth Mastrandrea                    United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 373         (GBD)(SN)         7188                 10/5/2021   $   2,000,000.00   $   19,720,002.00   $   21,720,002.00   $      65,160,006.00
                                                                                                                                              DKT 305; 1:02-cv-01616-JR;           15-cv-9903
442   Joseph                     Mathai                        Teresa Mathai                                  United States     9/5/2003      P4408                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   13,810,579.00   $   15,810,579.00   $      47,431,737.00
                                                                                                                                                                                   15-cv-9903
443   Charles        W.          Mathers                       Margaret Louisa Mathers                        United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1425        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    6,838,233.00   $    8,838,233.00   $      26,514,699.00
                                                                                                                                                                                   15-cv-9903
444   Robert         D.          Mattson                       Elizabeth A. Mattson                           United States     9/4/2002      DKT 3; 1:02-cv-01616-JR;             (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    7,933,972.00   $    9,933,972.00   $      29,801,916.00
                                                                                                                                                                                   15-cv-9903
445   Renee          A.          May                           Ronald Francis May                             United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 376         (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    7,074,738.00   $    9,074,738.00   $      27,224,214.00
                                 Mazzella (Estate              Frank Catrini; Susan M. Brannigan; Catherine                                   DKT 232; 1:02-cv-01616-JR;           15-cv-9903
446   Edward                     of)                  Jr.      Mazzella; Michael T. Mazzella                  United States     8/1/2003      P3822                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                              DKT 232; 1:02-cv-01616-JR;           15-cv-9903
447   Jennifer       Lynn        Mazzotta                      Catherine Eleanor Mazzotta                     United States     8/1/2003      P4071                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   24,130,406.00   $   26,130,406.00   $      78,391,218.00
                                                                                                                                                                                   15-cv-9903
448   Kaaria         William     Mbaya                         Vertistine Beaman Mbaya                        United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1433        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    8,546,231.00   $   10,546,231.00   $      31,638,693.00
                                 McAneney (Estate                                                                                             DKT 26, 29; 1:02-cv-01616-JR;        15-cv-9903
449   Patricia       A.          of)                           James McAneney                                 United States    11/22/2002     3776                                 (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    5,311,431.00   $    7,311,431.00   $      21,934,293.00
                                                                                                                                              DKT 26, 29; 1:02-cv-01616-JR;        15-cv-9903
450   John           K.          McAvoy                        Paula M. McAvoy                                United States    11/22/2002     3782                                 (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00




                                                                                                                                                    Page 18 of 30
                                                                                Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 19 of 30
EXHIBIT B-1                                                                                                                                                           Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                      U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                      ECF Number of Prior
                                                                                                                                                                                                                                                                Prior MDL Total




                                                                                                                                                                                        MDL Judgment
                       9/11                                                                                                                                                                                                 Prior MDL          Prior MDL        Judgment to Be
           9/11                                                                                  Nationality of                                                  Case Number of                              Date of




                                                    Suffix
                     Decedent's 9/11 Decedent's                                                                 Date Plaintiff      Docket Entry When First                                                               Judgment for       Judgment for          Applied As           Treble Damages
 #      Decedent's                                                  Personal Representative(s)       9/11                                                          Prior MDL                                Prior MDL
                       Middle     Last Name                                                                        Added              Added to Complaint                                                                 Conscious Pain     Economic-Loss        Compensatory           Under the ATA
        First Name                                                                                 Decedent                                                        Judgment                                 Judgment
                       Name                                                                                                                                                                                               and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                    the ATA

                                                                                                                                 DKT 232; 1:02-cv-01616-JR;          15-cv-9903
451   Kenneth        M.        McBrayer                      Marsha K. McBrayer                  United States     8/1/2003      P3823                               (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                 DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
452   Thomas         J.        McCann                        Anne Marie McCann                   United States    11/22/2002     2168                                (GBD)(SN)         6035                  3/6/2020    $   2,000,000.00   $    8,068,200.00   $   10,068,200.00   $      30,204,600.00
                               McDonald (Estate                                                                                  DKT 432; 1:02-cv-01616-JR;          15-cv-9903
453   Joseph         Paul      of)                           Denise Eileen McDonald              United States    12/19/2003     AP290                               (GBD)(SN)         7287                 10/25/2021   $   2,000,000.00   $   17,401,340.00   $   19,401,340.00   $      58,204,020.00
                                                                                                                                                                     15-cv-9903
454   Brian          Grady     McDonnell                     Margaret McDonnell-Tiberio          United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 385        (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                 DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
455   Michael        Patrick   McDonnell                     Cheryl Ann McDonnell                United States    11/22/2002     3818                                (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $   19,441,331.00   $   21,441,331.00   $      64,323,993.00
                                                                                                                                 DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
456   Mark           Ryan      McGinly                       William Cornelius McGinly, III      United States    11/22/2002     3833                                (GBD)(SN)         8238                 7/19/2022    $   2,000,000.00   $   17,918,175.00   $   19,918,175.00   $      59,754,525.00
                                                                                                                                 DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
457   William        Joseph    McGovern                      Mary Sue McGovern                   United States    11/22/2002     2171                                (GBD)(SN)         7188                 10/5/2021    $   2,000,000.00   $    7,593,316.00   $    9,593,316.00   $      28,779,948.00
                                                                                                                                                                     15-cv-9903
458   Keith          David     McHeffey                      Sherry Lynn McHeffey                United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1821       (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $   19,782,334.00   $   21,782,334.00   $      65,347,002.00

459   Denis          J.        McHugh               III      Bernadette Marie McHugh Torres      United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 865    19-cv-41 (GBD)(SN)    5918                 2/12/2020    $   2,000,000.00   $   13,992,884.00   $   15,992,884.00   $      47,978,652.00
                                                                                                                                 DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
460   Stephanie      Marie     McKenna                       Patricia McKenna                    United States    11/22/2002     2174                                (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $    6,618,878.00   $    8,618,878.00   $      25,856,634.00
                                                                                                                                 DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
461   Daniel         Walker    McNeal                        Kathryn Walker McNeal               United States    11/22/2002     3874                                (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $   20,351,861.00   $   22,351,861.00   $      67,055,583.00
                                                                                                                                                                     15-cv-9903
462   Robert         W.        McPadden                      Katherine M. Richardson             United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2665     (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $   11,293,016.00   $   13,293,016.00   $      39,879,048.00
                                                                                                                                 DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
463   Martin         Edward    McWilliams                    Lisa Corinne Goldberg-McWilliams    United States    11/22/2002     4785                                (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $    9,809,385.00   $   11,809,385.00   $      35,428,155.00
                                                                                                                                 DKT 432; 1:02-cv-01616-JR;          15-cv-9903
464   Abigail        Cales     Medina                        Eli Medina                          United States    12/19/2003     P4890                               (GBD)(SN)         6034                  3/6/2020    $   2,000,000.00   $    6,882,757.00   $    8,882,757.00   $      26,648,271.00
                                                                                                                                 DKT 232; 1:02-cv-01616-JR;          15-cv-9903
465   Deborah                  Medwig                        Michael Tavolarella                 United States     8/1/2003      P3836                               (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $    9,935,337.00   $   11,935,337.00   $      35,806,011.00
                                                                                                                                 DKT 232; 1:02-cv-01616-JR;          15-cv-9903
466   William        J.        Meehan               Jr.      Maureen E. Meehan                   United States     8/1/2003      P3838                               (GBD)(SN)         7188                 10/5/2021    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                 DKT 432; 1:03-md-01570-GBD-         15-cv-9903
467   Alok           K.        Mehta                         Gopal Krishna Mehta                 United States    9/10/2004      SN; P5404                           (GBD)(SN)         6042                  3/6/2020    $   2,000,000.00   $   24,420,637.00   $   26,420,637.00   $      79,261,911.00
                                                                                                                                 DKT HAND FILED; 1:03-cv-9849        15-cv-9903
468   Raymond                  Meisenheimer                  Joanne Meisenheimer                 United States    3/10/2004      (RCC); P5178                        (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $    8,402,289.00   $   10,402,289.00   $      31,206,867.00
                                                                                                                                 DKT 305; 1:02-cv-01616-JR;          15-cv-9903
469   Stuart         Todd      Meltzer                       Lisa Meltzer                        United States     9/5/2003      P4432                               (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                 DKT 305; 1:02-cv-01616-JR;          15-cv-9903
470   Diarelia       J.        Mena                          Victor Barahona                     United States     9/5/2003      P4433                               (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                               Menchaca (Estate                                                                                  DKT 305; 1:02-cv-01616-JR;          15-cv-9903
471   Dora           Marie     of)                           Earl Alexander Dorsey               United States     9/5/2003      P4434                               (GBD)(SN)         5092                  9/6/2019    $   2,000,000.00   $   24,826,086.00   $   26,826,086.00   $      80,478,258.00
                                                                                                                                 DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
472   Charles                  Mendez (Estate of)            Kerri Ann Mendez                    United States    11/22/2002     3884                                (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $    9,924,604.00   $   11,924,604.00   $      35,773,812.00
                                                                                                                                 DKT 232; 1:02-cv-01616-JR;          15-cv-9903
473   Ralph                    Mercurio                      Debra Mercurio                      United States     8/1/2003      P4074                               (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $    8,194,001.00   $   10,194,001.00   $      30,582,003.00
                                                                                                                                 DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
474   Gregory                  Milanowycz                    Joseph Michael Milanowycz           United States    11/22/2002     3899                                (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $    9,714,138.00   $   11,714,138.00   $      35,142,414.00
                                                                                                                                 DKT 432; 1:03-md-01570-GBD-         15-cv-9903
475   Craig          James     Miller                        Holly Ann Miller Hedley             United States    9/10/2004      SN; P5406                           (GBD)(SN)         5975                 2/18/2020    $   2,000,000.00   $   10,917,420.00   $   12,917,420.00   $      38,752,260.00




                                                                                                                                       Page 19 of 30
                                                                                Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 20 of 30
EXHIBIT B-1                                                                                                                                                                      Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                                 U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                                 ECF Number of Prior
                                                                                                                                                                                                                                                                          Prior MDL Total




                                                                                                                                                                                                   MDL Judgment
                      9/11                                                                                                                                                                                                            Prior MDL          Prior MDL        Judgment to Be
          9/11                                                                                              Nationality of                                                  Case Number of                              Date of




                                                   Suffix
                    Decedent's 9/11 Decedent's                                                                             Date Plaintiff      Docket Entry When First                                                              Judgment for       Judgment for          Applied As           Treble Damages
 #     Decedent's                                                  Personal Representative(s)                   9/11                                                          Prior MDL                                Prior MDL
                      Middle     Last Name                                                                                    Added              Added to Complaint                                                                Conscious Pain     Economic-Loss        Compensatory           Under the ATA
       First Name                                                                                             Decedent                                                        Judgment                                 Judgment
                      Name                                                                                                                                                                                                          and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                              the ATA

                                                                                                                                            DKT 26, 29; 1:02-cv-01616-JR;      15-cv-9903
476   Nicole        Carol     Miller (Estate of)            Catherine Marie Stefani; David James Miller     United States    11/22/2002     3907                               (GBD)(SN)          5092                 9/6/2019    $   2,000,000.00   $    9,533,237.00   $   11,533,237.00   $      34,599,711.00
                                                                                                                                            DKT 26, 29; 1:02-cv-01616-JR;      15-cv-9903
477   Robert        C.        Miller (Estate of)   Jr.      Mitoko Miller                                   United States    11/22/2002     3915                               (GBD)(SN)          6035                 3/6/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                            DKT 26, 29; 1:02-cv-01616-JR;      15-cv-9903
478   Robert                  Minara                        Christian Minara; Ryan Paul Minara              United States    11/22/2002     3920                               (GBD)(SN)          5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                               15-cv-9903
479   Paul          T.        Mitchell                      Maureen Frances Mitchell                        United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 390       (GBD)(SN)          5975                 2/18/2020   $   2,000,000.00   $    8,647,938.00   $   10,647,938.00   $      31,943,814.00
                                                                                                                                                                               15-cv-9903
480   Richard       P.        Miuccio                       Joyce Miuccio                                   United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 394       (GBD)(SN)          6042                 3/6/2020    $   2,000,000.00   $    4,854,447.00   $    6,854,447.00   $      20,563,341.00

481   Carl          Eugene    Molinaro                      Donna Molinaro                                  United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 897    19-cv-41 (GBD)(SN)    5918                 2/12/2020   $   2,000,000.00   $   10,488,953.00   $   12,488,953.00   $      37,466,859.00
                                                                                                                                            DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
482   Justin        John      Molisani             Jr.      Jodi Ann Molisani                               United States    11/22/2002     3936                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   45,741,374.00   $   47,741,374.00   $    143,224,122.00
                                                                                                                                            DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
483   Brian         Patrick   Monaghan                      Bernard J. Monaghan                             United States    11/22/2002     2196                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   11,313,212.00   $   13,313,212.00   $      39,939,636.00
                                                                                                                                            DKT 432; 1:02-cv-01616-JR;          15-cv-9903
484   Cheryl        Ann       Monyak                        Michael Joseph Monyak                           United States    12/19/2003     P4893                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    9,266,180.00   $   11,266,180.00   $      33,798,540.00
                                                                                                                                                                                15-cv-9903
485   Lindsay       S.        Morehouse                     Kathleen Stapleton Maycen                       United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 405        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   26,632,407.00   $   28,632,407.00   $      85,897,221.00
                                                                                                                                                                                15-cv-9903
486   Dorothy       R.        Morgan                        Nykiah Noelle Morgan                            United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1471       (GBD)(SN)         6034                 3/6/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                            Patricia Marie Morris; Harold Charles Morris,                                   DKT 232; 1:02-cv-01616-JR;          15-cv-9903
487   Lynne         Irene     Morris                        Jr.                                             United States     8/1/2003      P3856; 57                           (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   24,166,646.00   $   26,166,646.00   $      78,499,938.00
                                                                                                                                                                                15-cv-9903
488   William       David     Moskal                        Lorraine Moskal                                 United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 408        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                            DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
489   Peter         C.        Moutos                        Mary M. Belding                                 United States    11/22/2002     4799                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                            DKT 26, 29; 1:02-cv-01616-JR;
490   Christopher   Michael   Mozzillo                      Michael Mozzillo                                United States    11/22/2002     2204                            19-cv-41 (GBD)(SN)    5918                 2/12/2020   $   2,000,000.00   $   11,213,937.00   $   13,213,937.00   $      39,641,811.00
                                                                                                                                            DKT HAND FILED; 1:03-cv-9849        15-cv-9903
491   Richard                 Muldowney                     Constance Muldowney                             United States    3/10/2004      (RCC); P5199                        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    8,656,263.00   $   10,656,263.00   $      31,968,789.00
                                                                                                                                                                                15-cv-9903
492   Peter         James     Mulligan                      Sara Kavanagh Mulligan Wightman                 United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 409        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   23,648,106.00   $   25,648,106.00   $      76,944,318.00
                                                                                                                                            DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
493   Michael       Joseph    Mullin                        Lynn Anne Mullin                                United States    11/22/2002     3978                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   21,259,503.00   $   23,259,503.00   $      69,778,509.00
                                                                                                                                            DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
494   James         Donald    Munhall                       Susan King Munhall                              United States    11/22/2002     2208                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   12,249,622.00   $   14,249,622.00   $      42,748,866.00
                                                                                                                                                                                15-cv-9903
495   Carlos                  Munoz                         Maritza Arzayus                                 United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1484       (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    7,404,903.00   $    9,404,903.00   $      28,214,709.00
                                                                                                                                            DKT HAND FILED; 1:03-cv-9849
496   Theresa       Ann       Munson                        Christine M. Munson                             United States    3/10/2004      (RCC); P5201                    19-cv-41 (GBD)(SN)    8235                 7/19/2022   $   2,000,000.00   $    5,038,009.00   $    7,038,009.00   $      21,114,027.00
                                                                                                                                            DKT 232; 1:02-cv-01616-JR;          15-cv-9903
497   Robert                  Murach                        Laurie Ann Murach                               United States     8/1/2003      P3858                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   14,974,014.00   $   16,974,014.00   $      50,922,042.00
                                                                                                                                            DKT 155; 1:02-cv-01616-JR;          15-cv-9903
498   Christopher   W.        Murphy                        Catherine Goldsborough White Murphy             United States    5/23/2003      P3038                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   23,733,639.00   $   25,733,639.00   $      77,200,917.00
                                                                                                                                            DKT 232; 1:02-cv-01616-JR;          15-cv-9903
499   Edward        Charles   Murphy                        Ryan Lewis Murphy                               United States     8/1/2003      P4077                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    8,601,129.00   $   10,601,129.00   $      31,803,387.00
                                                                                                                                            DKT 26, 29; 1:02-cv-01616-JR;
500   Raymond       E.        Murphy               Sr. Linda Marie Murphy                                   United States    11/22/2002     3990                            19-cv-41 (GBD)(SN)    5918                 2/12/2020   $   2,000,000.00   $    8,037,441.00   $   10,037,441.00   $      30,112,323.00




                                                                                                                                                  Page 20 of 30
                                                                                    Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 21 of 30
EXHIBIT B-1                                                                                                                                                                           Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                                      U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                                      ECF Number of Prior
                                                                                                                                                                                                                                                                               Prior MDL Total




                                                                                                                                                                                                        MDL Judgment
                       9/11                                                                                                                                                                                                                Prior MDL          Prior MDL        Judgment to Be
           9/11                                                                                                Nationality of                                                    Case Number of                              Date of




                                                        Suffix
                     Decedent's 9/11 Decedent's                                                                               Date Plaintiff      Docket Entry When First                                                                Judgment for       Judgment for          Applied As           Treble Damages
 #      Decedent's                                                      Personal Representative(s)                 9/11                                                            Prior MDL                                Prior MDL
                       Middle     Last Name                                                                                      Added              Added to Complaint                                                                  Conscious Pain     Economic-Loss        Compensatory           Under the ATA
        First Name                                                                                               Decedent                                                          Judgment                                 Judgment
                       Name                                                                                                                                                                                                              and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                                   the ATA

                                                                                                                                               DKT 26, 29; 1:02-cv-01616-JR;        15-cv-9903
501   John           J.           Murray                         Rosemary Owens Murray                         United States    11/22/2002     2213                                 (GBD)(SN)          5975                 2/18/2020   $   2,000,000.00   $   44,396,148.00   $   46,396,148.00   $    139,188,444.00
                                                                                                                                                                                    15-cv-9903
502   John           Joseph       Murray                Jr.      John Murray                                   United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 770         (GBD)(SN)          8233                 7/19/2022   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                                    15-cv-9903
503   Manika                      Narula                         Baldev Narula                                 United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1489        (GBD)(SN)          5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                  Nassaney (Estate               Margaret Marion Nassaney; Patrick John                                                                             15-cv-9903
504   Shawn          Michael      of)                            Nassaney, Sr.                                 United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 787         (GBD)(SN)          5092                 9/6/2019    $   2,000,000.00   $   17,063,383.00   $   19,063,383.00   $      57,190,149.00
                                                                                                                                               DKT 26, 29; 1:02-cv-01616-JR;        15-cv-9903
505   Francis        J.           Nazario                        Julianne Nazario Hilbert                      United States    11/22/2002     2216                                 (GBD)(SN)          6035                 3/6/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                                    15-cv-9903
506   Rayman         Marcus       Neblett (Estate of)            Zandra Lena Neblett; Colin A. Neblett         United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2673      (GBD)(SN)          5975                 2/18/2020   $   2,000,000.00   $    8,338,711.00   $   10,338,711.00   $      31,016,133.00
                                                                                                                                               DKT 305; 1:02-cv-01616-JR;           15-cv-9903
507   Pete                        Negron                         Leila Negron                                  United States     9/5/2003      P4445                                (GBD)(SN)          5975                 2/18/2020   $   2,000,000.00   $    9,368,581.00   $   11,368,581.00   $      34,105,743.00
                                                                                                                                               DKT 305; 1:02-cv-01616-JR;           15-cv-9903
508   Laurie         Ann          Neira                          Francisca A. Wester                           United States     9/5/2003      P4446                                (GBD)(SN)          6034                 3/6/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                               DKT 155; 1:02-cv-01616-JR;           15-cv-9903
509   James          Arthur       Nelson                         Rosanne Nelson                                United States    5/23/2003      P3049                                (GBD)(SN)          5975                 2/18/2020   $   2,000,000.00   $   10,220,517.00   $   12,220,517.00   $      36,661,551.00
                                                                                                                                               DKT 432; 1:02-cv-01616-JR;           15-cv-9903
510   Khang          N.           Nguyen                         Tu Anh Honguyen                               United States    12/19/2003     P4905                                (GBD)(SN)          5975                 2/18/2020   $   2,000,000.00   $    8,275,974.00   $   10,275,974.00   $      30,827,922.00
                                                                                                                                               DKT 232; 1:02-cv-01616-JR;           15-cv-9903
511   Martin         Stewart      Niederer                       Charles W. Niederer                           United States     8/1/2003      P3870                                (GBD)(SN)          5975                 2/18/2020   $   2,000,000.00   $   23,246,560.00   $   25,246,560.00   $      75,739,680.00
                                                                                                                                               DKT 155; 1:02-cv-01616-JR;           15-cv-9903
512   Alfonse        J.           Niedermeyer                    Nancy Susan Niedermeyer                       United States    5/23/2003      P3054                                (GBD)(SN)          5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                               DKT 26, 29; 1:02-cv-01616-JR;        15-cv-9903
513   Troy           Edward       Nilsen                         Jennifer Anne Nilsen                          United States    11/22/2002     4025                                 (GBD)(SN)          5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                               DKT 26, 29; 1:02-cv-01616-JR;        15-cv-9903
514   John           Ballantine   Niven                          Ellen Niven                                   United States    11/22/2002     2223                                 (GBD)(SN)          8233                 7/19/2022   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                               DKT HAND FILED; 1:03-cv-9849         15-cv-9903
515   Curtis         T.           Noel (Estate of)               Theresa Martha Noel; Michael Thomas Noel      United States    3/10/2004      (RCC); P5209, P5210                  (GBD)(SN)          6035                 3/6/2020    $   2,000,000.00   $    9,733,045.00   $   11,733,045.00   $      35,199,135.00
                                                                                                                                               DKT 155; 1:02-cv-01616-JR;           15-cv-9903
516   Daniel         R.           Nolan                          Renee E. Nolan                                United States    5/23/2003      P3055                                (GBD)(SN)          5975                 2/18/2020   $   2,000,000.00   $    8,669,941.00   $   10,669,941.00   $      32,009,823.00
                                                                                                                                               DKT 155; 1:02-cv-01616-JR;           15-cv-9903
517   James          A.           Oakley                         Denise I. Oakley                              United States    5/23/2003      P3056                                (GBD)(SN)          5975                 2/18/2020   $   2,000,000.00   $   11,397,111.00   $   13,397,111.00   $      40,191,333.00
                                                                                                                                               DKT 26, 29; 1:02-cv-01616-JR;        15-cv-9903
518   Daniel                      O'Callaghan                    Rhonda Lee O'Callaghan                        United States    11/22/2002     4044                                 (GBD)(SN)          5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                                    15-cv-9903
519   Douglas        E.           Oelschlager                    Suzanne Oelschlager                           United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 821         (GBD)(SN)          5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                  Ogonowski (Estate                                                                                            DKT 432; 1:02-cv-01616-JR;           15-cv-9903
520   John           Alexander    of)                            Margaret Mary Hatch                           United States    12/19/2003     P4908                                (GBD)(SN)          5092                 9/6/2019    $   2,000,000.00   $    9,683,801.00   $   11,683,801.00   $      35,051,403.00
                                                                                                                                               DKT 232; 1:02-cv-01616-JR;
521   William        S.           O'Keefe                        Virginia M. O'Keefe                           United States     8/1/2003      P3871                             19-cv-41 (GBD)(SN)    5918                 2/12/2020   $   2,000,000.00   $    7,307,118.00   $    9,307,118.00   $      27,921,354.00
                                                                                                                                               DKT HAND FILED; 1:03-cv-9849          15-cv-9903
522   Gerald         M.           Olcott                         Lynn A. Olcott                                United States    3/10/2004      (RCC); P5218                          (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    5,394,873.00   $    7,394,873.00   $      22,184,619.00

523   Steven         J.           Olson                          Patricia Anne Olson                           United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 426      19-cv-41 (GBD)(SN)    5918                 2/12/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                               DKT 232; 1:02-cv-01616-JR;            15-cv-9903
524   Peter          J.           O'Neill               Jr.      Jeanne M. O'Neill; Peter James O'Neill, Sr.   United States     8/1/2003      P4079                                 (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                               DKT 26, 29; 1:02-cv-01616-JR;         15-cv-9903
525   Kevin          M.           O'Rourke                       Maryann J. O'Rourke                           United States    11/22/2002     4076                                  (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00




                                                                                                                                                     Page 21 of 30
                                                                                  Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 22 of 30
EXHIBIT B-1                                                                                                                                                                  Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                          U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                          ECF Number of Prior
                                                                                                                                                                                                                                                                   Prior MDL Total




                                                                                                                                                                                            MDL Judgment
                       9/11                                                                                                                                                                                                    Prior MDL          Prior MDL        Judgment to Be
           9/11                                                                                        Nationality of                                                    Case Number of                          Date of




                                                     Suffix
                     Decedent's 9/11 Decedent's                                                                       Date Plaintiff      Docket Entry When First                                                            Judgment for       Judgment for          Applied As           Treble Damages
 #      Decedent's                                                    Personal Representative(s)           9/11                                                            Prior MDL                            Prior MDL
                       Middle     Last Name                                                                              Added              Added to Complaint                                                              Conscious Pain     Economic-Loss        Compensatory           Under the ATA
        First Name                                                                                       Decedent                                                          Judgment                             Judgment
                       Name                                                                                                                                                                                                  and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                       the ATA

                                                                                                                                       DKT 305; 1:02-cv-01616-JR;          15-cv-9903
526   Emilio                   Ortiz                          Wanda Garcia-Ortiz                       United States     9/5/2003      P4460                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    8,220,102.00   $   10,220,102.00   $      30,660,306.00
                                                                                                                                       DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
527   Pablo                    Ortiz                          Edna Iris Velez                          United States    11/22/2002     4098                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    6,817,885.00   $    8,817,885.00   $      26,453,655.00
                                                                                                                                       DKT 232; 1:02-cv-01616-JR;          15-cv-9903
528   Todd           Joseph    Ouida                          Herbert Ouida                            United States     8/1/2003      P3876                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   22,926,624.00   $   24,926,624.00   $      74,779,872.00
                                                                                                                                                                           15-cv-9903
529   Diana          B.        Padro                          Jose E. Padro-Lebron                     United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2680     (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                       DKT 432; 1:02-cv-01616-JR;          15-cv-9903
530   Richard        A.        Palazzolo                      Ronald J. Palazzolo                      United States    12/19/2003     P4918                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   11,307,558.00   $   13,307,558.00   $      39,922,674.00
                                                                                                                                       DKT 155; 1:02-cv-01616-JR;          15-cv-9903
531   Dominique      Lisa      Pandolfo                       Barbara Pandolfo                         United States    5/23/2003      P3060                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   12,062,969.00   $   14,062,969.00   $      42,188,907.00
                               Pappageorge                                                                                             DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
532   James          N.        (Estate of)                    Juana Olga Pappageorge                   United States    11/22/2002     4108                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    9,314,183.00   $   11,314,183.00   $      33,942,549.00
                               Pappalardo (Estate                                                                                                                          15-cv-9903
533   Marie                    of)                            Maria Lisa Koutny                        United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 429        (GBD)(SN)       6042                 3/6/2020    $   2,000,000.00   $    5,482,962.00   $    7,482,962.00   $      22,448,886.00
                                                                                                                                       DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
534   George                   Paris                          Christina Mary Paris                     United States    11/22/2002     4115                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   21,188,555.00   $   23,188,555.00   $      69,565,665.00
                                                                                                                                       DKT 232; 1:02-cv-01616-JR;          15-cv-9903
535   Gye            Hyong     Park                           Jin Han Park                             United States     8/1/2003      P3887                               (GBD)(SN)       6034                 3/6/2020    $   2,000,000.00   $    8,149,184.00   $   10,149,184.00   $      30,447,552.00
                                                                                                                                       DKT 305; 1:02-cv-01616-JR;          15-cv-9903
536   Hashmukhrai    C.        Parmar                         Bharti Parmar                            United States     9/5/2003      P4466                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    9,095,091.00   $   11,095,091.00   $      33,285,273.00
                                                                                                                                       DKT 305; 1:02-cv-01616-JR;          15-cv-9903
537   Jerrold        H.        Paskins                        Inez Slick                               United States     9/5/2003      P4468                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    6,100,265.00   $    8,100,265.00   $      24,300,795.00
                                                                                                                                                                           15-cv-9903
538   Dipti                    Patel                          Niraj J. Patel                           United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1520       (GBD)(SN)       6034                 3/6/2020    $   2,000,000.00   $    9,858,322.00   $   11,858,322.00   $      35,574,966.00
                                                                                                                                       DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
539   Steven         Bennett   Paterson                       Lisa Anne Paterson                       United States    11/22/2002     4127                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   13,176,905.00   $   15,176,905.00   $      45,530,715.00
                                                                                                                                                                           15-cv-9903
540   Cira           Marie     Patti                          Michael Patti                            United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 440        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    7,518,116.00   $    9,518,116.00   $      28,554,348.00
                                                                                                                                       DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
541   Angel          R.        Pena                           Michele Taglieri Pena                    United States    11/22/2002     4134                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    7,464,214.00   $    9,464,214.00   $      28,392,642.00
                                                                                                                                       DKT 232; 1:02-cv-01616-JR;          15-cv-9903
542   Carl           Allen     Peralta (Estate of)            Cielita Barber Peralta                   United States     8/1/2003      P3894                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   20,166,362.00   $   22,166,362.00   $      66,499,086.00
                                                                                                                                       DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
543   Jon            A.        Perconti                       Tammy Perconti                           United States    11/22/2002     2263                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $ 107,779,294.00    $ 109,779,294.00    $    329,337,882.00
                                                                                                                                                                           15-cv-9903
544   Danny                    Pesce                          Chiara Pesce; Paolo Pesce                United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 448        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    7,271,088.00   $    9,271,088.00   $      27,813,264.00
                               Peterson (Estate                                                                                        DKT 313; 1:02-cv-01616-JR;          15-cv-9903
545   Donald         A.        of)                            D. Hamilton Peterson; David M. Repetto   United States    9/10/2003      P4702                               (GBD)(SN)       5092                 9/6/2019    $   2,000,000.00   $    2,615,329.00   $    4,615,329.00   $      13,845,987.00
                                                                                                                                                                           15-cv-9903
546   Mark           James     Petrocelli                     Nicole LaMorte                           United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 455        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   23,073,982.00   $   25,073,982.00   $      75,221,946.00
                                                                                                                                       DKT HAND FILED; 1:03-cv-9849        15-cv-9903
547   Philip         Scott     Petti                          Eileen Regina Petti                      United States    3/10/2004      (RCC); P5225                        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    8,140,586.00   $   10,140,586.00   $      30,421,758.00
                                                                                                                                                                           15-cv-9903
548   Ludwig         John      Picarro                        Susan L. Picarro                         United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 461        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   12,279,446.00   $   14,279,446.00   $      42,838,338.00
                                                                                                                                       DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
549   Joseph         Oswald    Pick                           Marie E. Puccio-Pick                     United States    11/22/2002     4147                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   14,555,972.00   $   16,555,972.00   $      49,667,916.00
                                                                                                                                       DKT 155; 1:02-cv-01616-JR;          15-cv-9903
550   Bernard                  Pietronico                     Jacqueline Pietronico                    United States    5/23/2003      P3066                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   41,051,522.00   $   43,051,522.00   $    129,154,566.00




                                                                                                                                             Page 22 of 30
                                                                                   Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 23 of 30
EXHIBIT B-1                                                                                                                                                                  Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                             U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                             ECF Number of Prior
                                                                                                                                                                                                                                                                      Prior MDL Total




                                                                                                                                                                                               MDL Judgment
                      9/11                                                                                                                                                                                                        Prior MDL          Prior MDL        Judgment to Be
          9/11                                                                                          Nationality of                                                  Case Number of                              Date of




                                                      Suffix
                    Decedent's 9/11 Decedent's                                                                         Date Plaintiff      Docket Entry When First                                                              Judgment for       Judgment for          Applied As           Treble Damages
 #     Decedent's                                                     Personal Representative(s)            9/11                                                          Prior MDL                                Prior MDL
                      Middle     Last Name                                                                                Added              Added to Complaint                                                                Conscious Pain     Economic-Loss        Compensatory           Under the ATA
       First Name                                                                                         Decedent                                                        Judgment                                 Judgment
                      Name                                                                                                                                                                                                      and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                          the ATA

                                                                                                                                        DKT 155; 1:02-cv-01616-JR;          15-cv-9903
551   Nicholas      P.           Pietrunti                     John Joseph Pietrunti, Jr.               United States    5/23/2003      P3070                               (GBD)(SN)         6042                 3/6/2020    $   2,000,000.00   $    6,680,163.00   $    8,680,163.00   $      26,040,489.00
                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
552   Susan         Elizabeth    Pinto                         Douglas Arthur Pinto                     United States    11/22/2002     2271                                (GBD)(SN)         7188                 10/5/2021   $   2,000,000.00   $   11,106,201.00   $   13,106,201.00   $      39,318,603.00
                                                                                                                                        DKT 432; 1:02-cv-01616-JR;          15-cv-9903
553   Christopher   Todd         Pitman                        Eric J. Pitman                           United States    12/19/2003     P4932                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   94,161,497.00   $   96,161,497.00   $    288,484,491.00
                                                                                                                                        DKT 155; 1:02-cv-01616-JR;          15-cv-9903
554   Joshua        Michael      Piver                         Susan S. Piver                           United States    5/23/2003      P3071                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                            15-cv-9903
555   Thomas        H.           Polhemus                      Barbara L. Polhemus                      United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1538       (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    9,834,432.00   $   11,834,432.00   $      35,503,296.00
                                                                                                                                        DKT 313; 1:02-cv-01616-JR;          15-cv-9903
556   Darin         Howard       Pontell                       Devora Wolk Kirschner                    United States    9/10/2003      P4703                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   12,997,835.00   $   14,997,835.00   $      44,993,505.00
                                                                                                                                                                            15-cv-9903
557   Joshua        I.           Poptean                       Vasile Poptean                           United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2688     (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    9,421,125.00   $   11,421,125.00   $      34,263,375.00
                                                                                                                                        DKT 232; 1:02-cv-01616-JR;          15-cv-9903
558   James         E.           Potorti                       Nikki L. Stern                           United States     8/1/2003      P3900                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    5,805,113.00   $    7,805,113.00   $      23,415,339.00
                                                                                                                                        DKT 232; 1:02-cv-01616-JR;
559   Richard       N.           Poulos (Estate of)            Margaret Poulos                          United States     8/1/2003      P3902                           19-cv-41 (GBD)(SN)    5918                 2/12/2020   $   2,000,000.00   $    5,192,449.00   $    7,192,449.00   $      21,577,347.00
                                                                                                                                        DKT HAND FILED; 1:03-cv-9849        15-cv-9903
560   Brandon       J.           Powell                        Harry James Powell                       United States    3/10/2004      (RCC); P5231                        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                        DKT HAND FILED; 1:03-cv-9849        15-cv-9903
561   Wanda                      Prince                        Edward Joseph Prince                     United States    3/10/2004      (RCC); P5234                        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
562   Kevin         M.           Prior                         Gerard John Prior                        United States    11/22/2002     4176                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    9,889,401.00   $   11,889,401.00   $      35,668,203.00
                                                                                                                                                                            15-cv-9903
563   Carrie        Beth         Progen                        Donald Henry Progen                      United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 474        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    9,516,164.00   $   11,516,164.00   $      34,548,492.00
                                                                                                                                                                            15-cv-9903
564   John          F.           Puckett                       Michael John Puckett                     United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 479        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    7,262,958.00   $    9,262,958.00   $      27,788,874.00
                                                                                                                                                                            15-cv-9903
565   Edward        R.           Pykon                         Jacqueline Amy Pykon                     United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1778       (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                        DKT 232; 1:02-cv-01616-JR;          15-cv-9903
566   Beth          Ann          Quigley                       John Eugene Quigley                      United States     8/1/2003      P3915                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   27,740,959.00   $   29,740,959.00   $      89,222,877.00
                                                                                                                                        DKT 313; 1:02-cv-01616-JR;          15-cv-9903
567   Ricardo       J.           Quinn                         Virginia A. Quinn                        United States    9/10/2003      P4704                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                        DKT 232; 1:02-cv-01616-JR;          15-cv-9903
568   Christopher   Anthony PeterRacaniello                    Frank Vincent Racaniello                 United States     8/1/2003      P3917                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   19,835,416.00   $   21,835,416.00   $      65,506,248.00
                                                                                                                                                                            15-cv-9903
569   Leonard       J.           Ragaglia                      Donna Ragaglia                           United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1547       (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   10,293,160.00   $   12,293,160.00   $      36,879,480.00
                                                                                                                                                                            15-cv-9903
570   Michael       Paul         Ragusa                        Domenica Ragusa; Vincent Joseph Ragusa   United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1551       (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    9,396,488.00   $   11,396,488.00   $      34,189,464.00
                                                                                                                                                                            15-cv-9903
571   Faina         Aronovna     Rapoport                      Aleksandr Rapoport                       United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1782       (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    7,726,215.00   $    9,726,215.00   $      29,178,645.00
                                                                                                                                                                            15-cv-9903
572   William       Ralph        Raub                          Maureen A. Raub                          United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 497        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $ 139,102,664.00    $ 141,102,664.00    $    423,307,992.00
                                                                                                                                        DKT 232; 1:02-cv-01616-JR;          15-cv-9903
573   Gregg                      Reidy                         Thomas J. Reidy                          United States     8/1/2003      P3924                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   22,017,269.00   $   24,017,269.00   $      72,051,807.00
                                                                                                                                                                            15-cv-9903
574   Joseph                     Reina                Jr.      Lisa Ann Reina                           United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 499        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   10,754,502.00   $   12,754,502.00   $      38,263,506.00
                                                                                                                                                                            15-cv-9903
575   Thomas        Barnes       Reinig                        Jeanne Fattori Reinig-Smith              United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 829        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   19,569,163.00   $   21,569,163.00   $      64,707,489.00




                                                                                                                                              Page 23 of 30
                                                                                  Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 24 of 30
EXHIBIT B-1                                                                                                                                                                 Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                         U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                         ECF Number of Prior
                                                                                                                                                                                                                                                                  Prior MDL Total




                                                                                                                                                                                           MDL Judgment
                      9/11                                                                                                                                                                                                    Prior MDL          Prior MDL        Judgment to Be
          9/11                                                                                          Nationality of                                                  Case Number of                          Date of




                                                    Suffix
                    Decedent's 9/11 Decedent's                                                                         Date Plaintiff      Docket Entry When First                                                          Judgment for       Judgment for          Applied As           Treble Damages
 #     Decedent's                                                   Personal Representative(s)              9/11                                                          Prior MDL                            Prior MDL
                      Middle     Last Name                                                                                Added              Added to Complaint                                                            Conscious Pain     Economic-Loss        Compensatory           Under the ATA
       First Name                                                                                         Decedent                                                        Judgment                             Judgment
                      Name                                                                                                                                                                                                  and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                      the ATA

                                                                                                                                        DKT 232; 1:02-cv-01616-JR;        15-cv-9903
576   Frank                     Reisman                      Gayle Reisman                              United States     8/1/2003      P3927                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   16,249,078.00   $   18,249,078.00   $      54,747,234.00
                                                                                                                                                                          15-cv-9903
577   Karen                     Renda                        Charles Renda                              United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 503      (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    5,486,554.00   $    7,486,554.00   $      22,459,662.00
                                                                                                                                                                          15-cv-9903
578   John          Thomas      Resta                        Christina Ann Resta                        United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 507      (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    8,994,248.00   $   10,994,248.00   $      32,982,744.00
                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
579   Ann Marie                 Riccoboni                    John Riccoboni                             United States    11/22/2002     4253                              (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    4,486,204.00   $    6,486,204.00   $      19,458,612.00
                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
580   David         H.          Rice                         Hugh David Rice                            United States    11/22/2002     4258                              (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   17,896,689.00   $   19,896,689.00   $      59,690,067.00
                                                                                                                                        DKT 155; 1:02-cv-01616-JR;        15-cv-9903
581   Claude        Daniel      Richards                     Jim Dale Richards                          United States    5/23/2003      AP213                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    7,114,690.00   $    9,114,690.00   $      27,344,070.00
                                                                                                                                        DKT 155; 1:02-cv-01616-JR;        15-cv-9903
582   Paul          V.          Rizza                        Elaine Marie Rizza Brophy                  United States    5/23/2003      P3076                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    9,482,810.00   $   11,482,810.00   $      34,448,430.00
                                                                                                                                                                          15-cv-9903
583   John          Frank       Rizzo                        Concetta Rizzo                             United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1577     (GBD)(SN)       6034                 3/6/2020    $   2,000,000.00   $    6,581,168.00   $    8,581,168.00   $      25,743,504.00
                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
584   Michael       E.          Roberts                      Paulette Marie Roberts                     United States    11/22/2002     4280                              (GBD)(SN)       6042                 3/6/2020    $   2,000,000.00   $    9,228,613.00   $   11,228,613.00   $      33,685,839.00
                                                                                                                                        DKT 155; 1:02-cv-01616-JR;        15-cv-9903
585   Antonio       A.          Rocha                        Marilyn Marques Rocha                      United States    5/23/2003      P3077                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   22,766,376.00   $   24,766,376.00   $      74,299,128.00
                                                                                                                                        DKT 232; 1:02-cv-01616-JR;        15-cv-9903
586   Antonio       J.          Rodrigues                    Cristina Rodrigues                         United States     8/1/2003      P3933                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   11,425,094.00   $   13,425,094.00   $      40,275,282.00
                                                                                                                                        DKT 432; 1:02-cv-01616-JR;        15-cv-9903
587   Richard                   Rodriguez                    Cindy Rodriguez                            United States    12/19/2003     P4939                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   13,409,375.00   $   15,409,375.00   $      46,228,125.00
                                                                                                                                                                          15-cv-9903
588   Jean          Destrehan   Roger                        Thomas Harvey Roger                        United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 790      (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    9,853,899.00   $   11,853,899.00   $      35,561,697.00
                                                                                                                                        DKT 232; 1:02-cv-01616-JR;        15-cv-9903
589   Joshua        M.          Rosenblum                    Susan S. Rosenblum; Richard M. Rosenblum   United States     8/1/2003      P3934; 35                         (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   28,589,979.00   $   30,589,979.00   $      91,769,937.00
                                Rosenthal (Estate                                                                                       DKT 232; 1:02-cv-01616-JR;        15-cv-9903
590   Joshua        Alan        of)                          Marilynn M. Rosenthal; Avram Rosenthal     United States     8/1/2003      P3936                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   16,824,467.00   $   18,824,467.00   $      56,473,401.00
                                                                                                                                                                          15-cv-9903
591   Michael       C.          Rothberg                     Iris Estelle Rothberg                      United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1592     (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $ 132,020,266.00    $ 134,020,266.00    $    402,060,798.00
                                                                                                                                        DKT 313; 1:02-cv-01616-JR;        15-cv-9903
592   Mark          D.          Rothenberg                   Meredith Harris Rothenberg                 United States    9/10/2003      P4720                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   11,183,085.00   $   13,183,085.00   $      39,549,255.00
                                                                                                                                        DKT 232; 1:02-cv-01616-JR;        15-cv-9903
593   Adam          Keith       Ruhalter                     Fern Gayle Ruhalter                        United States     8/1/2003      P4083                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                        DKT 232; 1:02-cv-01616-JR;        15-cv-9903
594   Stephen       P.          Russell                      Marie Russell                              United States     8/1/2003      P4942                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    7,504,209.00   $    9,504,209.00   $      28,512,627.00
                                                                                                                                                                          15-cv-9903
595   Jason         Elazar      Sabbag                       Ralph Raphael Sabbag                       United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1596     (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   14,449,947.00   $   16,449,947.00   $      49,349,841.00
                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
596   Thomas        E.          Sabella                      Diana Sabella                              United States    11/22/2002     4338                              (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
597   Scott         Howard      Saber                        Bruce David Saber; Brian W. Saber          United States    11/22/2002     2327                              (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   25,868,650.00   $   27,868,650.00   $      83,605,950.00
                                                                                                                                        DKT 305; 1:02-cv-01616-JR;        15-cv-9903
598   Joseph        Francis     Sacerdote                    Arlene Sacerdote                           United States     9/5/2003      P4506                             (GBD)(SN)       8233                 7/19/2022   $   2,000,000.00   $    9,479,496.00   $   11,479,496.00   $      34,438,488.00
                                                                                                                                        DKT 155; 1:02-cv-01616-JR;        15-cv-9903
599   Jessica       Leigh       Sachs                        Stephen Richard Sachs                      United States    5/23/2003      P3082                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   10,915,873.00   $   12,915,873.00   $      38,747,619.00
                                                                                                                                        DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
600   Jude          Elias       Safi                         John Safi                                  United States    11/22/2002     4345                              (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   21,131,021.00   $   23,131,021.00   $      69,393,063.00




                                                                                                                                              Page 24 of 30
                                                                                   Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 25 of 30
EXHIBIT B-1                                                                                                                                                            Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                       U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                       ECF Number of Prior
                                                                                                                                                                                                                                                                 Prior MDL Total




                                                                                                                                                                                         MDL Judgment
                       9/11                                                                                                                                                                                                  Prior MDL          Prior MDL        Judgment to Be
           9/11                                                                                   Nationality of                                                  Case Number of                              Date of




                                                     Suffix
                     Decedent's 9/11 Decedent's                                                                  Date Plaintiff      Docket Entry When First                                                               Judgment for       Judgment for          Applied As           Treble Damages
 #      Decedent's                                                   Personal Representative(s)       9/11                                                          Prior MDL                                Prior MDL
                       Middle     Last Name                                                                         Added              Added to Complaint                                                                 Conscious Pain     Economic-Loss        Compensatory           Under the ATA
        First Name                                                                                  Decedent                                                        Judgment                                 Judgment
                       Name                                                                                                                                                                                                and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                     the ATA

                                                                                                                                  DKT 232; 1:02-cv-01616-JR;         15-cv-9903
601   Wayne          J.        Saloman                        Debra Ann Saloman                   United States     8/1/2003      P3942                              (GBD)(SN)          7287                 10/25/2021   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                     15-cv-9903
602   Paul           Richard   Salvio                         Rosemarie Giallombardo              United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1600      (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $    9,639,694.00   $   11,639,694.00   $      34,919,082.00
                                                                                                                                  DKT 602; 1:03-md-01570-GBD-        15-cv-9903
603   Samuel         Robert    Salvo                 Jr.      David Robert Salvo                  United States     1/3/2005      SN; P5502                          (GBD)(SN)          5092                  9/6/2019    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                     15-cv-9903
604   James          K.        Samuel                Jr.      Linda J. Samuel                     United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1611      (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $   13,297,440.00   $   15,297,440.00   $      45,892,320.00
                               Sanchez (Estate                                                                                    DKT 305; 1:02-cv-01616-JR;         15-cv-9903
605   Jesus                    of)                            Felicita Maria Sanchez              United States     9/5/2003      P4512                              (GBD)(SN)          5092                  9/6/2019    $   2,000,000.00   $    6,405,653.00   $    8,405,653.00   $      25,216,959.00
                                                                                                                                  DKT 232; 1:02-cv-01616-JR;         15-cv-9903
606   James                    Sands                 Jr.      Jennifer Ann Sands                  United States     8/1/2003      P3943                              (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $   15,443,937.00   $   17,443,937.00   $      52,331,811.00
                                                                                                                                                                     15-cv-9903
607   Christopher    A.        Santora (Estate of)            Alexander William Santora           United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 554       (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $   10,267,790.00   $   12,267,790.00   $      36,803,370.00
                                                                                                                                  DKT 313; 1:02-cv-01616-JR;         15-cv-9903
608   John           A.        Santore                        Frances Santore                     United States    9/10/2003      P4729                              (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $    6,532,234.00   $    8,532,234.00   $      25,596,702.00
                                                                                                                                                                     15-cv-9903
609   Kalyan         K.        Sarkar                         Anarkali Sarkar                     United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 760       (GBD)(SN)          6042                  3/6/2020    $   2,000,000.00   $    5,631,651.00   $    7,631,651.00   $      22,894,953.00
                                                                                                                                  DKT 432; 1:02-cv-01616-JR;         15-cv-9903
610   Robert         Louis     Scandole, Jr.                  Sheila Marie Scandole               United States    12/19/2003     P4948                              (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $   23,339,460.00   $   25,339,460.00   $      76,018,380.00
                                                                                                                                  DKT 26, 29; 1:02-cv-01616-JR;      15-cv-9903
611   Michelle                 Scarpitta                      Steven Scarpitta                    United States    11/22/2002     4370                               (GBD)(SN)          7287                 10/25/2021   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                  DKT 26, 29; 1:02-cv-01616-JR;      15-cv-9903
612   Angela         Susan     Scheinberg                     Elliott Scheinberg                  United States    11/22/2002     2338                               (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $    9,701,407.00   $   11,701,407.00   $      35,104,221.00
                                                                                                                                                                     15-cv-9903
613   Mark                     Schwartz                       Patricia Schwartz                   United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1630      (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                  DKT HAND FILED; 1:03-cv-9849       15-cv-9903
614   Adriana                  Scibetta                       Charles Scibetta                    United States    3/10/2004      (RCC); P5259                       (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $   11,604,435.00   $   13,604,435.00   $      40,813,305.00
                                                                                                                                  DKT 305; 1:02-cv-01616-JR;         15-cv-9903
615   Janice         Marie     Scott                          Abraham Scott                       United States     9/5/2003      P4515                              (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $    7,982,237.00   $    9,982,237.00   $      29,946,711.00
                                                                                                                                                                     15-cv-9903
616   Matthew        Carmen    Sellitto                       Matthew Thomas Sellitto             United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 558       (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $   23,104,734.00   $   25,104,734.00   $      75,314,202.00
                                                                                                                                  DKT 232; 1:02-cv-01616-JR;         15-cv-9903
617   Larry          John      Senko                          Debbi Ellen Senko-Goldman           United States     8/1/2003      P3946                              (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $   38,922,801.00   $   40,922,801.00   $    122,768,403.00
                                                                                                                                                                     15-cv-9903
618   Marian         Teresa    Serva                          Bruce E. Serva                      United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 568       (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $    7,739,271.00   $    9,739,271.00   $      29,217,813.00
                                                                                                                                                                     15-cv-9903
619   Adele                    Sessa (Estate of)              Irene Mary Sessa                    United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 571       (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $   18,701,292.00   $   20,701,292.00   $      62,103,876.00
                                                                                                                                  DKT 26, 29; 1:02-cv-01616-JR;      15-cv-9903
620   Karen          Lynn      Seymour                        William Gary Dietrich               United States    11/22/2002     2487                               (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $   14,096,975.00   $   16,096,975.00   $      48,290,925.00
                                                                                                                                  DKT 305; 1:02-cv-01616-JR;         15-cv-9903
621   Barbara        A.        Shaw                           Janine Lousie Van Riper             United States     9/5/2003      P4525                              (GBD)(SN)          6035                  3/6/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                  DKT 232; 1:02-cv-01616-JR;         15-cv-9903
622   Jeffrey        James     Shaw                           Debra Ann Shaw                      United States     8/1/2003      P3948                              (GBD)(SN)          6042                  3/6/2020    $   2,000,000.00   $   10,299,540.00   $   12,299,540.00   $      36,898,620.00
                                                                                                                                                                     15-cv-9903
623   Linda          June      Sheehan                        Robert Daniel Sheehan               United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 577       (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $    9,794,165.00   $   11,794,165.00   $      35,382,495.00
                                                                                                                                  DKT 26, 29: 1:02-cv-01616-JR;      15-cv-9903
624   John           Anthony   Sherry                         Maureen Sherry                      United States    11/22/2002     2476                               (GBD)(SN)          5975                 2/18/2020    $   2,000,000.00   $   27,001,577.00   $   29,001,577.00   $      87,004,731.00

625   Paul           J.        Simon                          Shelley Simon                       United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 582    19-cv-44 (GBD)(SN)    5851                  2/5/2020    $   2,000,000.00   $    5,725,290.00   $    7,725,290.00   $      23,175,870.00




                                                                                                                                        Page 25 of 30
                                                                                   Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 26 of 30
EXHIBIT B-1                                                                                                                                                                    Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                            U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                            ECF Number of Prior
                                                                                                                                                                                                                                                                     Prior MDL Total




                                                                                                                                                                                              MDL Judgment
                       9/11                                                                                                                                                                                                      Prior MDL          Prior MDL        Judgment to Be
           9/11                                                                                          Nationality of                                                    Case Number of                          Date of




                                                    Suffix
                     Decedent's 9/11 Decedent's                                                                         Date Plaintiff      Docket Entry When First                                                            Judgment for       Judgment for          Applied As           Treble Damages
 #      Decedent's                                                  Personal Representative(s)               9/11                                                            Prior MDL                            Prior MDL
                       Middle     Last Name                                                                                Added              Added to Complaint                                                              Conscious Pain     Economic-Loss        Compensatory           Under the ATA
        First Name                                                                                         Decedent                                                          Judgment                             Judgment
                       Name                                                                                                                                                                                                    and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                         the ATA

                                                                                                                                                                             15-cv-9903
626   Marianne                 Simone                        Teresa M. Hargrave                          United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1647       (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    3,759,139.00   $    5,759,139.00   $      17,277,417.00
                                                                                                                                         DKT 313; 1:02-cv-01616-JR;          15-cv-9903
627   John           Peter     Skala                         Irene Ann Lesiw                             United States    9/10/2003      P4733                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   11,535,132.00   $   13,535,132.00   $      40,605,396.00
                                                                                                                                         DKT 432; 1:02-cv-01616-JR;          15-cv-9903
628   Wendy          L.        Small                         Lawanda Sandina Simmons                     United States    12/19/2003     P4953                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    8,618,026.00   $   10,618,026.00   $      31,854,078.00
                                                                                                                                                                             15-cv-9903
629   Catherine      T.        Smith                         Elba Iris Cedeno                            United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1653       (GBD)(SN)       6042                 3/6/2020    $   2,000,000.00   $    8,815,584.00   $   10,815,584.00   $      32,446,752.00
                                                                                                                                                                             15-cv-9903
630   Jeffrey        R.        Smith                         Ellen Shaw Bakalian                         United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1835       (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   20,576,819.00   $   22,576,819.00   $      67,730,457.00
                                                                                                                                         DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
631   Karl           T.        Smith                         Joanne Elizabeth Smith                      United States    11/22/2002     4792                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   15,470,061.00   $   17,470,061.00   $      52,410,183.00
                                                                                                                                         DKT 313; 1:02-cv-01616-JR;          15-cv-9903
632   Rochelle       Monique   Snell                         Jennifer Ann Tucker                         United States    9/10/2003      P4738                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    8,749,295.00   $   10,749,295.00   $      32,247,885.00
                                                                                                                                         DKT 305; 1:02-cv-01616-JR;          15-cv-9903
633   Dianne         Bullis    Snyder                        John Bishop Snyder                          United States     9/5/2003      P4530                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    8,447,025.00   $   10,447,025.00   $      31,341,075.00
                                                                                                                                         DKT 432; 1:02-cv-01616-JR;          15-cv-9903
634   Christine      Ann       Snyder (Estate of)            Charles O'Neal Snyder                       United States    12/19/2003     P4954                               (GBD)(SN)       5092                 9/6/2019    $   2,000,000.00   $   10,574,447.00   $   12,574,447.00   $      37,723,341.00
                                                                                                                                         DKT 305; 1:02-cv-01616-JR;          15-cv-9903
635   Mari-Rae                 Sopper                        Christina Louise Kminek                     United States     9/5/2003      P4531                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   10,845,910.00   $   12,845,910.00   $      38,537,730.00
                                                                                                                                         DKT 305; 1:02-cv-01616-JR;          15-cv-9903
636   Gregory        T.        Spagnoletti                   Paul Andrew Spagnoletti                     United States     9/5/2003      P4534                               (GBD)(SN)       6042                 3/6/2020    $   2,000,000.00   $   21,133,822.00   $   23,133,822.00   $      69,401,466.00
                                                                                                                                                                             15-cv-9903
637   Thomas                   Sparacio                      Cheri Lynn Magnus-Sparacio                  United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1666       (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   18,206,935.00   $   20,206,935.00   $      60,620,805.00
                                                                                                                                                                             15-cv-9903
638   John           Anthony   Spataro                       Patricia Ellen Wellington                   United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 590        (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   10,928,862.00   $   12,928,862.00   $      38,786,586.00
                                                                                                                                                                             15-cv-9903
639   Robert         W.        Spear                Jr.      Lorraine Catalano                           United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2705     (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   11,224,428.00   $   13,224,428.00   $      39,673,284.00
                                                                                                                                         DKT 305; 1:02-cv-01616-JR;          15-cv-9903
640   Richard        J.        Stadelberger                  Vee Stadelberger                            United States     9/5/2003      P4537                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    7,463,358.00   $    9,463,358.00   $      28,390,074.00
                                                                                                                                         DKT 313; 1:02-cv-01616-JR;          15-cv-9903
641   Eric           Adam      Stahlman                      Blanca Stahlman                             United States    9/10/2003      P4742                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   16,729,379.00   $   18,729,379.00   $      56,188,137.00
                                                                                                                                         DKT 232; 1:02-cv-01616-JR;          15-cv-9903
642   Gregory                  Stajk                         Jeanie Mary Somerville                      United States     8/1/2003      P3954                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                         DKT 232; 1:02-cv-01616-JR;          15-cv-9903
643   Jeffrey                  Stark                         Therese Stark                               United States     8/1/2003      P3956                               (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    9,654,625.00   $   11,654,625.00   $      34,963,875.00
                                                                                                                                                                             15-cv-9903
644   Craig          William   Staub                         Stacey Allison Staub                        United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1671       (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   24,014,360.00   $   26,014,360.00   $      78,043,080.00
                                                                                                                                         DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
645   Eric           Thomas    Steen (Estate of)             Blanche Steen                               United States    11/22/2002     2371                                (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   16,134,703.00   $   18,134,703.00   $      54,404,109.00
                                                                                                                                         DKT 232; 1:02-cv-01616-JR;          15-cv-9903
646   Andrew         Jay       Stern                         Katherine Stern                             United States     8/1/2003      P3962                               (GBD)(SN)       6038                 3/6/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                             Joan Bernard Stewart; Richard H. Stewart,                                   DKT 155; 1:02-cv-01616-JR;          15-cv-9903
647   Richard        H.        Stewart              Jr.      Sr.                                         United States    5/23/2003      P3097; 98                           (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   17,669,466.00   $   19,669,466.00   $      59,008,398.00
                                                                                                                                         DKT 602; 1:03-md-01570-GBD-         15-cv-9903
648   Douglas        J.        Stone                         Charles Parker, III                         United States     1/3/2005      SN; P5504                           (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    6,735,740.00   $    8,735,740.00   $      26,207,220.00
                                                                                                                                         DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
649   James          J.        Straine              Jr.      Patricia A. Straine                         United States    11/22/2002     4470                                (GBD)(SN)       6042                 3/6/2020    $   2,000,000.00   $   21,296,970.00   $   23,296,970.00   $      69,890,910.00
                                                                                                                                                                             15-cv-9903
650   George                   Strauch                       Virginia Strauch                            United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1682       (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00




                                                                                                                                               Page 26 of 30
                                                                                         Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 27 of 30
EXHIBIT B-1                                                                                                                                                                   Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                              U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                              ECF Number of Prior
                                                                                                                                                                                                                                                                       Prior MDL Total




                                                                                                                                                                                                MDL Judgment
                       9/11                                                                                                                                                                                                        Prior MDL          Prior MDL        Judgment to Be
           9/11                                                                                          Nationality of                                                  Case Number of                              Date of




                                                          Suffix
                     Decedent's 9/11 Decedent's                                                                         Date Plaintiff      Docket Entry When First                                                              Judgment for       Judgment for          Applied As           Treble Damages
 #      Decedent's                                                         Personal Representative(s)        9/11                                                          Prior MDL                                Prior MDL
                       Middle     Last Name                                                                                Added              Added to Complaint                                                                Conscious Pain     Economic-Loss        Compensatory           Under the ATA
        First Name                                                                                         Decedent                                                        Judgment                                 Judgment
                       Name                                                                                                                                                                                                      and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                           the ATA

                                                                                                                                         DKT 155; 1:02-cv-01616-JR;          15-cv-9903
651   Larry          Lee           Strickland                      Debra Louise Strickland               United States    5/23/2003      P3104                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                         DKT 155; 1:02-cv-01616-JR;          15-cv-9903
652   Walwyn         W.            Stuart                 Jr.      Thelma Corinne Stuart                 United States    5/23/2003      P3107                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   13,368,855.00   $   15,368,855.00   $      46,106,565.00
                                                                                                                                         DKT 232; 1:02-cv-01616-JR;          15-cv-9903
653   William        Christopher   Sugra                           Elma Ava Sugra; William J. Sugra      United States     8/1/2003      P4087; P4088                        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    9,179,343.00   $   11,179,343.00   $      33,538,029.00
                                                                                                                                         DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
654   Daniel                       Suhr                            Nancy Suhr                            United States    11/22/2002     4481                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    9,440,200.00   $   11,440,200.00   $      34,320,600.00
                                                                                                                                         DKT 232; 1:02-cv-01616-JR;          15-cv-9903
655   David          Marc          Sullins                         Evelyn Sullins                        United States     8/1/2003      P3966                               (GBD)(SN)         6035                 3/6/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                         DKT 155; 1:02-cv-01616-JR;          15-cv-9903
656   Thomas         G.            Sullivan                        Deirdre Dickinson Sullivan            United States    5/23/2003      P3110                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                             15-cv-9903
657   Patrick                      Sullivan (Estate of)            Patrick J. Sullivan                   United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1687       (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   20,824,200.00   $   22,824,200.00   $      68,472,600.00
                                                                                                                                                                             15-cv-9903
658   Hilario        Soriano       Sumaya (Estate of) Jr.          Estrella Sumaya                       United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1692       (GBD)(SN)         6042                 3/6/2020    $   2,000,000.00   $    6,991,118.00   $    8,991,118.00   $      26,973,354.00
                                                                                                                                         DKT HAND FILED; 1:03-cv-9849        15-cv-9903
659   Colleen        M.            Supinski                        Noreen Supinski; Steven A. Supinski   United States    3/10/2004      (RCC); P5278, P5279                 (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                         DKT 155; 1:02-cv-01616-JR;          15-cv-9903
660   Brian          D.            Sweeney                         Julie Sweeney Roth                    United States    5/23/2003      P3112                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    9,308,932.00   $   11,308,932.00   $      33,926,796.00
                                   Sweeney (Estate                                                                                       DKT 232; 1:02-cv-01616-JR;          15-cv-9903
661   Madeline       Amy           of)                             Michael Gerard Sweeney                United States     8/1/2003      P3970                               (GBD)(SN)         6042                 3/6/2020    $   2,000,000.00   $    8,794,863.00   $   10,794,863.00   $      32,384,589.00
                                                                                                                                         DKT 602; 1:03-md-01570-GBD-         15-cv-9903
662   Gina                         Sztejnberg                      Michael Sztejnberg                    United States     1/3/2005      SN; P5506                           (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                         DKT 232; 1:02-cv-01616-JR;          15-cv-9903
663   Joann                        Tabeek                          Alex Tabeek                           United States     8/1/2003      P3971                               (GBD)(SN)         6042                 3/6/2020    $   2,000,000.00   $   11,417,623.00   $   13,417,623.00   $      40,252,869.00
                                                                                                                                         DKT 232; 1:02-cv-01616-JR;          15-cv-9903
664   Phyllis        G.            Talbot                          Joseph Keith Talbot                   United States     8/1/2003      P3972                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    5,558,948.00   $    7,558,948.00   $      22,676,844.00
                                                                                                                                         DKT 232; 1:02-cv-01616-JR;          15-cv-9903
665   Robert         R.            Talhami                         Diana M. Talhami                      United States     8/1/2003      P4089                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   18,721,603.00   $   20,721,603.00   $      62,164,809.00
                                   Talignani (Estate                                                                                     DKT 155; 1:02-cv-01616-JR;          15-cv-9903
666   John           Marcy         of)                             Thomas Bertorelli                     United States    5/23/2003      P3115                               (GBD)(SN)         6042                 3/6/2020    $   2,000,000.00   $    1,569,541.00   $    3,569,541.00   $      10,708,623.00
                                                                                                                                         DKT 26, 29; 1:02-cv-01616-JR;
667   Maurita                      Tam                             Jin Ark Tam                           United States    11/22/2002     2386                            19-cv-44 (GBD)(SN)    5851                 2/5/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                             15-cv-9903
668   Hector         R.            Tamayo (Estate of)              Evelyn Mercene Tamayo                 United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2717     (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    6,371,134.00   $    8,371,134.00   $      25,113,402.00
                                                                                                                                         DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
669   Dennis         Gerard        Taormina               Jr.      Diane Taormina                        United States    11/22/2002     4533                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                         DKT 232; 1:02-cv-01616-JR;          15-cv-9903
670   Michael        M.            Taylor                          Mary Kaye Crenshaw                    United States     8/1/2003      P4091                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   14,177,313.00   $   16,177,313.00   $      48,531,939.00
                                                                                                                                         DKT HAND FILED; 1:03-cv-9849        15-cv-9903
671   Sandra         D.            Teague (Estate of)              Elaine Sherrill Teague                United States    3/10/2004      (RCC); P5283                        (GBD)(SN)         6042                 3/6/2020    $   2,000,000.00   $    9,290,647.00   $   11,290,647.00   $      33,871,941.00
                                                                                                                                         DKT 313; 1:02-cv-01616-JR;          15-cv-9903
672   Karl           W.            Teepe                           Donna Diane Teepe                     United States    9/10/2003      P4750                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    5,784,008.00   $    7,784,008.00   $      23,352,024.00
                                                                                                                                         DKT 232; 1:02-cv-01616-JR;          15-cv-9903
673   Glenn          Edward        Thompson                        Kai Hernandez                         United States     8/1/2003      P4096                               (GBD)(SN)         6042                 3/6/2020    $   2,000,000.00   $   11,789,858.00   $   13,789,858.00   $      41,369,574.00
                                                                                                                                         DKT 305; 1:02-cv-01616-JR;          15-cv-9903
674   Perry                        Thompson                        Charlette Thompson                    United States     9/5/2003      P4550                               (GBD)(SN)         6035                 3/6/2020    $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                         DKT 602; 1:03-md-01570-GBD-         15-cv-9903
675   Eric           R.            Thorpe                          Linda Perry Thorpe                    United States     1/3/2005      SN; P5507                           (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   46,823,616.00   $   48,823,616.00   $    146,470,848.00




                                                                                                                                               Page 27 of 30
                                                                                    Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 28 of 30
EXHIBIT B-1                                                                                                                                                                       Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                                  U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                                  ECF Number of Prior
                                                                                                                                                                                                                                                                           Prior MDL Total




                                                                                                                                                                                                    MDL Judgment
                       9/11                                                                                                                                                                                                            Prior MDL          Prior MDL        Judgment to Be
           9/11                                                                                              Nationality of                                                  Case Number of                              Date of




                                                      Suffix
                     Decedent's 9/11 Decedent's                                                                             Date Plaintiff      Docket Entry When First                                                              Judgment for       Judgment for          Applied As           Treble Damages
 #      Decedent's                                                     Personal Representative(s)                9/11                                                          Prior MDL                                Prior MDL
                       Middle     Last Name                                                                                    Added              Added to Complaint                                                                Conscious Pain     Economic-Loss        Compensatory           Under the ATA
        First Name                                                                                             Decedent                                                        Judgment                                 Judgment
                       Name                                                                                                                                                                                                          and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                               the ATA

                                                                                                                                             DKT 155; 1:02-cv-01616-JR;          15-cv-9903
676   John           P.        Tierney                         Helen Mary Tierney                            United States    5/23/2003      P3127                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   10,813,875.00   $   12,813,875.00   $      38,441,625.00
                                                                                                                                             DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
677   William        R.        Tieste                          Debra Anne Tieste                             United States    11/22/2002     4548                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   78,857,541.00   $   80,857,541.00   $    242,572,623.00
                                                                                                                                             DKT 155; 1:02-cv-01616-JR;          15-cv-9903
678   Kenneth        F.        Tietjen                         Laurie Ann Tietjen                            United States    5/23/2003      P3133                               (GBD)(SN)         8238                 7/19/2022   $   2,000,000.00   $   12,467,135.00   $   14,467,135.00   $      43,401,405.00
                                                                                                                                             DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
679   Scott          Charles   Timmes                          Kristine Timmes                               United States    11/22/2002     4555                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    9,110,918.00   $   11,110,918.00   $      33,332,754.00
                                                                                                                                             DKT 232; 1:02-cv-01616-JR;
680   Robert         Frank     Tipaldi                         Richard Tipaldi                               United States     8/1/2003      P4097                           19-cv-44 (GBD)(SN)    5851                 2/5/2020    $   2,000,000.00   $   58,076,847.00   $   60,076,847.00   $    180,230,541.00
                                                                                                                                                                                 15-cv-9903
681   John           J.        Tipping                II       Arlene M. Tipping                             United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2722     (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   10,456,456.00   $   12,456,456.00   $      37,369,368.00
                                                                                                                                             DKT 155; 1:02-cv-01616-JR;          15-cv-9903
682   Alicia         Nicole    Titus (Estate of)               Beverly Jean Titus                            United States    5/23/2003      P3134                               (GBD)(SN)         6042                 3/6/2020    $   2,000,000.00   $   10,648,881.00   $   12,648,881.00   $      37,946,643.00
                                                                                                                                                                                 15-cv-9903
683   Amy            E.        Toyen                           Martin Toyen                                  United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 626        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    9,917,675.00   $   11,917,675.00   $      35,753,025.00
                                                                                                                                             DKT 155; 1:02-cv-01616-JR;          15-cv-9903
684   Michael        A.        Trinidad                        Monique Padilla-Ferrer                        United States    5/23/2003      P3136                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    9,053,437.00   $   11,053,437.00   $      33,160,311.00
                                                                                                                                             DKT 232; 1:02-cv-01616-JR;          15-cv-9903
685   Jennifer       Lynn      Tzemis                          Stamatios Konstantinos Tzemis                 United States     8/1/2003      P3988                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   29,314,049.00   $   31,314,049.00   $      93,942,147.00
                                                                                                                                             DKT 305; 1:02-cv-01616-JR;          15-cv-9903
686   Michael        A.        Uliano                          Linda Buffa Uliano                            United States     9/5/2003      P4557                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   16,529,517.00   $   18,529,517.00   $      55,588,551.00
                                                                                                                                             DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
687   John           Damien    Vaccacio                        James Richard Vaccacio                        United States    11/22/2002     4602                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   20,511,796.00   $   22,511,796.00   $      67,535,388.00
                                                                                                                                             DKT 232; 1:02-cv-01616-JR;          15-cv-9903
688   Bradley        Hodges    Vadas                           Melissa Mary Prevey; Christopher Scott Vadas United States      8/1/2003      P3989                               (GBD)(SN)         7188                 10/5/2021   $   2,000,000.00   $   41,631,172.00   $   43,631,172.00   $    130,893,516.00
                                                                                                                                             DKT 232; 1:02-cv-01616-JR;          15-cv-9903
689   Felix          Antonio   Vale                            Carmen I. Garcia                              United States     8/1/2003      P3990                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                                 15-cv-9903
690   Kenneth        Warren    Van Auken                       Lorie Jill Van Auken                          United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 773        (GBD)(SN)         4126                 8/28/2018   $   2,000,000.00   $    7,085,037.00   $    9,085,037.00   $      27,255,111.00
                                                                                                                                                                                 15-cv-9903
691   Daniel         Maurice   Van Laere                       Rita Marie Wiley; Paul Edward Van Laere       United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1718       (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    6,741,722.00   $    8,741,722.00   $      26,225,166.00
                                                                                                                                             DKT 232; 1:02-cv-01616-JR;          15-cv-9903
692   Anthony        M.        Ventura                         Lisa A. Ventura                               United States     8/1/2003      P3997                               (GBD)(SN)         6042                 3/6/2020    $   2,000,000.00   $   16,776,819.00   $   18,776,819.00   $      56,330,457.00
                                                                                                                                             DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
693   Loretta        A.        Vero                            Catherine Louise Pedersen; Susan Ballestero   United States    11/22/2002     2413                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    5,273,779.00   $    7,273,779.00   $      21,821,337.00
                                                                                                                                             DKT 232; 1:02-cv-01616-JR;          15-cv-9903
694   Christopher              Vialonga                        Gary J. Vialonga                              United States     8/1/2003      P3998                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   14,146,604.00   $   16,146,604.00   $      48,439,812.00
                                                                                                                                             DKT 232; 1:02-cv-01616-JR;          15-cv-9903
695   Robert                   Vicario                         Jill Robin Vicario                            United States     8/1/2003      P4000                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    8,805,582.00   $   10,805,582.00   $      32,416,746.00
                                                                                                                                             DKT 232; 1:02-cv-01616-JR;          15-cv-9903
696   Frank          J.        Vignola                Jr.      Ellen Barbara Vignola                         United States     8/1/2003      P4002                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   15,103,829.00   $   17,103,829.00   $      51,311,487.00
                                                                                                                                             DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
697   Sergio                   Villanueva                      Delia Villanueva                              United States    11/22/2002     4638                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   10,374,256.00   $   12,374,256.00   $      37,122,768.00
                                                                                                                                             DKT 602; 1:03-md-01570-GBD-         15-cv-9903
698   Melissa                  Vincent                         David Relf Vincent                            United States     1/3/2005      SN; P5509                           (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   22,129,439.00   $   24,129,439.00   $      72,388,317.00
                                                                                                                                             DKT 305; 1:02-cv-01616-JR;          15-cv-9903
699   Francine       Ann       Virgilio                        Nunzio G. Virgilio                            United States     9/5/2003      P4558                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                                 15-cv-9903
700   Joseph         Gerard    Visciano (Estate of)            Maria Ann Visciano                            United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 640        (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   29,521,470.00   $   31,521,470.00   $      94,564,410.00




                                                                                                                                                   Page 28 of 30
                                                                                     Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 29 of 30
EXHIBIT B-1                                                                                                                                                               Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                         U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                         ECF Number of Prior
                                                                                                                                                                                                                                                                  Prior MDL Total




                                                                                                                                                                                           MDL Judgment
                       9/11                                                                                                                                                                                                   Prior MDL          Prior MDL        Judgment to Be
           9/11                                                                                     Nationality of                                                    Case Number of                            Date of




                                                      Suffix
                     Decedent's 9/11 Decedent's                                                                    Date Plaintiff      Docket Entry When First                                                              Judgment for       Judgment for          Applied As           Treble Damages
 #      Decedent's                                                     Personal Representative(s)       9/11                                                            Prior MDL                              Prior MDL
                       Middle     Last Name                                                                           Added              Added to Complaint                                                                Conscious Pain     Economic-Loss        Compensatory           Under the ATA
        First Name                                                                                    Decedent                                                          Judgment                               Judgment
                       Name                                                                                                                                                                                                 and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                      the ATA

                                                                                                                                    DKT 155; 1:02-cv-01616-JR;          15-cv-9903
701   Joshua         S.        Vitale                          Susan R. Rosen                       United States    5/23/2003      P3142                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   23,588,546.00   $   25,588,546.00   $      76,765,638.00
                                                                                                                                                                        15-cv-9903
702   Alfred                   Vukosa                          Shirimattie Lalman                   United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2739     (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    9,194,288.00   $   11,194,288.00   $      33,582,864.00
                               Wahlstrom (Estate                                                                                    DKT 305; 1:02-cv-01616-JR;          15-cv-9903
703   Mary           Alice     of)                             Michael Owen Wahlstrom               United States     9/5/2003      P4559                               (GBD)(SN)         5092                 9/6/2019    $   2,000,000.00   $    1,417,508.00   $    3,417,508.00   $      10,252,524.00
                                                                                                                                    DKT 432; 1:02-cv-01616-JR;          15-cv-9903
704   Wendy          A.        Wakeford                        Clara L. Pachomski                   United States    12/19/2003     P4966                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    7,413,353.00   $    9,413,353.00   $      28,240,059.00
                                                                                                                                    DKT 432; 1:02-cv-01616-JR;          15-cv-9903
705   Mitchel        Scott     Wallace                         Michele Jan Miller                   United States    12/19/2003     P4972                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                    DKT 432; 1:02-cv-01616-JR;          15-cv-9903
706   Matthew        Blake     Wallens                         Raina Allison Wallens                United States    12/19/2003     P4975                               (GBD)(SN)         7188                 10/5/2021   $   2,000,000.00   $ 113,621,010.00    $ 115,621,010.00    $    346,863,030.00
                                                                                                                                    DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
707   Barbara        P.        Walsh                           James Joseph Walsh                   United States    11/22/2002     2417                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    4,323,531.00   $    6,323,531.00   $      18,970,593.00
                                                                                                                                                                        15-cv-9903
708   Jeffrey        P.        Walz                            Rani Deborah Walz                    United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2748     (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    8,194,645.00   $   10,194,645.00   $      30,583,935.00
                                                                                                                                    DKT 232; 1:02-cv-01616-JR;          15-cv-9903
709   Michael                  Warchola                        Denis Andrew Warchola                United States     8/1/2003      P4008                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    5,706,387.00   $    7,706,387.00   $      23,119,161.00
                                                                                                                                    DKT 232; 1:02-cv-01616-JR;          15-cv-9903
710   James          Arthur    Waring                          Maria Ann Waring                     United States     8/1/2003      P4011                               (GBD)(SN)         6042                 3/6/2020    $   2,000,000.00   $    6,723,406.00   $    8,723,406.00   $      26,170,218.00
                                                                                                                                    DKT 232; 1:02-cv-01616-JR;          15-cv-9903
711   James          Thomas    Waters                 Jr.      Karen Marie Smart                    United States     8/1/2003      P4012                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   28,032,813.00   $   30,032,813.00   $      90,098,439.00
                                                                                                                                    DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
712   Patrick        J.        Waters                          Janice Ann Waters                    United States    11/22/2002     4672                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    8,690,259.00   $   10,690,259.00   $      32,070,777.00
                                                                                                                                                                        15-cv-9903
713   Michael        T.        Weinberg                        Morton Weinberg                      United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 645        (GBD)(SN)         6035                 3/6/2020    $   2,000,000.00   $    8,906,538.00   $   10,906,538.00   $      32,719,614.00
                                                                                                                                    DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
714   Steven         George    Weinstein                       Kathlyn Mae Carriker                 United States    11/22/2002     4679                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   11,034,936.00   $   13,034,936.00   $      39,104,808.00
                                                                                                                                                                        15-cv-9903
715   David          Martin    Weiss                           Karla Weiss                          United States    2/21/2003      DKT 77; 1:02-cv-01616-JR; P2757     (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    7,740,857.00   $    9,740,857.00   $      29,222,571.00
                                                                                                                                    DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
716   Peter          Matthew   West                            Eileen Kuntz West                    United States    11/22/2002     4688                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    8,368,275.00   $   10,368,275.00   $      31,104,825.00
                                                                                                                                    DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
717   Eugene         Michael   Whelan                          Joan Ann Whelan                      United States    11/22/2002     4708                                (GBD)(SN)         8233                 7/19/2022   $   2,000,000.00   $    9,084,227.00   $   11,084,227.00   $      33,252,681.00
                                                                                                                                    DKT 232; 1:02-cv-01616-JR;          15-cv-9903
718   James          Patrick   White                           Michael John White                   United States     8/1/2003      P4017                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   17,591,028.00   $   19,591,028.00   $      58,773,084.00
                                                                                                                                    DKT 232; 1:02-cv-01616-JR;          15-cv-9903
719   Kenneth        Wilburn   White                           Catherine Christina White            United States     8/1/2003      P4021                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $    7,536,712.00   $    9,536,712.00   $      28,610,136.00
                                                                                                                                    DKT 432; 1:02-cv-01616-JR;          15-cv-9903
720   Kristin        Olga      White-Gould                     Allison Kristin Beckler              United States    12/19/2003     P4977                               (GBD)(SN)         5092                 9/6/2019    $   2,000,000.00   $    3,310,778.00   $    5,310,778.00   $      15,932,334.00
                                                                                                                                    DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
721   Mark           P.        Whitford                        Renee Whitford                       United States    11/22/2002     4712                                (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   10,666,103.00   $   12,666,103.00   $      37,998,309.00
                                                                                                                                    DKT 155; 1:02-cv-01616-JR;          15-cv-9903
722   Alison         M.        Wildman                         Arthur Stephen Wildman, Jr.          United States    5/23/2003      P3151                               (GBD)(SN)         5975                 2/18/2020   $   2,000,000.00   $   13,967,809.00   $   15,967,809.00   $      47,903,427.00
                                                                                                                                    DKT 26, 29; 1:02-cv-01616-JR;       15-cv-9903
723   Glenn          E.        Wilkinson                       Margaret Ellen Wilkinson             United States    11/22/2002     4724                                (GBD)(SN)         6042                 3/6/2020    $   2,000,000.00   $    8,979,721.00   $   10,979,721.00   $      32,939,163.00
                                                                                                                                    DKT 155; 1:02-cv-01616-JR;          15-cv-9903
724   Ernest         M.        Willcher (Estate of)            Shirley N. Willcher                  United States    5/23/2003      P3157                               (GBD)(SN)         6042                 3/6/2020    $   2,000,000.00   $    5,908,490.00   $    7,908,490.00   $      23,725,470.00
                                                                                                                                    DKT 155; 1:02-cv-01616-JR;
725   Candace        Lee       Williams                        Corey Gregory Gaudioso               United States    5/23/2003      P3158                           19-cv-41 (GBD)(SN)    8235                 7/19/2022   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00




                                                                                                                                          Page 29 of 30
                                                                               Case 1:03-cv-09849-GBD-SN Document 1045-2 Filed 10/04/22 Page 30 of 30
EXHIBIT B-1                                                                                                                                                                    Burnett, et al v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                            U.S. National 9/11 Decedent Estate Claims Under the ATA with Prior MDL Judgments




                                                                                                                                                                                            ECF Number of Prior
                                                                                                                                                                                                                                                                     Prior MDL Total




                                                                                                                                                                                              MDL Judgment
                       9/11                                                                                                                                                                                                      Prior MDL          Prior MDL        Judgment to Be
           9/11                                                                                            Nationality of                                                  Case Number of                          Date of




                                                  Suffix
                     Decedent's 9/11 Decedent's                                                                           Date Plaintiff      Docket Entry When First                                                          Judgment for       Judgment for          Applied As           Treble Damages
 #      Decedent's                                                  Personal Representative(s)                 9/11                                                          Prior MDL                            Prior MDL
                       Middle     Last Name                                                                                  Added              Added to Complaint                                                            Conscious Pain     Economic-Loss        Compensatory           Under the ATA
        First Name                                                                                           Decedent                                                        Judgment                             Judgment
                       Name                                                                                                                                                                                                    and Suffering        Damages          Damages Under
                                                                                                                                                                                                                                                                         the ATA

                                                                                                                                                                             15-cv-9903
726   Crossley       R.         Williams          Jr.      Crossley Richard Williams, Sr.                  United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1733     (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   10,763,980.00   $   12,763,980.00   $      38,291,940.00
                                                                                                                                           DKT 305; 1:02-cv-01616-JR;        15-cv-9903
727   Dwayne                    Williams                   Tammy Gesiele Williams                          United States     9/5/2003      P4572                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                             15-cv-9903
728   Kevin          Michael    Williams                   Patricia Ann Williams; Roger Michael Williams   United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1736     (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   15,984,601.00   $   17,984,601.00   $      53,953,803.00
                                                                                                                                                                             15-cv-9903
729   John                      Williamson                 Mary Brigid Williamson                          United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1741     (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                           DKT 26, 29; 1:02-cv-01616-JR;     15-cv-9903
730   William        Eben       Wilson                     Elizabeth Ann Payne                             United States    11/22/2002     4729                              (GBD)(SN)       6035                 3/6/2020    $   2,000,000.00   $    4,755,448.00   $    6,755,448.00   $      20,266,344.00
                                                                                                                                           DKT 432; 1:02-cv-01616-JR;        15-cv-9903
731   David          Harold     Winton                     Sara Winton Coffey                              United States    12/19/2003     P4979                             (GBD)(SN)       6035                 3/6/2020    $   2,000,000.00   $   25,312,345.00   $   27,312,345.00   $      81,937,035.00
                                                                                                                                           DKT 155; 1:02-cv-01616-JR;        15-cv-9903
732   Glenn          J.         Winuk                      Seymour Winuk; Jay Steven Winuk                 United States    5/23/2003      P3160; 62                         (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   18,306,097.00   $   20,306,097.00   $      60,918,291.00
                                                                                                                                           DKT 232; 1:02-cv-01616-JR;        15-cv-9903
733   Frank          Thomas     Wisniewski                 Carol D. Wisniewski                             United States     8/1/2003      P4100                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    7,216,165.00   $    9,216,165.00   $      27,648,495.00
                                                                                                                                                                             15-cv-9903
734   Michael        Robert     Wittenstein                Caryn Jill Hinson; Arnold R. Wittenstein        United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 659      (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                                                             15-cv-9903
735   Jennifer       Y.         Wong                       Benjamin C. Wong                                United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 836      (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                           DKT 232; 1:02-cv-01616-JR;        15-cv-9903
736   James          John       Woods                      Joyce A. Woods; John F. Woods, Jr.              United States     8/1/2003      P4034                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   18,950,116.00   $   20,950,116.00   $      62,850,348.00
                                                                                                                                                                             15-cv-9903
737   Patrick                   Woods                      Patrick Joseph Woods, Sr.                       United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1743     (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    9,894,156.00   $   11,894,156.00   $      35,682,468.00
                                                                                                                                                                             15-cv-9903
738   Rodney         James      Wotton                     Patricia M. Greene-Wotton                       United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 750      (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   13,412,104.00   $   15,412,104.00   $      46,236,312.00
                                                                                                                                           DKT 432; 1:02-cv-01616-JR;        15-cv-9903
739   Vicki          L.         Yancey                     David Mauzy Yancey                              United States    12/19/2003     P4982                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    7,533,040.00   $    9,533,040.00   $      28,599,120.00
                                                                                                                                                                             15-cv-9903
740   Matthew        David      Yarnell                    Ted Yarnell                                     United States    8/15/2002      DKT 1; 1:02-cv-01616-JR; 666      (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   12,491,230.00   $   14,491,230.00   $      43,473,690.00
                                                                                                                                                                             15-cv-9903
741   Myrna                     Yaskulka                   Jay Evan Yaskulka                               United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1749     (GBD)(SN)       6042                 3/6/2020    $   2,000,000.00   $    4,186,789.00   $    6,186,789.00   $      18,560,367.00
                                                                                                                                                                             15-cv-9903
742   Donald         McArthur   Young                      Felicia Ann Young                               United States     9/4/2002      DKT 3; 1:02-cv-01616-JR; 1754     (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                           DKT 155; 1:02-cv-01616-JR;        15-cv-9903
743   Adel           A.         Zakhary                    Nagat H. Zakhary                                United States    5/23/2003      P3173                             (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $             -     $    2,000,000.00   $       6,000,000.00
                                                                                                                                           DKT HAND FILED; 1:03-cv-9849      15-cv-9903
744   Mark                      Zangrilli                  Jill Zangrilli                                  United States    3/10/2004      (RCC); P5308                      (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $   12,834,037.00   $   14,834,037.00   $      44,502,111.00
                                                                                                                                           DKT HAND FILED; 1:03-cv-9849      15-cv-9903
745   Christopher    Rudolph    Zarba             Jr.      Sheila Ann Zarba-Campbell                       United States    3/10/2004      (RCC); P5309                      (GBD)(SN)       5975                 2/18/2020   $   2,000,000.00   $    8,345,297.00   $   10,345,297.00   $      31,035,891.00
                                                                                                                                           DKT 305; 1:02-cv-01616-JR;        15-cv-9903
746   Ira                       Zaslow                     Felice Roberta Zaslow                           United States     9/5/2003      P4583                             (GBD)(SN)       6034                 3/6/2020    $   2,000,000.00   $    8,954,714.00   $   10,954,714.00   $      32,864,142.00




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